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     1               IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF OHIO
     2                             EASTERN DIVISION
     3

          -------------------------               )
     4    IN RE: NATIONAL                         ) MDL No. 2804
          PRESCRIPTION OPIATE                     )
     5    LITIGATION                              ) Case No.
          -------------------------               ) 1:17-MD-2804
     6                                            )
          THIS DOCUMENT RELATES TO                ) Hon. Dan A. Polster
     7    ALL CASES                               )
          -------------------------               )
     8
     9                          HIGHLY CONFIDENTIAL
   10             SUBJECT TO FURTHER CONFIDENTIALITY REVIEW
   11
   12                        VIDEOTAPED DEPOSITION OF
   13                              DOUGLAS PETERSON
   14
   15                              December 20, 2018
   16
   17                              Chicago, Illinois
   18
   19
   20
   21
   22                       GOLKOW LITIGATION SERVICES
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                                                  Page 2                                                Page 4
    1                                                        1 APPEARANCES (Continued):
                                                             2 ON BEHALF OF CARDINAL HEALTH, INC.:
    2                                                        3   WILLIAMS & CONNOLLY LLP
    3                                                            725 Twelfth Street, N.W.
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    4           The videotaped deposition of                     202-434-5686
                                                             5   BY: MIRANDA PETERSEN, ESQ.
    5   DOUGLAS PETERSON, called by the Plaintiffs for              mpetersen@wc.com
    6   examination, taken pursuant to the Federal Rules of  6         (via telephone/livestream)
                                                             7
    7   Civil Procedure of the United States District           ON BEHALF OF AMERISOURCEBERGEN CORPORATION and
    8   Courts pertaining to the taking of depositions,      8 AMERISOURCEBERGEN CORPORATION:
                                                             9   JACKSON KELLY PLLC
    9   taken before CORINNE T. MARUT, C.S.R. No. 84-1968,       150 Clay Street, Suite 500
   10   Registered Professional Reporter and a Certified    10   P.O. Box 619
                                                                 Morgantown, West Virginia 26501
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   14   Illinois, on December 20, 2018, commencing at 9:01  15   JONES DAY
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                                                            24         (via telephone/livestream)

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       aka WALGREEN CO. and THE DEPONENT:                   8
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   18 PAR PHARMACEUTICAL, INC., and PAR PHARMACEUTICAL     17
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   23         (via telephone/livestream)
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    8 No. 11 2/26/13 e-mail string;        123                      7       Violations-Weekly";
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    1      THE VIDEOGRAPHER: We are now on the record.             1      Q. I understand you've been with Walgreens
    2   My name is Michael Newell. I'm a videographer for          2   since 1980?
    3   Golkow Litigation Services.                                3      A. Yes, that is correct.
    4          Today's date is December 20, 2018. The              4      Q. How long have you been an IT manager?
    5   time is 9:00 a.m.                                          5      A. 15 years.
    6          This video deposition is being held in              6      Q. And was that entire 15 years in
    7   Chicago, Illinois in the matter of National                7   logistics?
    8   Prescription Opiate Litigation.                            8      A. As a manager, yes.
    9          The deponent today is Douglas Peterson.             9      Q. Prior to becoming an IT manager in
   10          Will counsel please identify themselves.           10   logistics, and just make sure my math is right, so
   11      MR. GADDY: Jeff Gaddy for the Plaintiff.               11   approximately 2003 you became an IT manager in
   12      MR. LEVINE: Mark Levine for the witness and            12   logistics?
   13   Walgreens. With me is Sharon Desh.                        13      A. Yes.
   14      MR. ZHOU: Jason Zhou, Jones Day, for Walmart.          14      Q. Prior to becoming an IT manager of
   15      MS. WINSTON: Sylvia Winston, Jackson Kelly,            15   logistics in 2003, were you still in the logistics
   16   for AmerisourceBergen.                                    16   area before that or were you doing something
   17      MR. GADDY: Corinne, I think you've gotten the          17   different in IT?
   18   folks on the phone or?                                    18      A. I did both finances, financial
   19      THE REPORTER: Counsel on the phone, would you          19   programming, and then I moved about -- trying to
   20   mind announcing your appearance, please.                  20   remember -- I'm going to say the late 1900s to
   21      MR. FENSTEMAKER: Zach Fenstemaker with                 21   logistics.
   22   Marcus & Shapira on behalf of HBC.                        22      Q. 1990s?
   23      MS. PETERSEN: Miranda Petersen with                    23      A. I -- sorry. 1990s.
   24   Williams & Connolly on behalf of Cardinal Health,         24      Q. Sure.
                                                      Page 11                                                    Page 13
    1 Inc.                                                         1      A. Actually it was the middle of 1990s I
    2      MR. HOUSTON: Zeno Houston of Arnold & Porter            2   moved into logistics.
    3   on behalf of Endo and Par Defendants.                      3      Q. Okay. So, mid-1990s through 2003 you
    4      THE VIDEOGRAPHER: The Court Reporter today is           4   were a team member?
    5   Corinne Marut and will now swear in the witness.           5      A. Team member, writing programs.
    6             (WHEREUPON, the witness was duly                 6      Q. Okay. And you had a manager that you
    7              sworn.)                                         7   reported to?
    8               DOUGLAS PETERSON,                              8      A. Yes.
    9   called as a witness herein, having been first duly         9      Q. Okay. And now you have folks that
   10   sworn, was examined and testified as follows:             10   report to you?
   11                EXAMINATION                                  11      A. Yes.
   12   BY MR. GADDY:                                             12      Q. How many people are on your team?
   13      Q. Good morning, Mr. Peterson.                         13      A. Five people are on my team.
   14      A. Good morning.                                       14      Q. I've had the opportunity to take a
   15      Q. Could you state your name for the Court             15   couple other depositions in this case. Another
   16   Reporter, please.                                         16   individual in the IT department was Sean Barnes.
   17      A. Douglas Peterson.                                   17   Do you know who that is?
   18      Q. And where do you work?                              18      A. Yes, I know Sean.
   19      A. Walgreens.                                          19      Q. Where does he relate to you? Is he in
   20      Q. What's your title?                                  20   your department, a different department?
   21      A. I am an IT manager.                                 21      A. He's in logistics IT. He's a manager
   22      Q. Any particular area in which you're an              22   for a different area within logistics.
   23   IT manager?                                               23      Q. Okay. Another individual I've run into
   24      A. Yes, logistics.                                     24   is Brian Amend. Do you know who that is?

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    1       A. Yes, I know who that is.                          1   conceptualizing phase?
    2       Q. Describe your relationship to him as far          2       A. I do both. I will guide and sometimes
    3   as hierarchical.                                         3   design for them or help.
    4       A. He is the senior director of our                  4       Q. So, are you the one coming up with new
    5   department.                                              5   plans or programs that need to be implemented or
    6       Q. So, you report to him?                            6   are you the one who gets tasked with actually
    7       A. I report to him.                                  7   making sure the plan gets put into place?
    8       Q. Who are the folks on your team?                   8       A. We are told they need a new program and
    9       A. Who are the folks? Pete Strohmayer,               9   I basically assign that to a person and try to get
   10   Alla Rapoport, Ed Cuesta, Eugene Tan and Dave           10   it implemented. Design it and then write the code
   11   Molidor.                                                11   to implement the programs that they ask for.
   12       Q. I'm going to ask you some questions              12       Q. So, somebody higher up than you --
   13   today about your position primarily I think as          13       A. Yes.
   14   an -- as either a team member or a manager in the       14       Q. -- tells you that they need a solution
   15   supply chain logistics department. Okay?                15   to an issue?
   16       A. Okay.                                            16       A. Yes.
   17       Q. And I'm going to ask you some questions          17       Q. And then you help design and implement
   18   going back to as far back as you've been involved       18   the solution?
   19   in that department. Okay?                               19       A. Yes.
   20       A. (Nodding head.)                                  20       Q. You don't make the decision that we need
   21       Q. When is the first time that you had any          21   a solution to some issue, whatever it is?
   22   involvement with controlled substances as part of       22       A. No.
   23   your job duties?                                        23       Q. You receive an order from somebody
   24       A. Early 2000s.                                     24   higher up and you make sure it gets done?
                                                      Page 15                                                      Page 17
    1       Q. And what was the first thing you did              1       A. Yes.
    2   with controlled substances?                              2       Q. I got a little sidetracked. Remind me
    3       A. Created a system to manage warehousing            3   what you said, the first interaction you had with
    4   of controlled substance within Walgreens.                4   controlled substances in the early 2000s.
    5       Q. Would it be fair to characterize your             5       A. I helped build a system for us to
    6   duties and the tasks that you performed beginning        6   warehouse and distribute to our stores controlled
    7   in the early 2000s, were those programs that you         7   drug substances. C-II as we would refer to them
    8   conceptualized yourself or were they programs that       8   as.
    9   were given to you and you were asked to implement        9       Q. Do you know how long Walgreens has been
   10   them?                                                   10   distributing C-IIs?
   11       A. They were designs that were given to us          11       A. I don't believe they distribute any
   12   that we were asked to implement. So we had to           12   longer. They stopped sometime in I think late
   13   write the code. Some of it was existing code that       13   2000, but I don't remember exactly.
   14   existed already in our -- in our distribution           14       Q. Okay. If I said 2013, 2014, would that
   15   centers that we were able to use for the controlled     15   sound accurate to you?
   16   drug distribution center as well.                       16       A. It could be, yes.
   17       Q. Okay. Would it be fair to say that               17       Q. My question is a little bit different.
   18   somebody higher up at Walgreens developed a             18   Do you know when Walgreens began distributing
   19   concept, gave you the design or the plans and you       19   controlled substances to their own stores?
   20   were in charge of implementing it?                      20       A. That would have been sometime around the
   21       A. Yes.                                             21   early 2000s.
   22       Q. Is that still the case in your role as           22       Q. So, you assisted with implementing a
   23   an IT manager, that you quarterback your team           23   process that assisted Walgreens with distributing
   24   implementing a plan or are you now in a                 24   controlled substances to their stores?

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    1       A. Yes.                                                  1   far as opening?
    2       Q. Generally describe what program you were              2       A. Just setting up the environment, making
    3   asked to implement in the early 2000s.                       3   sure all the programs are there, make sure they
    4       A. We were asked to implement an order and               4   tested, make sure they work. That basically is it.
    5   picking system as well as a system to print the              5   They were already written, so...
    6   C -- or the DEA 222 form via a printer instead of            6       Q. What's the next thing you did?
    7   having to handwrite them, and then basically                 7       A. That would have been the Woodland
    8   maintain the C 22 forms -- the DEA 222 forms, and            8   distribution center.
    9   then that's basically it.                                    9       Q. Just setting it up, same thing?
   10           The stores would order. We process that             10       A. Same thing.
   11   order. We decide if we are in -- if we have the             11       Q. Okay. And those are the only three
   12   product in our DC or if it needs to be sent to a            12   distribution centers Walgreens ever had that
   13   jobber, which is a distributor outside of us, and           13   distributed C-IIs, correct?
   14   then we would split the order, pick the ones in our         14       A. That I'm aware of, yes.
   15   DC, send the forms for the other orders, ordered            15       Q. Okay. After you assisted getting these
   16   lines to the jobber --                                      16   three distribution centers set up in what you
   17       Q. Okay.                                                17   believe is the early 2000s, what was the next thing
   18       A. -- to be picked.                                     18   you did related to controlled substances?
   19       Q. I want to -- you used a couple terms                 19       A. Really nothing. Supported them. So, if
   20   there that I want to make sure that I understand.           20   something broke, I would fix it, help fix it or
   21       A. Sure.                                                21   assign someone to fix it.
   22       Q. First you said "jobber." Would it be                 22       Q. Are you aware of the concept that
   23   fair to say that that is an outside vendor, such as         23   Walgreens has certain obligations related to
   24   Cardinal Health, AmerisourceBergen, McKesson, those         24   controlled substances under federal statutes and
                                                       Page 19                                                          Page 21
    1   types of?                                                    1   federal regulations?
    2      A. Yes.                                                   2      A. No, I am not.
    3      Q. You keep using the term "DC." Do you                   3      Q. Are you aware of the concept of
    4   mean distribution center?                                    4   reporting suspicious orders of controlled
    5      A. Sorry. Yes, distribution center.                       5   substances?
    6      Q. Okay. At some point in time in the                     6      A. No.
    7   2000s were you involved in writing or implementing           7      Q. Have you had any involvement in your
    8   a program that would identify line item limits for           8   time with supply chain logistics related to
    9   orders of controlled substances?                             9   implementing thresholds or excessive query reports?
   10      A. Line item limits, no.                                 10      A. We have an excessive order query that
   11      Q. What was the next project you worked on               11   was written for all of our distribution centers
   12   related to controlled substances after implementing         12   that would look at orders before we processed them
   13   a system to pick and ship controlled substances?            13   through our system.
   14      A. Would have been opening of the next --                14      Q. Okay. And were you involved with
   15   our next DC.                                                15   writing that excessive order query?
   16      Q. What was the first DC that opened?                    16      A. I was -- I believe I was involved or I
   17      A. Orlando.                                              17   was leading someone to actually write it.
   18      Q. What was the second one?                              18      Q. Okay. And when did that process happen?
   19      A. Perrysburg.                                           19      A. That would have been in early 1990s when
   20      Q. And these are DCs meant for                           20   we went to our new distributions -- our warehouse
   21   Schedule IIs, correct?                                      21   management system. Sorry.
   22      A. Yes.                                                  22      Q. Okay. I want to make sure we got our
   23      Q. Briefly what did you have to do as it                 23   dates right.
   24   relates to the Perrysburg distribution center as            24          So, you think in the early 1990s is when

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    1   you wrote the -- what would you call it? Is it an          1   significant period of time before Walgreens began
    2   excessive quantity query, excessive order query?           2   distributing any controlled substances?
    3      A. Excessive order query.                               3       A. Yes, it was.
    4      Q. And you've told me a couple times that               4       Q. Anything change about the excessive
    5   you believe the C-II distribution from Walgreens           5   order query when Walgreens began distributing
    6   began in the early 2000s, correct?                         6   controlled substances?
    7      A. I believe so, yes.                                   7       A. No.
    8      Q. But this excessive order query was                   8       Q. Any amendments or modifications made to
    9   written you believe in the early '90s?                     9   the excessive order query?
   10      A. Yes.                                                10       A. We had to put their distribution center
   11      Q. And what involvement did you have in                11   number into the query so it would only look at its
   12   writing the excessive order query?                        12   orders and not pick up anything else.
   13      A. I probably led the -- I'm trying to                 13       Q. But you didn't have to change the
   14   remember exactly, but I know I led my team or a           14   formula?
   15   team member in how to write it and get it created.        15       A. Nope, no.
   16      Q. Do you remember who else you worked with            16       Q. There weren't any other factors or
   17   on that?                                                  17   criteria that were considered in tweaking the
   18      A. I don't. I'm sorry. No.                             18   formula for controlled substances?
   19      Q. Okay. What was the purpose of                       19       A. No.
   20   implementing an excessive order query?                    20       Q. What was the criteria that was utilized
   21      A. The purpose of it is to try and catch               21   to generate the excessive order query?
   22   invalid -- product that was entered in excess of          22       A. It -- it looked at the order quantity
   23   what should normally be a normal value.                   23   and if it was larger than a -- if it was greater
   24      Q. Would it be fair to characterize it as              24   than a value that the distribution center entered
                                                        Page 23                                                         Page 25
    1   an inventory management type system?                       1   into the query, it would report it, that particular
    2       A. It's not really a management system. It             2   product on the report.
    3   just looked at orders that came in from a store,           3      Q. Was there any algorithm involved in that
    4   checked against a value and if it was larger than          4   excessive order query?
    5   that, put it on a report.                                  5      A. No.
    6       Q. Why did you want to see orders that                 6      Q. Was there any calculation involved in
    7   might be larger than a certain value?                      7   establishing that excessive order query?
    8       A. Because if product is not really wanted             8      A. No.
    9   and it was a mistake, then there was a lot of              9      Q. Was that excessive order query built
   10   excessive work that needed to be done both from the       10   solely around a number that somebody at the
   11   distribution center and the store. So, if it could        11   distribution center would type in for a particular
   12   be prevented upfront, it would save trouble for           12   product?
   13   all.                                                      13      A. Yes. And it's not product. It's for
   14       Q. So, the excessive order query was                  14   the entire order, store order.
   15   implemented to catch mistakes that were coming in         15      Q. Okay. Thank you for that clarification.
   16   from the Walgreens stores?                                16           Help me understand that a little bit.
   17       A. Yes, on orders, yes, quantities.                   17   Would it be -- obviously a particular pharmacy
   18       Q. Walgreens didn't want to have a                    18   might order Claritin, an allergy medication. Is
   19   situation where they had an order come in with an         19   the line item query written specifically for
   20   extra zero on it where they shipped the product to        20   Claritin or is it written for all orders of all
   21   the store and then had to go through the hassle of        21   cold medications or allergy medications coming from
   22   getting it back?                                          22   a particular store?
   23       A. Yes.                                               23      MR. LEVINE: Objection to form. You can
   24       Q. And that process was in place for a                24   answer if you understand.

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                                                                            Review
                                                   Page 26                                                    Page 28
    1   BY THE WITNESS:                                        1      Q. Is there any approval process that
    2        A. It's for all items carried in the              2   you're aware of for that person to raise or lower
    3   warehouse, in the Walgreens stores.                    3   that number?
    4   BY MR. GADDY:                                          4      A. Not that I am aware of.
    5        Q. But is it line by line? Is it product          5      Q. In the 2000s when Walgreens began
    6   by product that is the -- why don't you explain for    6   distributing controlled substances to its own
    7   me what you meant when you told me that it's for       7   stores, from your understanding, is the excessive
    8   the entire store as opposed to by product?             8   order query just as you've been describing it thus
    9        A. Well, the store can order any product.         9   far?
   10   I mean, we distribute products for most of the        10      A. Yes.
   11   items in our Walgreens store. So, any ordered item    11      Q. Are you aware of any special practices
   12   it would look at irregardless of what type of item    12   or procedures or approvals required regarding the
   13   it is. It could be paper towels. It could be          13   excessive order query as it related to controlled
   14   toilet paper, shampoo. It will look at any item we    14   substances in the 2000s?
   15   have and if it is greater than the value specified,   15      A. No, I am not.
   16   it will appear on the report.                         16      Q. And you were the person that helped
   17        Q. So, the distribution center enters in a       17   implement this program, correct?
   18   quantity or a number for paper towels, correct?       18      A. That is correct.
   19        A. No, they're entering a number just --         19      Q. Were you ever asked to make any changes
   20   it's not item-specific. It's just a number and if     20   or amendments to the program over the life of it?
   21   it's greater than that number, it will display on a   21      A. Not that I remember.
   22   report. So, it's not product-specific.                22      Q. How often would that excessive query
   23        Q. Okay. So, it's one number that's              23   report be run?
   24   entered for all products within the store?            24      A. It's really up to the DCs to determine
                                                   Page 27                                                    Page 29
    1       A. Yes.                                            1   that. It could be daily. It could be -- it's up
    2       Q. One number whether it's paper towels,           2   to their decision to how many times they would or
    3   whether it's toilet paper, whether it's Claritin,      3   when they would run it.
    4   or whether it's OxyContin?                             4       Q. From your understanding, do orders come
    5       A. Yes.                                            5   into the distribution center from -- from stores
    6       Q. And that number is chosen by an                 6   pretty much on a daily basis?
    7   individual at the distribution center?                 7       A. Yes.
    8       A. Yes. It's chosen by someone at the              8       Q. It would make sense to run the report
    9   distribution center.                                   9   daily?
   10       Q. Do you know the position of the person         10           Let me ask it this way: If your goal is
   11   at the distribution center that makes that            11   to catch orders that might have been entered in
   12   determination?                                        12   error, which I think is what you told us the
   13       A. No, I do not.                                  13   intention of the report was, it would make sense to
   14       Q. Have you heard the position of SAIL            14   run it daily so that you don't ship any product
   15   coordinator, S-A-I-L coordinator?                     15   that wasn't intended to be shipped?
   16       A. Yes. I know SAIL coordinator.                  16       A. Yes.
   17       Q. Do you know whether or not the SAIL            17       Q. Are you aware of any policy or procedure
   18   coordinator is the person that makes the decision     18   for what is supposed to be done if there are
   19   that a certain number is going to be entered as the   19   certain orders that populate on that excessive
   20   criteria?                                             20   order query?
   21       A. I can't say for sure.                          21       MR. LEVINE: Objection; lacks foundation.
   22       Q. Regardless of who it is, that person has       22   BY THE WITNESS:
   23   discretion to raise or lower that number, correct?    23       A. I'm not -- I'm not sure. I don't know
   24       A. That is correct.                               24   of any policies personally, no.

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                                                                            Review
                                                   Page 30                                                        Page 32
    1   BY MR. GADDY:                                          1   excessive orders?
    2      Q. Were you asked to implement or design            2      A. Can you repeat that? I'm sorry.
    3   any policies or procedures as far as what              3      Q. Sure. I think you told us that the
    4   individuals or what anybody was supposed to do if      4   excessive order query would populate a report for
    5   any orders populated on that query?                    5   any items that were ordered in excess of whatever a
    6      A. No. I would just -- I just wrote the             6   line limit was, is that accurate?
    7   program -- actually the query that created the         7      A. Yes.
    8   data. I wasn't involved in policies.                   8      Q. And I think you told us that that line
    9      Q. Okay. You don't work in the                      9   limit is inputted by somebody at the distribution
   10   distribution center, correct?                         10   center?
   11      A. I do not work in the distribution               11      A. That is correct.
   12   center, no.                                           12      Q. Was there any recommended or suggested
   13      Q. Have you ever worked in a distribution          13   value for what that line limit should be that
   14   center?                                               14   you're aware of?
   15      A. No, I have not.                                 15      A. Not that I'm aware of, no.
   16      Q. Have you visited distribution centers?          16      Q. Did the report that you wrote, that you
   17      A. Yes.                                            17   implemented that you wrote the code for, did it
   18      Q. Have you ever been to a distribution            18   suggest or recommend any particular line limit?
   19   center and watched the process of them running this   19      A. No. That was up to the DC to make that
   20   excessive order query?                                20   determination. Distribution center. Sorry.
   21      A. Not that query in particular, no.               21      Q. Sure. You can say "DC." I just wanted
   22      Q. That process of the excessive order             22   to make sure we were clear on what you were talking
   23   query, as far as you know, does that still happen     23   about.
   24   today?                                                24           Were the -- were the line limits that

                                                   Page 31                                                        Page 33
    1       A. Yes.                                            1   were implemented at distribution centers, do you
    2       Q. As far as you're aware, have there been         2   know whether or not they were static, the same
    3   any changes or amendments to that -- to that           3   across all distribution centers, or do you not know
    4   process, the excessive order query?                    4   that?
    5       MR. LEVINE: Objection; foundation.                 5       A. I do not know that.
    6   BY THE WITNESS:                                        6       Q. Are you aware of any policies or
    7       A. I don't know of any, no.                        7   procedures about setting the line limits for
    8   BY MR. GADDY:                                          8   stores?
    9       Q. Have you or your team within supply and         9       A. No, I am not aware of any.
   10   logistics been asked to make any changes or           10       Q. And, again, whatever line limit is set
   11   amendments to the excessive order query?              11   would be the same for paper towels, for cold
   12       A. No.                                            12   medication and for controlled substances, correct?
   13       Q. At any point in time was you or your           13       A. Yes.
   14   team or anybody else that you're aware of in supply   14       Q. Outside of writing the code and
   15   and logistics asked to make any changes or            15   implementing the excessive order query, during your
   16   amendments to the excessive order query as it         16   time at Walgreens have you been involved in any
   17   related to running that report for controlled         17   other projects related to thresholds or ceilings as
   18   substances?                                           18   it relates to controlled substances?
   19       A. No.                                            19       A. No.
   20       Q. Did the excessive order query report ask       20       Q. During your time at Walgreens have
   21   or -- excuse me. Strike that.                         21   you -- in supply and logistics have you been
   22           Did the excessive order query report          22   involved in any projects that involve ARCOS
   23   suggest or recommend any particular line limit or     23   reporting?
   24   threshold that would be used to trigger any           24       A. The system that we run at the DCs

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    1   created a file that fed ARCOS, but that's as far as    1      Q. And specifically you were asked what, to
    2   my limitations went.                                   2   prevent controlled substances from going to stores
    3       Q. Tell me what you mean by that.                  3   that are typically serviced by the Jupiter
    4       A. As we ship out our product to the               4   distribution center?
    5   stores, there is a -- the data is written to a file    5      A. We were asked to, if I -- I don't
    6   that will feed into the ARCOS system, and we           6   remember exactly. But I believe it was to redirect
    7   created that file; but after that, I had no            7   the orders to a different distribution center other
    8   involvement with the ARCOS system itself.              8   than Jupiter.
    9       Q. Okay. Have you in your time at                  9      Q. There were only three Walgreens
   10   Walgreens in supply chain and logistics had any       10   distribution centers that distributed controlled
   11   involvement with reporting of any controlled          11   substances, correct?
   12   substance information to the DEA?                     12      A. That is correct, to my knowledge.
   13       A. No.                                            13      Q. And that's Jupiter in Florida, correct?
   14       Q. During your time in supply and logistics       14      A. Yes.
   15   at Walgreens, have you had any involvement in         15      Q. Perrysburg in Ohio?
   16   generating suspicious order reports?                  16      A. Yes.
   17       A. No.                                            17      Q. And Woodland in California?
   18       Q. Have you had any involvement in your           18      A. Yes.
   19   time with the supply chain and logistics at           19      Q. When you were first asked by your
   20   Walgreens with any type of due diligence reports as   20   supervisor to or -- excuse me -- first informed by
   21   it relates to controlled substances?                  21   your supervisor that you needed to have the orders
   22       A. No.                                            22   for stores that are typically serviced by Jupiter
   23       Q. During your time at Walgreens did you          23   diverted elsewhere, were they diverted to another
   24   become aware that the controlled substance            24   Walgreens distribution center or were they diverted
                                                   Page 35                                                          Page 37
    1   distribution center in Jupiter, Florida was            1   to a jobber?
    2   investigated by the DEA?                               2       A. I'm trying -- that was a long time ago.
    3       A. I became aware of it when they asked us         3   But probably to both I would guess, but I don't
    4   to stop sending orders through it.                     4   remember exactly. Sorry.
    5       Q. Tell me how you became aware that the           5       Q. Do you know why the orders that
    6   Jupiter distribution center was under investigation    6   typically were serviced by the Jupiter distribution
    7   by the DEA.                                            7   center for controlled substances needed to be
    8       A. I believe my boss at the time said we           8   outsourced to either other Walgreens C-II
    9   need to look at ways to prevent orders from going      9   distribution centers or to jobbers?
   10   to -- to the Jupiter DC.                              10       A. Not exactly except I was asked to do it.
   11       Q. Okay.                                          11       Q. Were you given any high level
   12       A. From a programmer point of view.               12   presentation about why the DEA was involved in
   13       Q. So, there is a -- would it be fair to          13   Jupiter?
   14   say there is an electronic system by which the        14       A. No.
   15   stores order product, including controlled            15       Q. Were you given any explanation from
   16   substances, from distribution centers?                16   anybody higher than you at Walgreens about what was
   17       A. Yes, there is.                                 17   going on as it related to the DEA and controlled
   18       Q. How long has that been an electronic           18   substances at the Jupiter distribution center?
   19   process?                                              19       A. Not that I remember, no.
   20       A. Since the early 1990s.                         20       Q. Were you aware that at some point in
   21       Q. And also in the early 1990s is when            21   time Walgreens and the DEA actually entered into a
   22   Walgreens began running these excessive order         22   settlement regarding the allegations stemming from
   23   queries?                                              23   the Jupiter distribution center as it related to
   24       A. Yes.                                           24   controlled substances?

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                                                     Page 38                                                     Page 40
    1       A. No, I do not.                                      1   BY THE WITNESS:
    2       Q. Did anybody at Walgreens ever give you             2      A. 12 pages doubled. Did you say 12
    3   any information about any litigation or settlement        3   double-sided or?
    4   between the DEA and Walgreens relating to -- to           4      MR. LEVINE: Are you looking for Appendix B?
    5   that DEA investigation of the Jupiter distribution        5      MR. GADDY: Correct, yes.
    6   center?                                                   6      MR. LEVINE: So, I think -- well, this one
    7       A. No.                                                7   doesn't have a number at the bottom.
    8       Q. Let me show you what we're going to mark           8   BY THE WITNESS:
    9   as -- I'm going to show you P-WAG-1, which we're          9      A. I got Appendix A. Hang on. Maybe I can
   10   going to mark as Peterson 1.                             10   find it.
   11             (WHEREUPON, a certain document was             11      MR. GADDY: Let me see what you have got on
   12              marked as Walgreens-Peterson                  12   the next page there, Mark.
   13              Exhibit No. 1: Binder, "Settlement            13      MR. LEVINE: This.
   14              and Memorandum of Agreement";                 14      MR. GADDY: Absolutely. So, yours has -- does
   15              WAGMDL00490963 - 00490978 with                15   yours say 23 of 343 on the bottom right?
   16              attachments.)                                 16      MR. LEVINE: No.
   17   BY MR. GADDY:                                            17      MR. GADDY: On the bottom right.
   18       Q. Mr. Peterson, you can flip open that              18      MR. LEVINE: I'm sorry. Page 23 of 343,
   19   page. Do you see the top of the first page -- if         19   right.
   20   you look, I'm going to use -- at the bottom              20      MR. GADDY: Correct.
   21   right-hand corner there is page numbers and you          21   BY MR. GADDY:
   22   should be on page 1 out of 343.                          22      Q. So, Mr. Peterson --
   23           Do you see that?                                 23      MR. LEVINE: So, after Appendix A.
   24       A. Yeah. 1 out of 13 you mean?                       24      THE WITNESS: Okay.

                                                       Page 39                                                  Page 41
    1      Q. I'm sorry?                                          1      MR. LEVINE: Keep on going. You will get to
    2      A. Mine says 1 out of 13.                              2   Appendix B.
    3      Q. Look at the bottom right-hand corner.               3          There you go.
    4      A. I don't --                                          4   BY THE WITNESS:
    5      MR. LEVINE: You said 1 out of 43. That's               5      A. Got it.
    6   why. Or 343. You mean the 963 number at the               6   BY MR. GADDY:
    7   bottom?                                                   7      Q. Great. Does yours on the bottom
    8      MR. GADDY: Yeah, let's do that. Let's do               8   right-hand corner say 23 of 343?
    9   that. Mine is numbered differently, but I think we        9      MR. LEVINE: On the --
   10   are on the same page here. I'm sorry.                    10   BY THE WITNESS:
   11   BY MR. GADDY:                                            11      A. Yes, on the one side, yes.
   12      Q. You see at the top of that page it says            12   BY MR. GADDY:
   13   Settlement and Memorandum of Agreement?                  13      Q. Okay. I think maybe there was just a
   14      A. Yes, I do.                                         14   replacement of the beginning.
   15      Q. Have you ever seen this document before?           15          All right. So, that's the number I'll
   16      A. No, I have not.                                    16   look at from now on is that number on the bottom
   17      Q. Flip through for me, please, it's going            17   right-hand side of the page.
   18   to be about 12 pages in. If it's double-sided,           18      A. Okay.
   19   about 12 pages in. You should find an Appendix B         19      Q. All right. Do you see up in the top
   20   and then right after that there is a --                  20   right of this document here it says, "U.S.
   21      MR. LEVINE: Do you know what the number is at         21   Department of Justice, Drug Enforcement
   22   the bottom?                                              22   Administration"?
   23      MR. GADDY: I have a copy that doesn't have            23      A. Yes.
   24   the same numbers as you all.                             24      Q. Do you know if you've seen this document

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                                                  Page 42                                                        Page 44
    1   before?                                               1       A. No.
    2      A. No, I have never seen this document.            2       Q. If you skip down to the paragraph
    3      Q. Okay. Do you see below the U.S.                 3   numbered 1 at the bottom of the page.
    4   Department of Justice there is a date here that       4           Do you see that?
    5   says September 13, 2012?                              5       A. Yes, I do.
    6      A. Yes.                                            6       Q. It says, "Walgreens' Jupiter, Florida
    7      Q. Does that sound about the time frame            7   distribution center is registered with the DEA as a
    8   that you were informed by your superior that you      8   distributor in Schedules II through V pursuant to a
    9   needed to start looking at ways to divert the         9   DEA Certificate of Registration."
   10   orders of controlled substances that typically had   10           Do you see that?
   11   come from the Jupiter distribution center?           11       A. Yes.
   12      A. I really don't remember.                       12       Q. And then it gives an address, 15998
   13      Q. If you go down a little bit to the left,       13   Walgreens Drive, Jupiter, Florida.
   14   do you see it says, "In the matter of Walgreens      14           Do you see that?
   15   Company"? Do you see that?                           15       A. Yes, I do.
   16      A. Just looking.                                  16       Q. And is that consistent with your
   17      Q. Still in the top of the page of the            17   understanding from your time in supply chains and
   18   heading.                                             18   logistics that Walgreens had a distribution center
   19      A. Oh. I'm sorry. Yes, I do.                      19   in Jupiter, Florida?
   20      Q. Mr. Peterson, this screen up here is           20       A. Yes.
   21   going to kind of walk through it. So, from time to   21       Q. It goes on to say, it says, "The Jupiter
   22   time -- and you should have one right in front of    22   distribution center is one of 12 distribution
   23   you too.                                             23   centers owned and operated by the Walgreens
   24      A. Yes, I do. I see that now.                     24   Corporation."
                                                  Page 43                                                          Page 45
    1       Q. Okay. Good deal. Then you see the              1           And if you flip to the next page, it
    2   title of this document, it says "Order to Show        2   says it's headquartered in Deerfield, Illinois, and
    3   Cause and Immediate Suspension of Registration."      3   "Walgreens also operates more than 7,800 Walgreens
    4           Do you see that?                              4   retail pharmacies in the United States."
    5       A. Yes.                                           5           Do you see that?
    6       Q. And if you go down, it says in the body,       6      A. Yes.
    7   there is the first paragraph that starts              7      Q. Does that seem accurate to you at the
    8   "Pursuant," but I'm going to start at the next        8   time back in September of 2012?
    9   paragraph that starts "Notice."                       9      A. Yes, it would.
   10           Do you see that?                             10      Q. If you look at paragraph 2, the first
   11       A. Yes.                                          11   sentence there says, "Since at least 2009, the
   12       Q. It says, "Notice is hereby given to           12   State of Florida has been the epicenter of a
   13   inform Walgreens Corporation of the immediate        13   notorious, well-documented epidemic of prescription
   14   suspension of Drug Enforcement Administration        14   drug abuse."
   15   Certificate of Registration RW0277752, pursuant to   15           Do you see that?
   16   21 United States Code Section 824(d), because such   16      A. Yes.
   17   registration constitutes an imminent danger to the   17      Q. Back in 2012, in your time at Walgreens
   18   public health and safety."                           18   going back to 2009 like is indicated here, did you
   19           Do you see that?                             19   have an understanding that the State of Florida was
   20       A. Yes.                                          20   the epicenter of a notorious, well-known epidemic
   21       Q. Did anybody at Walgreens make you aware       21   of prescription drug abuse?
   22   that the DEA had made allegations that Walgreens     22      A. No, I was not.
   23   was conducting business that constituted an          23      Q. Did anybody at Walgreens ever make you
   24   imminent danger to the public health and safety?     24   aware of there being a prescription drug abuse

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                                                      Page 46                                                   Page 48
    1   epidemic in Florida?                                     1       A. Yes.
    2      MR. LEVINE: Objection to form.                        2       Q. At any point in time during your
    3   BY THE WITNESS:                                          3   employment at Walgreens has anybody ever at
    4      A. No. There would be no need for that. I             4   Walgreens made you aware that oxycodone is a
    5   mean, I -- I'm just a programmer, designing              5   dangerously addictive Schedule II controlled
    6   programs.                                                6   substance?
    7   BY MR. GADDY:                                            7       A. Nope.
    8      Q. And you get your orders about what to do           8       Q. Do you have an independent understanding
    9   and what to implement from folks that are higher up      9   of that, do you know that without reading it in
   10   at Walgreens, correct?                                  10   this document?
   11      A. Yes.                                              11       A. I know that it's prescribed for medical
   12      Q. Let me ask it this way. At any point in           12   use and if it's used for -- as prescribed by a
   13   time between 2009 and this document, which came out     13   doctor, it serves a purpose.
   14   in September of 2012, did anybody -- any of your        14       Q. Do you have an understanding that it's
   15   supervisors, anybody higher up at Walgreens come to     15   highly addictive?
   16   you or your team or any of the other supply chain       16       A. No, I don't have an understanding.
   17   and logistics folks that you know of at Walgreens,      17       Q. Nobody at Walgreens has ever told you
   18   and ask you all to come up with any solutions or        18   that it's highly addictive?
   19   implement any programs that would help address any      19       A. No.
   20   type of prescription drug abuse epidemic that was       20       Q. That paragraph goes on to say that
   21   happening in Florida?                                   21   "According to the 2010 Florida Medical Examiner's
   22      MR. LEVINE: Objection to form, foundation.           22   Commission Drug Report, the drug that caused the
   23   BY THE WITNESS:                                         23   most deaths in Florida for 2010 was oxycodone,
   24      A. No, not that I'm aware of.                        24   causing 1,516 deaths."
                                                    Page 47                                                     Page 49
    1   BY MR. GADDY:                                            1          Do you see that?
    2       Q. If you go down to paragraph 3, it starts          2       A. Yes.
    3   "Oxycodone."                                             3       Q. Did anybody at Walgreens ever make you
    4           Do you see that?                                 4   aware that this drug was causing that many deaths
    5       A. Yes.                                              5   in the State of Florida?
    6       Q. Do you know what oxycodone is?                    6       A. No.
    7       A. It's a controlled drug.                           7       MR. LEVINE: Objection to foundation.
    8       Q. Okay. And that's something that you               8          You have to give me a chance to object
    9   have an understanding of?                                9   before you start your answer. Give me a second or
   10       A. I do know what the drug is, yes.                 10   so. Thanks.
   11       Q. And do you have an understanding that            11       THE WITNESS: Sorry.
   12   that's a drug that Walgreens has not only dispensed     12   BY THE WITNESS:
   13   in its pharmacies but has distributed to itself         13       A. No, I do not.
   14   from I guess the early 2000s until they stopped,        14   BY MR. GADDY:
   15   which we think was around '13 or '14?                   15       Q. I asked you if anybody at Walgreens made
   16       A. I -- I don't remember all the drugs we           16   you aware of that, and you said, "No, I do not."
   17   distributed, but I believe that was one of them.        17   You mean nobody did?
   18   But I'm not 100% sure.                                  18       A. No one made me aware of it.
   19       Q. I understand. It goes on, it says there          19       Q. Did anybody at any time while you've
   20   in paragraph 3, "Oxycodone is a dangerously             20   been at Walgreens in the supply chain and logistics
   21   addictive Schedule II controlled substance which is     21   department, did anybody ask you or as far as you're
   22   known to be highly abused and diverted in the State     22   aware anybody else or any other teams in supply
   23   of Florida."                                            23   chain and logistics to implement any programs or
   24           Do you see that?                                24   write any code or implement any solutions

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    1   specifically related to oxycodone?                         1      A. Yes.
    2      MR. LEVINE: Objection to foundation.                    2      Q. Nobody asked you to implement any
    3   BY THE WITNESS:                                            3   solution as it related to oxycodone going to
    4      A. Not that I'm aware of.                               4   Florida, correct?
    5   BY MR. GADDY:                                              5      MR. LEVINE: Objection; asked and answered.
    6      Q. Paragraph 4 says, "Since 2009 Walgreens'             6   BY THE WITNESS:
    7   Jupiter, Florida distribution center has been the          7      A. No.
    8   single largest distributor of oxycodone products in        8   BY MR. GADDY:
    9   Florida."                                                  9      Q. So, this report, the date of this
   10           Do you see that?                                  10   document that we're looking at is 2012, and I think
   11      A. Yes.                                                11   we've looked at -- we've seen that it's talking
   12      Q. Prior to reading that right here, did               12   about a time frame that generally starts in 2009.
   13   you know that?                                            13           Do you see that?
   14      A. No.                                                 14      A. Yes.
   15      Q. It goes on to say, "At about the same               15      Q. In 2009 you were a manager, correct?
   16   time as the abuse of prescription drugs became an         16      A. Yes.
   17   epidemic in Florida, Walgreens' Florida retail            17      Q. In 2009 the -- the excessive order query
   18   pharmacies, supplied by Respondent," and I will           18   that we spent a little bit of time talking about
   19   represent to you the Respondent means Walgreens,          19   earlier this morning, that was in effect then,
   20   "commanded an increasingly large percentage of the        20   correct?
   21   state's growing oxycodone business. In 2010, only         21      A. Yes.
   22   three Walgreens retail pharmacies were in the top         22      Q. That was in effect at all Walgreens
   23   100 purchasers of oxycodone within Florida. In            23   distribution centers, correct?
   24   2011, 38 Walgreens pharmacies made the top 100 and        24      A. Yes.
                                                      Page 51                                                     Page 53
    1   six were in the top 10."                                   1       Q. I show you -- go to the -- there is the
    2           Do you see that?                                   2   next paragraph is paragraph 5, but then at the top
    3       A. Yes.                                                3   of the next page there is a chart.
    4       Q. It says, "Through May 2012, 44 Walgreens            4           Do you see that?
    5   pharmacies are in the top 100 oxycodone purchasers,        5       A. Yes.
    6   all of them supplied by Respondent."                       6       Q. And you saw that we just read in that
    7           Do you see that?                                   7   last paragraph that all of these Walgreens
    8       A. Yes.                                                8   pharmacies throughout the State of Florida were
    9       Q. Did you have an understanding, as a                 9   supplied by Walgreens. You understand that?
   10   person working in the supply chain and logistics          10       A. That's what it said there, yes.
   11   department of Walgreens during this time frame,           11       Q. Okay. So, if we look at this chart on
   12   that Walgreens pharmacies were -- were ranked this        12   the top of -- it's going to be page 25 of 343, do
   13   high as it related to oxycodone distributions and         13   you recognize the first column as to indicate store
   14   dispensing in the State of Florida?                       14   numbers and store locations for different
   15       MR. LEVINE: Objection; foundation.                    15   Walgreens?
   16   BY THE WITNESS:                                           16       A. Yes, that's what it looks like, yes.
   17       A. No. As I said before, I just -- I write            17       Q. And as we look at the next three
   18   programs. I don't --                                      18   columns, do you see those to indicate oxycodone
   19   BY MR. GADDY:                                             19   purchases by dosage unit for the years of 2009,
   20       Q. You take orders from folks above you --            20   2010 and 2011?
   21       A. Yes.                                               21       MR. LEVINE: Objection; foundation.
   22       Q. -- correct?                                        22   BY THE WITNESS:
   23           You implement the solutions they ask you          23       A. I see them, yes.
   24   to implement?                                             24   BY MR. GADDY:

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    1      Q. And if we look, just, for example, at              1   populated on that excessive order query, according
    2   the second store listed there in Line No. 2, Store       2   to this chart we're looking at here, the dosage
    3   03099 in Fort Myers, Florida.                            3   units sent to this particular Fort Myers Walgreens
    4          Do you see that?                                  4   store increased over 20-fold in a two-year time
    5      A. Yes.                                               5   period, correct?
    6      Q. And according to this chart that's in              6       MR. LEVINE: Objection to form, foundation.
    7   this document, in 2009 that particular store was         7   BY THE WITNESS:
    8   supplied by Walgreens 95,800 dosage units of             8       A. I'm not sure if I can answer that
    9   oxycodone, correct?                                      9   question. I'm not sure about that one.
   10      A. That's what it says, yes.                         10   BY MR. GADDY:
   11      Q. And according to this chart, in the               11       Q. Okay. That's fair.
   12   following year, 2010, that particular store was         12           Let's look at the next store. Do you
   13   supplied by Walgreens 496,100 dosage units of           13   see that it's line item 3, 06997 for Oviedo,
   14   oxycodone, is that correct?                             14   Florida?
   15      A. That's what the chart says.                       15       A. Yes.
   16      Q. You agree that that's an approximate 5            16       Q. And according to this chart, it
   17   times increase from 2009 to 2010, about 5-fold?         17   indicates that that store in 2009 was shipped by
   18      A. Quick math, yes.                                  18   Walgreens 80,900 dosage units of oxycodone,
   19      Q. And at the time that the oxycodone                19   correct?
   20   purchases to this Fort Myers store went from 95,000     20       A. That's what the chart says, yes.
   21   to 496,000 and increased approximately 5-fold, this     21       Q. And if you look at the following year,
   22   excessive order query was in place at the Jupiter       22   in 2010, it indicates that that same store was
   23   distribution center, correct?                           23   supplied by Walgreens 223,500 dosage units,
   24      A. Yes.                                              24   correct?
                                                      Page 55                                                        Page 57
    1      Q. Do you see there that on that chart it             1        A. Yes, that's what the chart says.
    2   indicates that in 2011 that same store was sent          2        Q. And quick math, would you agree with me
    3   approximately 2.1 million dosage units of                3   that's about a 2-1/2-fold increase, maybe a little
    4   oxycodone?                                               4   bit more?
    5      A. Yes, that's what the chart says.                   5        A. Sounds about right.
    6      Q. And, again, rough math, do you agree               6        Q. And at this point in time, that
    7   that from 2009 until 2011, the amount of oxycodone       7   excessive order query had already been implemented,
    8   supplied by Walgreens to this Fort Myers store           8   correct?
    9   location increased over 20-fold?                         9        A. It was implemented.
   10      A. Yes. That's what it looks like.                   10        Q. Do you see that according to this chart,
   11      Q. And at the time that the number of                11   that the following year, in 2011, that same store
   12   oxycodone dosage units shipped by Walgreens to this     12   in Oviedo, Florida was shipped 1.6 million dosage
   13   particular Fort Myers store increased over 20-fold      13   units of oxycodone by Walgreens.
   14   from 2009 to 2011, the excessive order query was in     14            Do you see that?
   15   effect?                                                 15        A. Yes.
   16      A. Yes.                                              16        Q. Would you agree with me that low-balling
   17      Q. And it was in effect at the Jupiter               17   it, that's at least a 16-fold increase?
   18   distribution center?                                    18        A. Yeah. It looks that way from the chart.
   19      A. It should have been, but I'm not 100%             19        Q. Okay. I show you what I'm going to mark
   20   sure if they were using it.                             20   as Peterson 2.
   21      Q. It was in effect at all distribution              21               (WHEREUPON, a certain document was
   22   centers, correct?                                       22                marked as Walgreens-Peterson
   23      A. Yes.                                              23                Exhibit No. 2: 5/30/13 e-mail
   24      Q. Whether anything flagged or popped or             24                string; WAGMDL00583296 - 00583301.)

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    1   BY MR. GADDY:                                       1      A. No.
    2       Q. This is P-WAG-2069. And, Mr. Peterson,       2      Q. What about Steve Bamberg?
    3   if you don't mind, I'm going to use the Bates       3      A. Yes, I know Steve Bamberg.
    4   number on the bottom right-hand corner. Turn to     4      Q. Is Steve Bamberg in IT?
    5   the page that ends 99.                              5      A. Yes, Steve is in IT.
    6          Are you with me?                             6      Q. Describe for me, please, the
    7       A. Yes.                                         7   relationship between you and Steve Bamberg as far
    8       Q. And I'm going to start about a third of      8   as where you all would look on an organizational
    9   the way down the page. Do you see an e-mail from    9   chart of the IT department.
   10   Denman Murray to John Merritello?                  10      A. He -- he works on the store systems. I
   11       A. Yes.                                        11   work on the distribution systems.
   12       Q. Can you tell me who Denman Murray is?       12      Q. What's the difference?
   13       A. He worked at Walgreens. I don't             13      A. Stores have their own AS400 and their
   14   remember the department he was in at that time.    14   own set of code that runs ordering, runs the system
   15       Q. Did you report to him or he report to       15   for the stores. Distribution has its own AS400 and
   16   you or anything in that form or fashion?           16   runs code that processes for the distribution
   17       A. No. We did not report to each other.        17   center.
   18       Q. He was not in IT?                           18      Q. Do those two functions, stores and
   19       A. He was not in IT. He was in business.       19   distribution, sometimes overlap?
   20       Q. Do you know what function he served in      20      A. Yes.
   21   the business?                                      21      Q. All right. Let's look at the e-mail
   22       A. I don't remember back then.                 22   Denny writes to John. He says, "First fire of the
   23       Q. Okay. What about John Merritello?           23   week. We need to turn off all C2 through 5
   24       A. I know John, yes.                           24   ordering for the six stores that lost their
                                                Page 59                                                       Page 61
    1      Q. Does John work in IT?                         1   licenses. Then remove any 2 through 5 ordering
    2      A. No, he does not.                              2   restrictions on the other stores."
    3      Q. Where does he work?                           3           Do you see that?
    4      A. He's on the business side.                    4       A. Yes.
    5      Q. Okay. Do you know what his function is        5       Q. Does that mean anything to you as you
    6   on the business side?                               6   read it right here?
    7      A. I don't remember.                             7       A. No.
    8      Q. Do you still work with John from time to      8       Q. Okay. If you'd flip to the -- flip two
    9   time?                                               9   pages backwards. We're going to go to Bates
   10      A. No.                                          10   No. ending 97 on the bottom right-hand corner.
   11      Q. Copied on this individual is Brian           11       A. Yes.
   12   Eliff, Barb Martin and Steve Bamberg.              12       Q. Do you see about a third of the way down
   13           Do you see that?                           13   the page you've been brought into the loop here?
   14      A. Yes.                                         14       A. Yes.
   15      Q. Do you know Brian?                           15       Q. Okay. And this is an e-mail from John
   16      A. No, I do not.                                16   Merritello to you, correct?
   17      Q. Do you know Barb Martin?                     17       A. Yes.
   18      A. I know who she is, yes.                      18       Q. And this is -- the date of this e-mail
   19      Q. How do you know Barb Martin?                 19   is May 30 of 2013?
   20      A. She works on the business side.              20       A. Yes.
   21      Q. Do you know what she does on the             21       Q. And this is -- I guess we had been
   22   business side?                                     22   looking at this document this morning, the
   23      A. No. I'm not 100% sure.                       23   Settlement Agreement and the Order to Show Cause,
   24      Q. Do you ever interact with Barb Martin?       24   and we saw that was from September of 2012. Do you

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    1   remember that?                                            1       Q. Can you tell me -- tell us what that
    2       A. Yes.                                               2   means?
    3       Q. So, this is several months after that              3       A. Our system will not ship any Rx item to
    4   initial DEA action, correct?                              4   a store without a DEA number.
    5       A. Yes.                                               5       Q. Okay. So, you were -- what you were
    6       Q. Okay. And John says to you, "Just                  6   doing here is kind of similar to what you've
    7   wanted to double-check to make sure we stopped            7   described your role within Walgreens as being is
    8   processing control orders for the six stores listed       8   you were given a project to implement by somebody
    9   above. They have lost their DEA registration. All         9   with the business side and you're trying to
   10   of these stores are in Florida."                         10   implement that directive. Is that fair?
   11           Do you see that?                                 11       A. Yes.
   12       A. I see it, yes.                                    12       Q. And the way that you're thinking of to
   13       Q. Do you recall that there were stores in           13   implement that directive is to remove the DEA
   14   Florida that lost their DEA registration?                14   number from the -- what's the LDB?
   15       A. I don't remember that, no.                        15       A. Location database file.
   16       Q. Were you given any understanding by               16       Q. So, you're thinking if you can remove
   17   anybody at Walgreens as to why these different           17   the DEA number for these stores from the location
   18   stores lost their DEA registrations?                     18   database file, that would prevent their ability to
   19       A. No.                                               19   order controlled substances?
   20       Q. If you'd look back for me to that chart           20       A. It appears that was my thinking back
   21   we were just looking at in the first document, the       21   then, yes.
   22   thick one.                                               22       Q. So then you get a response from John
   23       A. Okay.                                             23   above. He says he doesn't know. "Doug, in any
   24       Q. And compare the numbers in the subject            24   event, we need to stop all orders."

                                                       Page 63                                                     Page 65
    1   line of the e-mail to the store numbers in the            1          Do you see that?
    2   chart that we were just looking at and tell me            2      A. Yes.
    3   whether or not they match.                                3      Q. Do you recall whether or not you were
    4      A. They match.                                         4   able to shut down these six Walgreens stores that
    5      Q. So, is it your understanding from                   5   had lost their DEA registration and prevent them
    6   looking at these two documents together that you          6   from ordering controlled substances?
    7   were asked to -- to assist with shutting down the         7      A. I don't remember, no.
    8   ability of these six stores, some of which we just        8      Q. Would that be consistent with kind of
    9   talked about in detail, and you were asked to             9   your history at Walgreens that you're asked to
   10   eliminate their ability to order controlled              10   implement a task or a solution and that you keep
   11   substances?                                              11   working on it until you get it done?
   12      MR. LEVINE: Objection to form, foundation.            12      A. That would be my job description, yes.
   13   BY THE WITNESS:                                          13      Q. I'm going to show you what we are going
   14      A. I don't remember being asked this,                 14   to mark as Peterson 3. P-WAG-2070.
   15   but...                                                   15             (WHEREUPON, a certain document was
   16   BY MR. GADDY:                                            16              marked as Walgreens-Peterson
   17      Q. Is that what the e-mail indicates?                 17              Exhibit No. 3: 5/28/13 e-mail
   18      A. It certainly looks that way.                       18              string; WAGMDL00585822 - 00585825.)
   19      Q. And if you turn to the first page of the           19   BY MR. GADDY:
   20   e-mail, it looks like you respond to John and you        20      Q. And I will represent to you this is a
   21   ask him, "Were they planning on removing the DEA         21   similar e-mail chain that we were -- to the one
   22   number from the LDB for these stores?"                   22   that we were just looking at. It just kind of
   23           Do you see that?                                 23   spins in a different direction, and we get another
   24      A. Yes.                                               24   response that wasn't included in the last one.

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    1           But if you look at the bottom of that          1   looked at, you talked about removing -- the option
    2   first page, do you see the e-mail from Denny that      2   of removing the DEA code or the DEA registration
    3   we looked at just a few minutes ago?                   3   number from the database, right?
    4       A. Yes.                                            4       A. Yes.
    5       Q. Saying, "We need to turn off all C2s            5       Q. Would that have stopped the auto
    6   through 5s for the six stores that lost their          6   ordering?
    7   licenses," correct?                                    7       A. It wouldn't have stopped the auto
    8       A. Yes.                                            8   ordering, no.
    9       Q. We now understand that to be the six            9       Q. Would that have stopped the manual
   10   stores that we -- some of which we just explored in   10   ordering?
   11   detail in the Order to Show Cause that was issued     11       A. Yes, it would have.
   12   to Jupiter by the -- to Walgreens Jupiter             12       Q. So, there were a couple of different
   13   distribution center by the DEA, correct?              13   solutions that were needed to prevent these six
   14       MR. LEVINE: Objection; lacks foundation.          14   stores who lost their DEA registration, these six
   15   BY THE WITNESS:                                       15   Walgreens stores, from getting any controlled
   16       A. I believe so, yes.                             16   drugs, correct?
   17   BY MR. GADDY:                                         17       A. That is what it appears.
   18       Q. And at the top of the page we get a            18       Q. And from looking back at these now, and
   19   response to that e-mail from Steve Bamberg,           19   I understand these documents are five or six years
   20   correct?                                              20   old, but looking back at these now, you recall that
   21       A. Yes.                                           21   you were involved in implementing solutions to make
   22       Q. And Steve writes -- and it looks like he       22   sure that these six Walgreens stores did not get
   23   has included you in the "To" line here, correct?      23   any more controlled drugs?
   24       A. Yes.                                           24       A. Honestly, I don't remember these six

                                                  Page 67                                                            Page 69
    1       Q. This is 5/28/13?                                1 stores other than reading these e-mails.
    2       A. Yes.                                            2     Q.   But from looking at the e-mails, you
    3       Q. It says, "Is there a way at the DC to           3 understand and you're confident that you assisted
    4   prevent certain stores from ordering any controlled    4 in preventing these six Walgreens stores from
    5   drugs?"                                                5 ordering any more controlled substances from
    6           Do you see that?                               6 Walgreens distribution centers, correct?
    7       A. Yes.                                            7       A. Me or my team was involved, yes.
    8       Q. It wasn't just C-IIs that these stores          8       MR. GADDY: Mark, I'm changing topics. Do you
    9   couldn't get anymore. They couldn't get controlled     9   want to keep going?
   10   III, controlled IVs or controlled Vs anymore,         10       MR. LEVINE: Do you want to take a break?
   11   correct?                                              11       THE WITNESS: We can take a break.
   12       A. That's what it appears, yes.                   12       MR. LEVINE: Okay.
   13       Q. He says, "We have six stores that need         13       THE VIDEOGRAPHER: We are going off the record
   14   to be shut off. We are turning off auto ordering      14   at 10:04.
   15   in these stores for these items, but that is not      15             (WHEREUPON, a recess was had
   16   100 percent since the stores can manually order,      16              from 10:04 to 10:16 a.m.)
   17   too. Please advise."                                  17       THE VIDEOGRAPHER: We're back on the record at
   18           Do you see that?                              18   10:16.
   19       A. Yes.                                           19   BY MR. GADDY:
   20       Q. Does that e-mail make sense? Do you            20       Q. Mr. Peterson, we just spent a little bit
   21   understand what he is talking about there?            21   of time this morning talking about a DEA
   22       A. Reading the e-mail, yes, I have an idea        22   investigation into the Jupiter distribution center
   23   of what he is talking about, yes.                     23   of Walgreens, correct?
   24       Q. Okay. In the previous e-mail that we           24       A. Yes.

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    1       Q. Do you also recall there being a DEA             1   Perrysburg?
    2   investigation into Walgreens Perrysburg                 2       A. Based on this e-mail, yeah, I can see
    3   distribution center?                                    3   that.
    4       A. No, I don't recall that.                         4       Q. Okay. The e-mail goes on to say, "If
    5       Q. Do you recall being involved in some             5   that happens for C-II, the only alternative is to
    6   Perrysburg meetings from time to time revolving         6   utilize a wholesaler." It says, "Due to the
    7   around moving product and rerouting orders that         7   volume, there is a large concern manually handling
    8   originally came from the Perrysburg distribution        8   the 222 forms. We believe there will be a need to
    9   center?                                                 9   get the CSOS (the controlled substance ordering
   10       A. I don't remember any, no, not off the           10   system) up pretty quickly."
   11   top of my head.                                        11           Do you see that?
   12       Q. Okay. I'm going to show you what I'll           12       A. Yes.
   13   mark as Peterson No. 4 and see if we can refresh       13       Q. After looking at this e-mail, do you
   14   your memory. This is going to be P-WAG-2046.           14   remember that you had some involvement in assisting
   15              (WHEREUPON, a certain document was          15   with this task or solution that you were asked to
   16               marked as Walgreens-Peterson               16   assist with or to implement as far as moving or
   17               Exhibit No. 4: 2/12/13 e-mail              17   shifting some orders around that originally came
   18               string; WAGMDL478056 - 00478057.)          18   from the Perrysburg distribution center?
   19   BY MR. GADDY:                                          19       A. I don't remember it, no.
   20       Q. And we are going to flip to the second          20       Q. Okay. But you see here in the first
   21   page, please, Mr. Peterson. And do you see there       21   sentence that Sue told you that the DEA came into
   22   is just a single e-mail on this page and it's an       22   Perrysburg with subpoenas, correct?
   23   e-mail from Sue Thoss.                                 23       A. Yes, that's what the document says, yes.
   24           Do you see that?                               24       Q. Do you recall anybody at Walgreens ever

                                                     Page 71                                                        Page 73
    1      A. Yes.                                              1   telling you what the subpoenas were looking for?
    2      Q. And this e-mail was sent on Monday,               2       A. No.
    3   February 11, and you were one of the individuals        3       Q. Did anybody tell you about an
    4   cc'd on this e-mail, correct?                           4   administrative warrant being signed by a judge to
    5      A. Yes.                                              5   allow the DEA to go into the Perrysburg
    6      Q. Other folks on the e-mail were Brian              6   distribution center?
    7   Amend who I think you indicated was your report?        7       A. No.
    8      A. Yes.                                              8       Q. Did you have any task or duties related
    9      Q. Also Steve Bamberg who we've talked               9   to pulling data or information, whether it's from a
   10   about a little bit?                                    10   computer system or an IT system or in hard copy, in
   11      A. Yes.                                             11   response to subpoenas to give that information to
   12      Q. Okay. And let's read the e-mail that             12   the DEA? Did you have any involvement in that that
   13   you got from Sue. It says, "Last week the DEA came     13   you remember?
   14   into Perrysburg with subpoenas looking at records      14       A. Not that I remember, no.
   15   for suspicious drug ordering dating back to            15       Q. I'm going to show you what I will mark
   16   February 2011."                                        16   as Peterson Exhibit No. 5.
   17          Do you see that?                                17              (WHEREUPON, a certain document was
   18      A. Yes.                                             18               marked as Walgreens-Peterson
   19      Q. It says, "We believe they could lock             19               Exhibit No. 5: Administrative
   20   Perrysburg up and not allow us to ship from there."    20               Inspection Warrant; WAGMDL00493697
   21          Did I read that right?                          21               - 00493700.)
   22      A. Yes.                                             22   BY MR. GADDY:
   23      Q. Looking at this now, does that refresh           23       Q. And the first thing we'll do on this one
   24   your memory that there was a DEA investigation into    24   is turn to the last page to get the date of the

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                                                       of 83. PageID #: 469956
                                                                           Review
                                                    Page 74                                                       Page 76
    1   document.                                                1   BY THE WITNESS:
    2      MR. GADDY: This is P-WAG-15, Roderrick.               2      A. It appears that way.
    3   BY MR. GADDY:                                            3   BY MR. GADDY:
    4      Q. Sorry. Let's start on the first page.              4      Q. Okay. Let's go back to the first page,
    5          Do you see at the top of the document it          5   and I'm just going to start at the body right there
    6   says, "In the United States District Court for the       6   after "To."
    7   Northern District of Ohio, Western Division"?            7          Do you see that?
    8          Do you see that?                                  8      A. Yes.
    9      A. Yes, I do.                                         9      Q. It says this is to "Wayne Groves,
   10      Q. And in the left-hand portion of the               10   Diversion Investigator and any other authorized
   11   heading, it says, "In the Matter of the                 11   Diversion Investigator Or Special agent of the Drug
   12   Administrative Inspection of Walgreens                  12   Enforcement Administration of the United States
   13   Corporation," in Perrysburg, Ohio.                      13   Department of Justice."
   14          Do you see that?                                 14          Do you see that?
   15      A. Yes, I see it on the document.                    15      A. Yes.
   16      Q. And that's the -- that's a location               16      Q. It goes on to say, "Application having
   17   where Walgreens had a controlled substance              17   been made and probable cause, as defined by the
   18   distribution center, correct?                           18   provisions of" certain codes and certain
   19      A. Yes.                                              19   regulations, "having been shown by the affidavit of
   20      Q. And if you go to the right-hand side of           20   Wayne Groves for an inspection of the controlled
   21   the heading, you see it has a number stamped on the     21   premises of Walgreens Corporation in Perrysburg,
   22   page, it indicates the identity of the magistrate       22   Ohio, it appears that such inspection is
   23   judge, and then it also indicates this is an            23   appropriate under 21 USC Section 880."
   24   Administrative Inspection Warrant.                      24          Do you see that?
                                                      Page 75                                                       Page 77
    1          Do you see that?                                  1      A. Yes, I see that on the document.
    2      A. Yes, I see it on the document.                     2      Q. Other than the notification that you
    3      Q. And then let's just quickly turn to the            3   received in that e-mail that we just looked at a
    4   last page of the document. And do you see at the         4   minute ago from Sue that DEA had come into
    5   bottom of the page you have the signature of the         5   Perrysburg with subpoenas, were you ever given any
    6   magistrate judge?                                        6   additional information from Walgreens about the
    7          Do you see that?                                  7   reasoning behind DEA coming into Perrysburg with
    8      A. Yes, I see it on the document.                     8   subpoenas?
    9      Q. And we see that it's dated February 5,             9      A. No, I was not.
   10   2013, right?                                            10      Q. It goes on to say in paragraph 2, it
   11      A. Yes.                                              11   says, "Pursuant to the provisions" of a certain
   12      Q. And we just looked at that e-mail from            12   code "you are hereby authorized to enter the
   13   Sue where she was telling you about the DEA coming      13   above-described premises within business hours,
   14   in with subpoenas. You recall that that was about       14   which includes night shift hours, for the following
   15   a week after this February 5th date? You can look       15   purposes."
   16   back at that e-mail.                                    16          Do you see that?
   17      A. Can I?                                            17      A. Yes.
   18      Q. Sure.                                             18      Q. And if you flip the page, it says, "To
   19      A. Yes, it is.                                       19   inspect and copy records, reports, files, official
   20      Q. So, about a week after this                       20   order forms, and other documents required to be
   21   administrative warrant was signed by a federal          21   made, kept and maintained under the provisions of
   22   magistrate, you got the e-mail from Sue telling you     22   the Controlled Substance Act."
   23   about the DEA subpoenas, correct?                       23          Do you see that?
   24      MR. LEVINE: Objection; lacks foundation.             24      A. Yes, I see that in the document, yes.

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                                                                           Review
                                                   Page 78                                                        Page 80
    1       Q. In your role with logistics and IT, do          1           Do you see that?
    2   you have an understanding of the requirements that     2       A. Yes.
    3   relate to Walgreens under the Controlled Substance     3       Q. Also, "B, all records pertaining to the
    4   Act?                                                   4   filing of suspicious order reports with the local
    5       A. No, I do not.                                   5   field division office of DEA pursuant to 21 CFR
    6       Q. It goes on to say that the purpose --           6   1301.74(b) as well as records pertaining to a
    7   the DEA is allowed to do this "for the purpose of      7   distributor maintaining effective controls against
    8   verifying that said records, reports, files,           8   diversion pursuant to 21 USC Section 823(e) from
    9   official order forms, other documents and              9   the period of 2/1/11 through 2/5/13."
   10   controlled substances are properly kept and           10           Do you see that?
   11   maintained for the time period of 2/1/11, beginning   11       A. Yes, I see that in the document.
   12   of business, through 2/5/13 close of business."       12       Q. I think I asked you earlier if any of
   13           Do you see that?                              13   your tasks or duties during your time at Walgreens
   14       A. Yes, I see that in the document.               14   ever involved suspicious order reports and you told
   15       Q. It goes on to say that the DEA has the         15   me no, is that correct?
   16   ability "to inspect in a reasonable manner and to a   16       A. Yes, that is correct.
   17   reasonable extent, including the collection of        17       Q. Did any of your tasks or duties during
   18   samples if necessary, all pertinent equipment,        18   your time at Walgreens involve, as far as you
   19   finished and unfinished controlled substances,        19   understand, the maintenance of effective controls
   20   containers, and labeling found therein."              20   against diversion?
   21           Do you see that?                              21       A. No.
   22       A. Yes.                                           22       Q. Do you understand or do you have an
   23       Q. And if we go -- I'm not going to read          23   understanding of what the term "diversion" means as
   24   every line of this. But if you go, flip a page to     24   it relates to controlled substances?

                                                   Page 79                                                     Page 81
    1   the bottom of page 3, there is a paragraph that        1      A. I would guess the diverting of
    2   starts 4, the number 4?                                2   controlled substance, but I'm not sure.
    3       A. Yes.                                            3      Q. Okay. That's fine. I just want to get
    4       Q. Sorry. It says, "You are hereby further         4   your understanding.
    5   authorized to remove for copying from the              5          Did anybody at Walgreens ever -- ever
    6   above-described controlled premises the following      6   give you any training or education about what
    7   records, reports, documents, files and inventories,    7   diversion of controlled substance meant during --
    8   including computerized records, as are appropriate     8   during -- ever at your time at Walgreens?
    9   and necessary to the effective accomplishment of       9      A. No. Wouldn't be necessary for my job.
   10   the inspection."                                      10      Q. Because you just take orders from
   11           Do you see that?                              11   business folks?
   12       A. I see that in the document, yes.               12      A. Yes.
   13       Q. Do you see there it talks about                13      Q. And get asked to implement systems?
   14   computerized records? Were you asked to pull          14      A. And then we implement programs too.
   15   anything in response to this investigative warrant    15      Q. And are you aware of either yourself,
   16   to turn over to the DEA that you recall?              16   your team since you've been a manager or any of the
   17       MR. LEVINE: Objection to form.                    17   other IT -- any of the other IT teams who have been
   18   BY THE WITNESS:                                       18   asked to implement any programs or solutions
   19       A. Not that I was -- not that I remember.         19   regarding around maintaining effective controls
   20   BY MR. GADDY:                                         20   against diversion of controlled substances?
   21       Q. It says the DEA is allowed to go in and        21      MR. LEVINE: Objection; foundation.
   22   make copies of, "A, all other records which refer     22   BY THE WITNESS:
   23   to or relate to the distribution of controlled        23      A. I'm not aware of any of that.
   24   substances."                                          24   BY MR. GADDY:

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                                                                           Review
                                                         Page 82                                                     Page 84
    1      Q. Mr. Peterson, I'm going to show you what              1   hereinafter set forth."
    2   I'm going to mark as Exhibit No. 6. And do you              2           Do you see that?
    3   see -- and this is P-WAG-16.                                3      A. Yes, I see that.
    4              (WHEREUPON, a certain document was               4      Q. And then if we get down to the next
    5               marked Walgreens-Peterson Exhibit               5   paragraph, do you see that it starts to describe
    6               No. 6: U.S. DOJ/DEA Subpoenas;                  6   the documents and records that Walgreens is
    7               WAGMDL00493694 - 00493718.)                     7   required to produce to the DEA?
    8   BY MR. GADDY:                                               8      A. Yes.
    9      Q. Do you see at the top of the first                    9      Q. And about the third line down it says,
   10   page that this is -- it says, "U.S. Department of          10   the first set here, the first subpoena applies to
   11   Justice Drug/Enforcement Administration, Subpoena."        11   "any and all written and electronic records and
   12           Do you see that?                                   12   correspondence regarding the sale and purchase of
   13      A. Yes, I do.                                           13   controlled substances between 2/1/11 and 2/5/13."
   14      Q. And you recall in that e-mail from Sue,              14           Do you see that?
   15   I don't think she mentioned the warrant that we            15      A. Yes.
   16   just looked at, but she talked about the DEA coming        16      Q. As you continue to go down, the next
   17   in with subpoenas, correct?                                17   sentence says, "Also provide all standard operating
   18      A. I just want to...                                    18   procedures relating to controlled substances and
   19           Yes.                                               19   ordering systems, controlled substance ordering
   20      Q. And I'll represent to you here that                  20   thresholds, and system and written procedures for
   21   there are several subpoenas and they are all               21   overriding or editing of controlled substances
   22   stapled together in one exhibit and we're just             22   ordered" -- "ordering thresholds by any Walgreens
   23   going to flip through them and look at a couple of         23   Corporation component."
   24   different subpoenas. Okay?                                 24           Do you see that?
                                                        Page 83                                                        Page 85
    1       A. Okay.                                                1       A. Yes.
    2       Q. Do you see on still kind of up in the                2       Q. And if you flip for me three pages to
    3   heading you see there is a "To" line as far as who          3   the Bates number ending 701, do you see another
    4   this subpoena is issued to?                                 4   subpoena?
    5       A. Yes.                                                 5       A. Yes.
    6       Q. And it's issued to Walgreens                         6       Q. And the heading looks to be identical,
    7   Corporation?                                                7   right, as far as it's a subpoena from the U.S.
    8       A. Yes, that's what the document says, yes.             8   Department of Justice/DEA and it's directed to
    9       Q. And it indicates it goes to the                      9   Walgreens at Perrysburg, correct?
   10   custodian of records at 28727 Oregon Road,                 10       A. Yes, it is.
   11   Perrysburg, Ohio. Do you see that?                         11       Q. And if we look at that middle body
   12       A. Yes.                                                12   paragraph where we see what exactly the DEA is
   13       Q. And that's where one of Walgreens'                  13   asking for, it says, "All written and electronic
   14   controlled substance distribution centers was?             14   correspondence of suspicious controlled substance
   15       A. Yes.                                                15   orders."
   16       Q. And we'll only read this first section              16           Do you see that?
   17   in this first subpoena, but it says, "Greeting: By         17       A. Yes.
   18   the service of this subpoena upon you by DI Wayne          18       Q. If we flip three more pages to the
   19   Groves who is authorized to serve it, you are              19   Bates No. ending 704, do you see another subpoena?
   20   hereby commanded and required to appear before" I          20       A. Yes, I do.
   21   believe that's "Diversion Investigator Groves, an          21       Q. And, again, the heading is identical as
   22   officer of the DEA, to give testimony and to bring         22   far as the subpoena from the DEA directed to the
   23   with you and produce for examination the following         23   Perrysburg, Ohio Walgreens distribution center?
   24   books, records and papers at the time and place            24       A. Yes, it looks the same, yes.

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                                                     Page 86                                                          Page 88
    1       Q. And it looks like here, if we go to that           1       A. Yes, I do.
    2   middle body paragraph again, the second paragraph         2       Q. Then it looks like the last one is going
    3   in the body, what they're asking for here, it looks       3   to be on 6 -- ending 716. And do you see this as
    4   like "any and all original security camera and            4   being yet another subpoena that was issued by the
    5   video monitoring system recordings of the                 5   DEA to Walgreens' distribution center?
    6   distribution center."                                     6       A. Yes.
    7           Do you see that?                                  7       Q. Okay. And let's go again to that body
    8       A. Yes, I do.                                         8   paragraph, the second paragraph in the body, and
    9       Q. Do you recall anybody at Walgreens                 9   what they're looking for here is "any and all
   10   talking to you about any of these subpoenas or the       10   e-mail communications, written correspondence,
   11   different records that were requested by the DEA?        11   notes and any other records of communication
   12       MR. LEVINE: Objection; foundation.                   12   occurring between 9/1/12 and 2/6/13 regarding
   13   BY THE WITNESS:                                          13   controlled substances of which were sent or
   14       A. No, I have no recollection of that.               14   received by employees, contractors, agents,
   15   BY MR. GADDY:                                            15   et cetera of the Walgreens Corporation."
   16       Q. Do you know whether that did or didn't            16           Do you see that?
   17   happen?                                                  17       A. Yes, I do.
   18       A. They would not have discussed it with             18       Q. At any point in time in response to
   19   me. It's not something I would need to know.             19   these subpoenas that were received by Walgreens
   20       Q. If we skip three more pages, we come to           20   from the DEA or I should say served on Walgreens by
   21   yet another subpoena from the DEA. Is that               21   the DEA, did anybody at Walgreens come and ask you
   22   correct?                                                 22   about the excessive order queries that you had
   23       A. Is that 707 page? Yes.                            23   designed the program for?
   24       Q. Yes, sir. Thank you.                              24       A. Not that I remember.

                                                       Page 87                                                      Page 89
    1      A. Okay.                                               1       Q. Do you recall anybody asking you for any
    2      Q. And, again, the top in the heading of               2   criteria or information about the excessive order
    3   the subpoena is identical to the other ones we've         3   query that you wrote?
    4   looked at?                                                4       A. Not that I remember.
    5      A. Yes.                                                5       Q. I'm going to show you what I'm going to
    6      Q. And here in the body of the second                  6   mark as Peterson 7. This is P-WAG-2055.
    7   paragraph, it's looking for "documentation stating        7              (WHEREUPON, a certain document was
    8   daily sales reports of all controlled substance           8               marked as Walgreens-Peterson
    9   shipments, identified per day and customer."              9               Exhibit No. 7: 2/18/13 e-mail;
   10          Do you see that?                                  10               WAGMDL00524429 - 00524430.)
   11      A. Yes, I do.                                         11   BY MR. GADDY:
   12      Q. The daily sales report, is that anything           12       Q. Do you see that this -- it looks like an
   13   that you had involvement in as it relates to             13   e-mail, but appears to be a meeting invitation.
   14   controlled substances during your time in supply         14   And let's just start at the top of the page. It's
   15   chain and logistics?                                     15   from Vinayak Pandit. Did I say that right?
   16      A. No.                                                16       A. Vinayak.
   17      Q. If you go, turn three more pages to the            17       Q. Vinayak. Pinayak?
   18   one ending in 710, do you see yet another subpoena?      18       A. Vinayak.
   19      A. Yep, I see that.                                   19       Q. Vinayak. Thank you.
   20      Q. And this subpoena from the DEA to                  20           And this was from February 18, 2013,
   21   Perrysburg Walgreens distribution center looks for       21   correct?
   22   "the actual physical inventory counts of all             22       A. Yes.
   23   controlled substances that are on hand."                 23       Q. And I think we just looked at that
   24          Do you see that?                                  24   warrant that was issued on February, I believe it

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                                                                           Review
                                                     Page 90                                                       Page 92
    1   was 4th or 5th. Does that sound right?                  1   point it says, "Perrysburg will continue to pick
    2       A. I think so, yes.                                 2   what they can until the DEA comes and shuts them
    3       Q. Okay. And you had also gotten the                3   down."
    4   e-mail from Sue I think on February 11. Does that       4           Do you see that?
    5   sound right?                                            5      A. Yes, I see that in the document.
    6       A. That sounds about right, yes.                    6      Q. Okay. Do you recall receiving this
    7       Q. This is about a week after that?                 7   e-mail from Vinayak about the Perrysburg plan?
    8       A. Yes.                                             8      A. No, I don't recall it.
    9       Q. About a week after Sue's alerted you             9      Q. Do you recall attending any meetings
   10   that Walgreens' Perrysburg distribution center was     10   about the Perrysburg plan related to the DEA coming
   11   served with subpoenas, correct?                        11   into the Perrysburg distribution center and
   12       A. Yes.                                            12   planning on shutting them down?
   13       Q. Okay. And if we look at this e-mail             13      A. No, I don't recall any of those.
   14   from Vinayak, and you look about a third of the way    14      Q. Okay. The next heading is "C3 through
   15   down the "To" block there in the middle of the         15   C5"?
   16   page, do you see your name, Doug Peterson?             16      A. Yes.
   17       A. Oh, in the "To," yes. Yes, I do.                17      Q. And it says for -- let me ask you this.
   18       Q. So, this was an e-mail that you                 18           When it said "C2," you understand that
   19   received, correct?                                     19   to mean Schedule II controlled substances?
   20       A. It appears I did, yes.                          20      A. Yes.
   21       Q. Okay.                                           21      Q. And when we see "C3 through C5," you
   22       A. I don't remember it, but...                     22   understand that to mean Schedules III through V
   23       Q. And if you go down two lines, on the            23   controlled substances?
   24   left-hand side you see John Merritello, two down       24      A. Yes.

                                                    Page 91                                                        Page 93
    1   from you?                                               1       Q. Let me ask you one more question about
    2      A. Yes.                                              2   the first bullet point under "C2." It says,
    3      Q. And two below John, do you see Steve              3   "Perrysburg will continue to pick what they can."
    4   Bamberg is also on the "To" line there?                 4           What does that mean to you?
    5      A. Yes.                                              5   Specifically I'm interested in the term "pick."
    6      Q. And if you go a couple down on the right          6       A. Pick means they are fulfilling store
    7   side of the page, do you see Denny Murray also?         7   orders.
    8      A. Yes.                                              8       Q. Okay. So, at this point in time, we
    9      Q. Looks like just to the right of you, we           9   know that it's been approximately two weeks since
   10   see Sue Thoss. Correct?                                10   the DEA served the Perrysburg distribution center
   11      A. Yes.                                             11   with a subpoena, right?
   12      Q. And Sue is the one who had originally            12       MR. LEVINE: Objection; lacks foundation.
   13   sent you the notification that the DEA had come        13   BY THE WITNESS:
   14   into the Perrysburg distribution center with           14       A. Yes, it appears that way.
   15   subpoenas, right?                                      15   BY MR. GADDY:
   16      A. Yes. That was the e-mail, yes.                   16       Q. Okay. And in this e-mail from Vinayak
   17      Q. Okay. And what's the subject of this             17   talking about the Perrysburg plan, he indicates
   18   meeting?                                               18   that "Perrysburg will continue to pick," which you
   19      A. The document reads, "Perrysburg Plan -           19   say means fill orders from the store, "until the
   20   week of 2/18."                                         20   DEA comes in and shuts them down," is that right?
   21      Q. And the first I guess header in this             21       A. That's what it reads in the document,
   22   e-mail says "C2," correct?                             22   yes.
   23      A. Yes.                                             23       Q. The next section that I had started on
   24      Q. And below that in that first bullet              24   was "C3 through C5," and we established that means

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                                                                           Review
                                                  Page 94                                                     Page 96
    1   Schedule III to V controlled substances, correct?      1   Perrysburg team will follow the same process that
    2       A. Yes.                                            2   we followed over the weekend to manually redirect
    3       Q. And it says, "Perrysburg will make all          3   orders to Mount Vernon, Lehigh and Windsor."
    4   the quantity unavailable."                             4          Do you see that?
    5            Do you see that?                              5      A. Yes, I do.
    6       A. Yes.                                            6      Q. Does that indicate to you that
    7       Q. And in the next bullet point it goes on         7   Perrysburg is no longer going to distribute C-IIIs
    8   to say "ISE." What's ISE mean?                         8   through C-Vs and that they're going to redistribute
    9       A. Information system -- what is it? We            9   those orders that come in to other distribution
   10   call it -- I always call it information system        10   centers?
   11   engineers.                                            11      A. Reading that statement, yes, that's how
   12       Q. Is that software or computer program?          12   I would interpret that.
   13       A. It's just a name. It's a fancy name for        13      Q. They had a different plan for the C-IIs,
   14   a programmer.                                         14   though, right? They were going to continue to
   15       Q. Okay. So, that refers to a person or a         15   distribute Schedule II controlled substances until
   16   position?                                             16   the DEA came in and shut them down?
   17       A. In this -- in this one it's position,          17      A. According to this document, yes.
   18   yes.                                                  18      Q. The last heading is "PSE."
   19       Q. Okay. So, that's talking about a person        19          Do you see that?
   20   that does the job?                                    20      A. Yes.
   21       A. Yes.                                           21      Q. And does that stand for pseudoephedrine?
   22       Q. And I guess there is several of them, so       22      A. Yes, it does.
   23   they just refer to them by the position?              23      Q. I'm going to show you what we're going
   24       A. It's just our title for all -- all of          24   to mark as Peterson 8.
                                                  Page 95                                                     Page 97
    1   our -- all the employees in the logistics IT           1             (WHEREUPON, a certain document was
    2   department were considered ISEs unless you're a        2              marked as Walgreens-Peterson
    3   manager as you promote up. You are just an             3              Exhibit No. 8: 2/2/13 letter to
    4   information system engineer.                           4              DEA from Latham & Watkins;
    5      Q. Okay. So, before 2003 you would have             5              WAGMDL00674280 - 00674280.)
    6   been an ISE?                                           6   BY MR. GADDY:
    7      A. I would have been, yes.                          7       Q. I'm going to represent to you,
    8      Q. How many ISEs are there at Walgreens?            8   Mr. Peterson, this is a letter from a law firm that
    9      A. In our -- somewhere --                           9   was representing Walgreens written to the DEA.
   10      MR. LEVINE: Objection to form.                     10           Do you know if you've ever seen this
   11   BY THE WITNESS:                                       11   letter before?
   12      A. I would have to estimate between 10 and         12       A. I have never seen this letter before.
   13   25. Back in that time I don't remember, so, the       13       Q. Okay. Do you see there is the name of a
   14   exact number.                                         14   firm up there on the top left-hand corner?
   15   BY MR. GADDY:                                         15       A. Yes.
   16      Q. So, and, again, I'm not holding you to          16       Q. Okay. And then if you look in the
   17   any number, but you would estimate in this time       17   address blocks there, do you see that this letter
   18   frame, early 2013, that there were approximately 10   18   is going to, in the top line, Lee Reeves and Scott
   19   to 25 ISEs?                                           19   Lawson and it says, "Office of the Chief Counsel,
   20      A. Yes.                                            20   DEA."
   21      Q. All right. So, the first bullet point           21           Do you see that?
   22   says, "Perrysburg will make all the quantity          22       A. Yes, I see that in the document, yes.
   23   unavailable."                                         23       Q. Below that it looks like this letter is
   24           The second bullet point says, "ISE and        24   also going to Wayne Groves, Diversion Investigator

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    1   with the DEA.                                            1   September 2012 Order to Show Cause on the Jupiter
    2           Do you see that?                                 2   distribution center, correct?
    3       A. Yes.                                              3      MR. LEVINE: Objection; foundation.
    4       Q. Do you recall Mr. Groves' name as being           4   BY THE WITNESS:
    5   the one that the subpoenas were issued to and a          5      A. It appears about that long, yes.
    6   warranty was issued to? And if you don't, you can        6   BY MR. GADDY:
    7   flip back and look at them.                              7      Q. And if you flip to the second page of
    8       A. Yeah, his name appears on those, yes.             8   this letter, there is a paragraph in the middle of
    9       Q. Okay. And do you see that this letter             9   the page that's a little bit thicker than the other
   10   is written regarding the Walgreens Perrysburg, Ohio     10   two.
   11   distribution center.                                    11           Do you see that?
   12           Do you see that? That's the re line?            12      A. Yes.
   13       A. Yes.                                             13      Q. It says, "Walgreens is committed to
   14       Q. Okay. And, again, if we look at the              14   compliance. We are not aware of any ongoing
   15   date up there, this is February 20, 2013, so,           15   compliance issue at the Perrysburg facility, and
   16   again, within a couple weeks after Walgreens            16   would take the necessary steps to immediately
   17   Perrysburg distribution center had received that        17   remedy any of the alleged non-compliance that you
   18   warrant and those subpoenas from the DEA, correct?      18   can identify. In order to facilitate further
   19       MR. LEVINE: Objection; lacks foundation.            19   discussions on these issues with DEA and to ensure
   20   BY THE WITNESS:                                         20   that Walgreens' ongoing pharmacy operations are not
   21       A. It appears to be, yes.                           21   disrupted, Walgreens has decided to voluntarily
   22   BY MR. GADDY:                                           22   discontinue distribution of controlled substances
   23       Q. Okay. And this is also, if you recall            23   from the Perrysburg facility."
   24   back to the -- to the thick document that we looked     24           Do you see that?

                                                    Page 99                                                      Page 101
    1   at this morning.                                         1      A. Yes, I see that in the document.
    2       A. Yeah.                                             2      Q. Do you recall being informed by anybody
    3       Q. You recall that that Order to Show Cause          3   at Walgreens that due to these subpoenas and
    4   that we went through a little bit was served on          4   warrants that Walgreens was taking the step to
    5   Walgreens at the Jupiter distribution center in          5   voluntarily discontinue the distribution of
    6   September of 2012, right?                                6   controlled substances?
    7       MR. LEVINE: Objection; lacks foundation.             7      A. No, I am not aware.
    8   You're asking him if he recalls or if he can read        8      Q. Okay. And there were only three
    9   it?                                                      9   Walgreens distribution centers that shipped
   10       MR. GADDY: I'm asking if he recalls from            10   controlled substances, right?
   11   looking at the document earlier today.                  11      A. True.
   12       MR. LEVINE: Same objection.                         12      Q. And we've already seen that Jupiter was
   13   BY THE WITNESS:                                         13   being investigated by the DEA, right?
   14       A. From the document we looked at? I think          14      A. Yes, the one document earlier today
   15   it was about Jupiter, yes.                              15   showed that.
   16   BY MR. GADDY:                                           16      Q. Right. And you had been involved in --
   17       Q. Okay. And that was approximately                 17   from the documents we looked at, you were actually
   18   September 2012, right?                                  18   involved with shutting down or shutting off six
   19       MR. LEVINE: Same objection; foundation.             19   separate Walgreens stores related to that Jupiter
   20   BY THE WITNESS:                                         20   investigation, right?
   21       A. I think so, yes.                                 21      A. It appears based on the document that,
   22   BY MR. GADDY:                                           22   yes, we had something to do with those six stores,
   23       Q. Okay. And, so, this February 20 letter           23   yes.
   24   would be approximately five months after that           24      Q. And we've also seen that you were

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    1   involved in some Perrysburg meetings after they       1   of the "To" line there on that original e-mail from
    2   were served with subpoenas with an understanding      2   Vinayak, Doug Peterson is listed and that's you,
    3   that the DEA was investigating the Perrysburg         3   right?
    4   distribution center as well, correct?                 4       A. Yes, that is me.
    5       A. Yes, based on the e-mails that you are         5       Q. Okay. And it looks like it's a -- it
    6   showing me, yes.                                      6   looks like maybe it's the same e-mail we just
    7       Q. So, the only distribution center that          7   looked at with just a response to it, but you see
    8   Walgreens has left that's not under investigation     8   in that first heading is "C2," and it indicates
    9   at this point would be the Woodland, California       9   "Perrysburg will continue to pick what they had
   10   distribution center, right?                          10   until the DEA comes and shuts them down." Correct?
   11       A. It appears that way, yes.                     11       A. Yes. That was in the other e-mail, yes.
   12       Q. Regardless, at this point in time, at         12       Q. Okay. It looks like -- and I think that
   13   least the attorneys for Walgreens are indicating     13   that first e-mail we looked at was from 2/18. This
   14   that Walgreens is going to stop distributing         14   e-mail is from 2/20, right?
   15   controlled substances from Perrysburg?               15       A. Yes.
   16       A. Was that a question? I'm sorry.               16       Q. Okay. And it looks like below that
   17       Q. No. I'm sorry. Maybe it wasn't.               17   there is an update. It says, "Updates 2/20."
   18           At least at this point in time,              18           Do you see that?
   19   according to this February 20 letter, February 20,   19       A. Yes, I do.
   20   2013, Walgreens has indicated to the DEA that they   20       Q. Okay. So, it looks like Vinayak has
   21   are going to stop distributing out of Perrysburg,    21   re-sent his first e-mail. It looks like it's to a
   22   correct?                                             22   smaller audience, and he's inserted some updates.
   23       MR. LEVINE: Objection; lacks foundation.         23           Do you see that?
   24   BY THE WITNESS:                                      24       A. Yes, I see the updates.

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    1       A. I'm -- I can't really answer that. I           1      Q. Okay. Even though it's a smaller
    2   don't know that for sure.                             2   audience, he still included you in this e-mail
    3   BY MR. GADDY:                                         3   regarding the Perrysburg distribution center,
    4       Q. Okay. Is that what the attorneys for           4   correct?
    5   Walgreens wrote in this letter to the DEA?            5      A. That is correct.
    6       MR. LEVINE: Objection; foundation.                6      Q. Under the updates, the first one says,
    7   BY THE WITNESS:                                       7   "Bill Groth confirmed Perrysburg will stop shipping
    8       A. I don't know anything about it. But if         8   C-IIs on March 1."
    9   I read the -- the letter, it appears to be that       9          Do you see that?
   10   way.                                                 10      A. Yes, I see that.
   11   BY MR. GADDY:                                        11      Q. Do you know who Bill Groth is?
   12       Q. I'm going to show you what I'm going to       12      A. No, I do not recall.
   13   mark as Peterson No. 9.                              13      Q. For the next line, it says, "The DC,"
   14             (WHEREUPON, a certain document was         14   the distribution center, "has roughly 30 million in
   15              marked as Walgreens-Peterson              15   C-II inventory which should be down to minimal
   16              Exhibit No. 9: 2/20/13 e-mail             16   dollars by next Friday."
   17              string; WAGMDL00357519 - 00357521.)       17          Do you see that?
   18   BY MR. GADDY:                                        18      A. Yes.
   19       Q. And we can start at the bottom of the         19      Q. So, if we look back up at the time of
   20   first page. Again, we're with this e-mail from       20   this e-mail, this was sent on a Wednesday,
   21   Vinayak.                                             21   February 20.
   22           Do you see that?                             22          Do you see that, in the sent line?
   23       A. Yes, I see that.                              23      A. It says the 20th. I don't see
   24       Q. And, again, do you see on the first line      24   Wednesday, but...

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    1       Q. Right under Vinayak's name.                        1   talked about David yet. Do you know who David
    2       A. Mind just says the 20th. If that was a             2   Reiter is?
    3   Wednesday, I can't disagree with you, but I don't         3       A. I don't recall who he is, no.
    4   remember back then.                                       4       Q. He says, "Vinayak, who do we get
    5       Q. No, no. Right here.                                5   together to talk about the transfer of remaining
    6       A. Where are you talking?                             6   Perrysburg product to Woodland? I'm guessing we're
    7       Q. I think it says it.                                7   going to have around 8 to $10 million in C-II
    8       A. Oh, on this one. I'm looking at the                8   inventory on 3/14/13."
    9   wrong one. I apologize.                                   9          Do you see that?
   10       Q. Sure. No problem.                                 10       A. Yes.
   11       A. Yes, it says Wednesday.                           11       Q. And 3/4/13 would be after the date that
   12       Q. Okay.                                             12   we saw below that Bill Goth said -- excuse me --
   13       A. I forgot I got to look in that. Sorry.            13   that Bill Groth said Perrysburg would stop shipping
   14       Q. Yeah, no problem.                                 14   C-IIs, correct?
   15           Okay. Let's go back to the bullet point          15       A. Yes.
   16   at the bottom of the page, it says, "The DC has          16       Q. And we know at this point that,
   17   roughly $30 million in C-II inventory which should       17   according to that last letter we looked at, that
   18   be down to minimal dollars by next Friday."              18   Walgreens attorneys have already represented to the
   19           Right?                                           19   DEA that they are going to stop distributing out of
   20       A. That's what the document says, yes.               20   Perrysburg. Do you recall that?
   21       Q. What does that mean to you?                       21       MR. LEVINE: Objection; lacks foundation.
   22       A. That means that the distribution                  22   BY THE WITNESS:
   23   centers, the operation team is working on getting        23       A. I don't remember that, no. I'd have to
   24   the inventory down.                                      24   look at the document again.

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    1      Q. How would the distribution center get               1   BY MR. GADDY:
    2   inventory down?                                           2      Q. You can look at it again.
    3      A. I'm not sure how they would have                    3      A. Yes. The document does say that.
    4   intended to do that.                                      4      Q. Okay. And, so, what we're seeing from
    5      Q. Do you have an understanding whether or             5   David Reiter here in the middle of the page is that
    6   not it would be common back in February of 2012 for       6   on 3/4, which is a couple days after Bill Groth
    7   the Perrysburg distribution center to go through          7   says Perrysburg is going to stop shipping, that
    8   $30 million worth of C-II inventory in a week and a       8   Perrysburg is still going to have 8 to $10 million
    9   half?                                                     9   in C-II inventory there in the warehouse, correct?
   10      MR. LEVINE: Objection.                                10      A. That's what the document says, yes.
   11   BY THE WITNESS:                                          11      Q. It goes on to say, "We never got to the
   12      A. No.                                                12   point of transferring product out of Jupiter. It
   13      MR. LEVINE: Lacks foundation.                         13   has never been attempted, only prepared for."
   14   BY THE WITNESS:                                          14           Do you see that?
   15      A. No, I have no idea at all.                         15      A. Yes.
   16   BY MR. GADDY:                                            16      Q. It says, "It is still locked in the
   17      Q. Okay. If you go up to the middle of the            17   vault."
   18   page, there is a response to this e-mail from            18           Do you see that?
   19   Vinayak from David Reiter, correct?                      19      A. Yes.
   20           Do you see that in the middle of the             20      Q. Did you have an understanding that when
   21   page?                                                    21   the DEA came in to Jupiter during their
   22      A. That's from David Reiter to Vinayak?               22   investigation there that they locked up the
   23   Yes.                                                     23   controlled substances that were in the Jupiter
   24      Q. Do you know who -- I don't think we've             24   distribution center so that Walgreens could not

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    1   access them?                                           1      Q. Outside of the e-mails that we looked at
    2       A. I was not aware of that, no.                    2   earlier where you were asked to assist with making
    3       Q. Do you still have this document?                3   sure that certain Walgreens stores were no longer
    4       A. Yeah, it's right here.                          4   able to order controlled substances, do you recall
    5       Q. Can you turn for me, again, looking at          5   you or your team or anybody else in the supply and
    6   these numbers on the bottom right-hand corner of       6   logistics chain at Walgreens being asked to take
    7   the page, should be page 34 out of 343.                7   any actions as it relates to the Florida stores
    8       A. Okay.                                           8   regarding controlled substances?
    9       Q. Are you with me?                                9      MR. LEVINE: Objection; lacks foundation as to
   10       A. Yep.                                           10   others.
   11       Q. And this is -- you can flip backwards          11   BY THE WITNESS:
   12   and look for yourself if you want to, but I'll        12      A. No, I do not remember.
   13   represent to you this is the same document we were    13   BY MR. GADDY:
   14   going through earlier that had the chart that we      14      Q. Did anybody at Walgreens tell you that
   15   talked -- that we looked through.                     15   the DEA was making allegations against Walgreens,
   16          Do you recall that?                            16   and specifically the Walgreens Jupiter distribution
   17       A. Yes.                                           17   center, that their registration and their ability
   18       Q. Okay. The chart that showed the                18   to distribute controlled substances constituted an
   19   increase of oxycodone purchases by dosage units       19   imminent danger to the public health and safety?
   20   over time?                                            20      A. No.
   21       A. Yes, I saw that chart.                         21      Q. If we go down to the next paragraph, it
   22       Q. Okay. And you recognize that this is           22   starts "Pursuant." Do you see where I am?
   23   the same document from the DEA?                       23      A. Yes.
   24       A. Yes.                                           24      Q. It says, "Pursuant to certain statutes,

                                                 Page 111                                                          Page 113
    1      Q. Okay. So, if we go to page 34 of 343,            1   the special agents and diversion investigators of
    2   the top paragraph, top full paragraph starts, "In      2   the DEA who serve this Order to Show Cause and
    3   view of the foregoing."                                3   Immediate Suspension of Registration are authorized
    4          Do you see that?                                4   to place under seal or to remove for safekeeping
    5      A. Yes.                                             5   all controlled substances that Walgreens
    6      Q. It says, "In view of the foregoing, and          6   possesses."
    7   based on information before the Agency as of the       7          Do you see that?
    8   issuance of this notice, it is my preliminary          8       A. Yes, I see that.
    9   finding" pursuant to certain statutes "that            9       Q. And if we go back to that e-mail that we
   10   Walgreens' continued registration is inconsistent     10   were on just a second ago, which was Peterson
   11   with the public interest."                            11   No. 9, P-WAG-2022, in the middle of the page of
   12          Do you see that?                               12   Mr. Reiter's e-mail, you see where he said, "We
   13      A. Yes, I see that in the document.                13   never got to the point of transferring product out
   14      Q. It goes on to say that "Under the               14   of Jupiter. It has never been attempted, only
   15   summarized facts and circumstances described          15   prepared for. It is still locked in the vault."
   16   herein, it is also my preliminary finding,            16          Do you see that?
   17   significantly in light of the rampant and deadly      17       A. Yes, I see that in the document.
   18   problem of prescription controlled substance abuse    18       Q. And after looking at this Order to Show
   19   in Florida, that Respondent's continued               19   Cause from the Jupiter investigation, do you see
   20   registration while these proceedings are pending      20   where that -- the DEA was authorized to place those
   21   constitutes an imminent danger to the public health   21   drugs under seal?
   22   and safety."                                          22       MR. LEVINE: Objection; lacks foundation.
   23          Do you see that?                               23   BY THE WITNESS:
   24      A. I see that in the document, yes.                24       A. I'm not sure if I really understand

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    1   that. So...                                            1   BY THE WITNESS:
    2       Q. Okay.                                           2       A. No, I am not aware of that.
    3       A. From this.                                      3   BY MR. GADDY:
    4       Q. You saw where it said what we just read         4       Q. I'm going to show you what I'm going to
    5   where the DEA investigators were authorized to         5   mark as Peterson 10. This is P-WAG-2024.
    6   place under seal or remove from safekeeping all        6             (WHEREUPON, a certain document was
    7   controlled substances that Walgreens had in its        7              marked as Walgreens-Peterson
    8   possession?                                            8              Exhibit No. 10: 2/21/13 e-mail
    9       A. I can read that in the document, yes.           9              string; WAGMDL00357543 - 00357548.)
   10       Q. Okay. Do you recall -- let's go back           10   BY MR. GADDY:
   11   to -- stay on the same e-mail and go up to the top,   11       Q. And if you flip to the second-to-last
   12   top e-mail in that chain.                             12   page of that e-mail, it ends 547 in the bottom
   13           Are you with me?                              13   right-hand corner.
   14       A. Yes.                                           14       A. Yes.
   15       Q. And it looks like Vinayak responds to          15       Q. And do you see we're still working off,
   16   Mr. Reiter, still on February 20, 2013, and he        16   if you go to the bottom of the page, we're still
   17   copies you, correct?                                  17   working off this original e-mail chain that started
   18       A. Yes.                                           18   with Vinayak.
   19       Q. Among other folks?                             19          Do you see that?
   20       A. Yes.                                           20       A. Yes, I do.
   21       Q. And he says, "Doug, can you please set         21       Q. And you still see there under "C2" or
   22   up a quick call with David and others. He wants to    22   the heading "C2" it says, "Perrysburg will continue
   23   get this figured out. Please also invite Brian and    23   to pick what they can until the DEA comes and shuts
   24   Dave."                                                24   them down."

                                                 Page 115                                                     Page 117
    1           Do you see that?                               1          Correct?
    2       A. Yes, I do.                                      2       A. That's what the document says, yes.
    3       Q. Now that we have looked at this                 3       Q. And then we see the same 2/20 update
    4   document, do you recall that you were asked to         4   that we went over just a second ago about the
    5   assist and help implement a plan to help get drugs,    5   intention that Perrysburg will stop shipping
    6   controlled substances I should say, out of the         6   starting March 1, correct?
    7   Perrysburg distribution center so that they could      7       A. Yes, that's what it says.
    8   not be locked up by the DEA?                           8       Q. And if we go up one e-mail, we see an
    9       A. I don't recall the meeting, but it              9   e-mail from it looks like Jeff Irwin.
   10   appears that I was to set one up, yes.                10          Do you see that?
   11       Q. And from the e-mail, you could see that        11       A. Yes, I do.
   12   at least David Reiter was estimating that there was   12       Q. And Jeff says, "Steve, Justin and
   13   going to be 8 to $10 million in controlled            13   Vinayak - any idea on the value of the C-III to C-V
   14   substances still in the Perrysburg distribution       14   items going to Mount Vernon?" It says, "As of
   15   center after this date of 3/1 that Walgreens wanted   15   right now, our initial plan is to have Perrysburg
   16   to stop shipping out of that distribution center,     16   load up one of the empty Putnam trailers with this
   17   correct?                                              17   product and have Putnam pick it up tomorrow."
   18       A. Yes, that's what it says in the e-mail.        18          Do you see that?
   19       Q. And did you ever come to have an               19       A. Yes, I do.
   20   understanding that that was a high priority for       20       Q. Is this consistent with your
   21   Walgreens to get those drugs out of the               21   understanding, now that we have looked at several
   22   distribution center before the DEA put a padlock on   22   of these documents, that Walgreens was making a
   23   the vault?                                            23   concerted effort to get controlled substances out
   24       MR. LEVINE: Objection; lacks foundation.          24   of the Perrysburg distribution center before the

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    1   DEA came in and shut them down?                       1      Q. Do those acronyms mean anything to you?
    2      A. Based on these e-mail, it appears               2      A. It's full case and split case.
    3   they're trying to get rid of their C-III through      3      Q. Okay. What's the difference?
    4   C-V. Move that out.                                   4      A. We will pick -- split case, we pick
    5      Q. If you go up one e-mail in the chain, it        5   individual pieces and send it to the store. A full
    6   looks like Vinayak loops you in.                      6   case is a case of, as an example, a case of 12, so
    7           Do you see that?                              7   you got 12 bottles of something. So, that's a
    8      A. Yes, he did.                                    8   case. The bottle itself is a split case piece.
    9      Q. And he says, "Doug, can we have someone         9      Q. Okay. What I'm -- when you describe
   10   pull the value of the inventory at Perrysburg."      10   that, what I'm seeing in my head is a cardboard box
   11   Correct?                                             11   with maybe cellophane wrapped around it and there
   12      A. That's what the e-mail says, yes.              12   is maybe 12 bottles inside of it of any particular
   13      Q. At this point in time, February 20 of          13   drug.
   14   2013, you're an IT manager, right?                   14          Am I --
   15      A. Yes.                                           15      A. That would be a full case.
   16      Q. So, you had a team of at least several         16      Q. Okay. And, so, if there was a full case
   17   folks that were beneath you that you could hand      17   needed, that entire box wrapped in cellophane with
   18   this assignment off to?                              18   the 12 bottles in there would be shipped to the
   19      A. Yes, there was.                                19   store?
   20      Q. Okay. If you turn the page and look at         20      A. If that's what they ordered, yes.
   21   the bottom, do you see that you -- it looks like     21      Q. Okay. And a split case would mean you
   22   you reach out to David Nelson?                       22   cut open the cellophane and pull out maybe one or
   23      A. Yes.                                           23   two bottles to send to the store?
   24      Q. And you say, "Dave, I think you can help       24      A. Yes, that is correct.
                                                Page 119                                                           Page 121
    1   Vinayak with this information here. Can you get       1       Q. Gotcha. So, what we're seeing here for
    2   the dollar value of the remaining Schedule III        2   this C-III to C-V value is counting up not only all
    3   through V product in Perrysburg and can you send      3   the big cardboard boxes wrapped in cellophane with
    4   the information to Vinayak and Jeff."                 4   all the bottles in it but also the ones that are
    5          Do you see that?                               5   just portion -- portions of what was originally in
    6      A. Yes, I do see that in the document.             6   there?
    7      Q. Okay. And there is a couple pages of            7       A. Yes.
    8   back-and-forth, and I'll represent to you that it     8       Q. So, what is being reported here is that
    9   looks like maybe Dave was asking for clarification    9   the value of the Schedule III to V drugs still on
   10   on exactly what you wanted, but ultimately we're     10   hand was $1.08 million.
   11   going to get his answer on the first page of the     11           Do you see that?
   12   e-mail if you want to go up to that.                 12       A. That is what the document says, yes.
   13          And do you see that in the middle of the      13       Q. And it looks like the value of the
   14   page you have an e-mail from Vinayak, and it goes    14   controlled substances, Schedule IIs, for full case
   15   to Dave Nelson and also to you, correct?             15   was at $14-1/2 million, correct?
   16      A. Yes. That is correct.                          16       A. That's what the document says, yes.
   17      Q. And this is on February 21 of 2013,            17       Q. And then the control IIs split case, so
   18   correct?                                             18   that would mean the ones where there was only
   19      A. Yes.                                           19   portions of what was originally in the box, was
   20      Q. It says, "Just so we are all on the same       20   $404,000?
   21   page. The schedule 3-5 inventory value is" -- it     21       A. Yes, that's what the document says.
   22   says FC and SC.                                      22       Q. And, again, from your memory and from
   23          Do you see that?                              23   reviewing these documents because this was several
   24      A. Yes.                                           24   years ago, your understanding is one of the items

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                                                Page 122                                                   Page 124
    1   or one of the solutions or tasks that you were --     1   BY MR. GADDY:
    2   helped to implement was to get this inventory out     2       Q. And do you see this is another e-mail
    3   of the Perrysburg distribution center before the      3   chain?
    4   DEA came in and shut them down?                       4       A. Yes.
    5       MR. LEVINE: Objection; vague.                     5       Q. And if you would, Mr. Peterson, turn for
    6   BY THE WITNESS:                                       6   me again to the second-to-last page, it ends 461,
    7       A. According to the documents, that's what        7   and in the middle of the page we are going to see
    8   it looks like we were trying to do, yes.              8   what looks to be kind of that original string or
    9   BY MR. GADDY:                                         9   original e-mail that we have been seeing from
   10       Q. I'm going to show you -- let me ask you       10   Vinayak. Do you see where I am?
   11   this.                                                11       A. Yes, I do.
   12           You've mentioned a time or two before        12       Q. Okay. And it looks like this, as
   13   that some orders of controlled substances would be   13   opposed to being an e-mail, is more of a meeting
   14   filled by what you refer to as jobbers, right?       14   invite.
   15       A. Yes.                                          15           Do you see that?
   16       Q. And that would be outside vendors such        16           It says, "When: 8:00 to 8:30 a.m.,
   17   as other wholesale distributors?                     17   February 27, 2013."
   18       A. Yes.                                          18       A. Yes, it appears that way, yes.
   19       Q. In this 2012, early 2013 time frame, do       19       Q. Okay. And then it looks like it's got
   20   you recall that Cardinal Health was one of the       20   a -- the subject again is the Perrysburg
   21   jobbers that Walgreens utilized to fill -- to        21   distribution center, and the location it looks like
   22   sometimes fill orders of controlled substances?      22   it's maybe got a conference call number and dial-in
   23       A. No, I don't remember if they were or          23   information?
   24   were not.                                            24       A. Yes. It says Perrysburg C-III to IV.
                                                Page 123                                                   Page 125
    1      Q. Are you familiar with Cardinal Health?          1   And, yes, that's a dial-in number for a conference
    2      A. I have heard of the company, yes.               2   call.
    3      Q. Are you familiar with them ever serving         3       Q. Do you recall participating in any --
    4   as a jobber for Walgreens' controlled substances?     4   any meetings or conference calls regarding this
    5      A. I don't exactly remember, but I think           5   Perrysburg issue that we have been looking at for
    6   that was one of them.                                 6   the last 30 minutes or so?
    7      Q. Okay. Do you have an understanding of           7       A. I don't recall the -- no, I don't recall
    8   who the primary supplier or wholesaler of             8   any meetings other than what you've shown me so
    9   controlled substances for Walgreens is currently?     9   far.
   10      A. We get our Rx from ABC.                        10       Q. Okay. And if we continue to look at
   11      Q. AmerisourceBergen?                             11   this, again, we see it looks to be the same chain,
   12      A. Yes. Sorry.                                    12   but under C-II it says, "Perrysburg will continue
   13      Q. No. That's fine.                               13   to pick what they can get until the DEA comes and
   14          But you believe that Cardinal Health was      14   shuts them down."
   15   another vendor that you utilized at least at some    15           Do you see that?
   16   point in time?                                       16       A. I see that in the document.
   17      A. I think I recall them at one point in          17       Q. And we also see below that the 2/20
   18   time a while ago.                                    18   update, that Perrysburg will stop shipping
   19      Q. Okay. I'm going to show you what I've          19   Schedule II controlled substances on March 1,
   20   marked as Peterson 11.                               20   correct?
   21             (WHEREUPON, a certain document was         21           It's the third -- it looks like it's the
   22              marked as Walgreens-Peterson              22   fourth bullet point under C-II.
   23              Exhibit No. 11: 2/26/13 e-mail            23       A. Yes. I see it.
   24              string; WAGMDL00358459 - 00358462.)       24       Q. Now, above this, and you have to go --

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                                                 Page 126                                                      Page 128
    1   you have to flip the page to see who the e-mail is    1       A. That's what I remember.
    2   from, but you see there is an e-mail from Vinayak     2       Q. Did you ever have to interact with Deb
    3   on February 26?                                       3   as part of your duties?
    4      A. Yes.                                            4       A. If there was an issue at the
    5      Q. Okay. And if you flip the page, at the          5   distribution center from a program perspective,
    6   top we see the "To" line, correct?                    6   yes, I would have dealt with her.
    7      A. Yes.                                            7       Q. Do you recall Deb Bish ever asking you
    8      Q. And about the fourth or fifth name in is        8   to implement or design any programs or solutions to
    9   you, correct, Doug Peterson?                          9   any issues related to Schedule II controlled
   10      A. That is correct.                               10   substances?
   11      Q. Also next to you is Sue Thoss who was          11       A. No, I do not remember that.
   12   the one who had originally given you the heads-up    12       Q. Okay. Now, we see here in the body of
   13   about the subpoenas?                                 13   this e-mail from Vinayak, he says, "FYI: Slight
   14      A. Yes.                                           14   change in plans."
   15      Q. On the next line we see John Merritello,       15           Do you see where I am?
   16   correct?                                             16       A. Yes.
   17      A. Yes.                                           17       Q. He says, "Cardinal has red flagged 367
   18      Q. Next to him is Rob Varno. Do you know          18   stores that were serviced out of Perrysburg and
   19   who Rob Varno is?                                    19   won't be able to service them. Due to this change
   20      A. He used to work in our distribution            20   there was a decision made that Perrysburg will
   21   centers.                                             21   continue to pick Schedule IIs past March 1."
   22      Q. Okay. Do you remember him being -- do          22           Do you see that?
   23   you know what role he played there? Was he the       23       A. Yes, I see that in the document.
   24   supervisor of the distribution center?               24       Q. Do you recall getting this e-mail from

                                                 Page 127                                                     Page 129
    1       A. I believe, if my mind reminds me right,        1   Vinayak telling you and these other folks that we
    2   he was the manager of the distribution center in      2   just mentioned that Cardinal Health had red-flagged
    3   Jupiter.                                              3   367 Walgreens stores?
    4       Q. Manager. Okay. That was the -- would           4      A. I don't remember getting it, no.
    5   the manager be the top position of the person, the    5      Q. As you sit here today do you have an
    6   top person in the distribution center?                6   understanding of what that means, that Cardinal
    7       A. Yes.                                           7   Health had red-flagged 367 Walgreens stores?
    8       Q. Okay. Was he at the Perrysburg                 8      A. I believe it would mean they don't want
    9   distribution center as far as you remember?           9   those stores, but I'm not sure.
   10       A. No, I remember him at Jupiter.                10      Q. Okay. Well, what it says is that they
   11       Q. If you go to the next line down, at the       11   had red-flagged 367 stores that were serviced out
   12   end of the line you see Denny Murray is invited or   12   of Perrysburg, right?
   13   included on this e-mail chain, correct?              13      A. Yes.
   14       A. Yes.                                          14      Q. And does that mean to you that these
   15       Q. And if you go down to the, it looks           15   were stores that typically had been sent stores --
   16   like, second-to-last line, we see Deborah Bish is    16   excuse me -- sent controlled substances out of that
   17   included here?                                       17   Perrysburg distribution center?
   18       A. Yes.                                          18      A. These are stores that we would have sent
   19       Q. Do you know who Deborah Bish is?              19   to Cardinal any orders that we couldn't fulfill
   20       A. Yes, I do know her.                           20   from the Perrysburg distribution center.
   21       Q. Okay. And what was her role?                  21      Q. Okay. Well, we know from these e-mails
   22       A. From what I remember, she was the head        22   that we've looked at that the distribution center,
   23   of the C-II facility at Perrysburg I believe.        23   Perrysburg distribution center, was intending to
   24       Q. Okay.                                         24   stop shipping C-IIs as of March 1, right?

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                                                   Page 130                                                 Page 132
    1      A. Yes. That's been stated, yes.                    1      MR. LEVINE: Objection; form.
    2      Q. Okay. And, so, what it looks like is             2   BY THE WITNESS:
    3   that Cardinal Health has now red-flagged 367 stores    3      A. I'm not sure what she is asking for.
    4   that previously had been serviced by Perrysburg,       4   BY MR. GADDY:
    5   correct?                                               5      Q. Well, the original plan had been for --
    6      A. That's what it's saying in the e-mail,           6   you see this e-mail is February 26, right?
    7   yes.                                                   7      A. Yes.
    8      Q. Okay. And it says it won't be able to            8      Q. The original plan had been for no more
    9   service them, correct?                                 9   C-IIs to go out of that Perrysburg distribution
   10      A. Yes, that's what the e-mail says.               10   center in five days, on 3/1, right?
   11      Q. Do you know why Cardinal Health wouldn't        11      A. Yes. That was the plan from that
   12   service those 367 Walgreens stores?                   12   document, yes.
   13      MS. PETERSEN: Objection; foundation.               13      Q. Okay. But now in this February 26
   14             (Clarification requested by the             14   e-mail from Vinayak, the one just below it, they
   15              reporter.)                                 15   just found out that Cardinal Health had red-flagged
   16      MS. PETERSEN: Miranda Petersen.                    16   367 of the Walgreens stores, right?
   17      MR. LEVINE: Objection; foundation.                 17      A. Yes. That was the previous e-mail.
   18   BY THE WITNESS:                                       18      Q. And so now Perrysburg or Walgreens has
   19      A. I have no idea why they would be                19   made the decision that Perrysburg won't stop
   20   red-flagged.                                          20   shipping on March 1st, but will instead continue to
   21   BY MR. GADDY:                                         21   ship controlled substances after that date?
   22      Q. On the next sentence it says, "Due to           22      MR. LEVINE: Objection; lacks foundation.
   23   this change there was a decision made that            23   BY MR. GADDY:
   24   Perrysburg will continue to pick Schedule II drugs    24      Q. Correct?
                                                  Page 131                                                  Page 133
    1 past March 1st."                                         1       A. Only from what I read in the e-mail that
    2           Do you see that?                               2   I remember anything, yes.
    3      A. I see that in the e-mail, yes.                   3       Q. Of course and that's why I gave you the
    4      Q. If you go to the next e-mail in the              4   document, Mr. Peterson.
    5   chain, do you see that Deb Bish sends an e-mail to     5       A. Yes.
    6   Vinayak?                                               6       Q. Because I understand this was about five
    7      A. Yes, I do.                                       7   or six years ago.
    8      Q. And she says, "With the update, please           8           Okay. So, you see here Deb Bish is
    9   provide the volume of the 367 stores so we can         9   asking the volume for these 367 stores.
   10   determine how many TMs," meaning team members?        10           Do you see that?
   11      A. TM would be team members, yes.                  11       A. Yes, I see that.
   12      Q. She says, "With the update, please              12       Q. And does that mean, do you understand
   13   provide the volume of the 367 stores so we can        13   that to mean that she's asking how many controlled
   14   determine how many team members we need to keep in    14   substances go to these stores so that she can
   15   Schedule II past Friday."                             15   determine her staffing needs in the C-II facility?
   16           Do you see that?                              16       A. I would have to guess that's what she is
   17      A. Yes, I see that.                                17   looking for is the volume of the store orders.
   18      Q. And based on what you just told us that         18       Q. Okay.
   19   Deb Bish was the manager or the supervisor of the     19       A. For those stores, yes.
   20   controlled substances section within the              20       Q. And if you go to the next e-mail in the
   21   distribution center, does this make sense that        21   chain, you see an e-mail from Vinayak to you with
   22   she's reaching out trying to figure out how many      22   Deb copied, correct?
   23   folks she might need on her team to continue to       23       A. Yes.
   24   service these 367 red-flagged stores?                 24       Q. And same day, February 26?

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    1      A. Yes.                                               1     A.   Based on this, yes.
    2      Q. And Vinayak writes, "Doug, can you                 2     Q.   Sitting here today before we look at any
    3   please have someone pull this information."              3 more documents, do you recall whether or not you
    4           Do you see that?                                 4 discovered the volume of controlled substances
    5      A. Yes, I see that in the e-mail.                     5 going to those 367 red-flagged stores that Cardinal
    6      Q. And Vinayak goes on to say, "Deb, one              6 Health wouldn't distribute to?
    7   thing we don't know at this time is whether you are      7     A. I don't remember.
    8   picking all stores or just the ones that are             8     MR. LEVINE: A good time for a break soon?
    9   potential red flags."                                    9     MR. GADDY: Sure.
   10           Do you see that?                                10     THE VIDEOGRAPHER: We are going off the record
   11      A. I see that in the e-mail, yes.                    11 at 11:25.
   12      Q. Okay. Do you understand that, A, that             12             (WHEREUPON, a recess was had
   13   Vinayak has asked you to look into the volume of        13              from 11:25 to 11:43 a.m.)
   14   controlled substances that go to those 367              14     THE VIDEOGRAPHER: We're back on the record at
   15   red-flagged stores?                                     15 11:43.
   16      A. Based on this e-mail, yes, I understand           16 BY MR. GADDY:
   17   that's what he is asking me.                            17     Q.   Mr. Peterson, before we took a break, we
   18      Q. Okay. And based on this e-mail, do you            18 were talking a little bit about the stores that
   19   understand that Vinayak is telling Deb that while       19 Cardinal Health had red-flagged.
   20   he knows Perrysburg is going to be servicing and        20          Do you remember that?
   21   picking the red-flagged stores, he doesn't know if      21      A. Yes.
   22   there is going to be any others?                        22      Q. When I say that they had red-flagged
   23      A. That is what the e-mail says, yes.                23   those stores, what does that mean to you?
   24      Q. Okay. And you respond up at the top of            24      A. It would mean that they don't want to

                                                     Page 135                                                       Page 137
    1   the page that "As soon as we know what stores are        1   ship to those stores.
    2   staying at the Perrysburg distribution center, we        2      Q. They don't want to ship what to those
    3   can provide the information. We probably won't           3   stores?
    4   know the stores until Wednesday afternoon."              4      A. Orders.
    5          Do you see that?                                  5      Q. Orders of what?
    6      A. Yes, I do.                                         6      A. C-II product.
    7      Q. Looking at this e-mail, does this jog              7      Q. Controlled substances?
    8   your memory about you being involved with helping        8      A. Yes.
    9   to determine the volume of controlled substances         9      Q. Do you have an understanding of why or
   10   that was going to these 367 Walgreens stores that       10   what criteria was used by Cardinal Health to red
   11   Cardinal Health had red-flagged and said that they      11   flag those 367 stores?
   12   would not ship controlled substances to?                12      MR. LEVINE: Objection; lacks foundation.
   13      A. Based on this e-mail, I have a -- I               13      MS. PETERSEN: Objection; form and foundation.
   14   don't remember it, but I understand what they are       14   BY THE WITNESS:
   15   asking for.                                             15      A. No, I have no idea why.
   16      Q. Okay. And based on this e-mail you see            16   BY MR. GADDY:
   17   that you were involved --                               17      Q. Did anybody at Walgreens or, by that
   18      A. Yes.                                              18   matter, anybody at Cardinal Health ever explain to
   19      Q. -- in looking into the volume -- no               19   you the criteria that was utilized to red-flag
   20   problem.                                                20   those 367 stores?
   21          You understand that you were involved in         21      A. No. As I state, I only -- I mean, I
   22   looking into the volume of controlled substances        22   just -- I write programs.
   23   that went to these 367 Walgreens stores that had        23      Q. You were asked to help with some
   24   been red-flagged by Cardinal?                           24   solutions or gather some information --

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                                                 Page 138                                                      Page 140
    1      A. Yes.                                             1      Q. And you see in the body of the e-mail,
    2      Q. -- about these 367 stores, but would             2   Lisa writes, "Hi everyone, in addition, please see
    3   that -- your understanding is that was the extent      3   the table below which outlines the four colors that
    4   of what you were asked to do with it?                  4   we have identified on the attachment."
    5      A. I was just asked to stop them.                   5           Do you see that?
    6      Q. I'm going to show you what's been marked         6      A. Yes.
    7   as Peterson 12. This is P-WAG-1373.                    7      Q. Then do you see that there is a chart
    8              (WHEREUPON, a certain document was          8   that takes up the bulk of the rest of this page?
    9               marked as Walgreens-Peterson               9      A. Yes.
   10               Exhibit No. 12: 2/22/13 e-mail            10      Q. Do you see in the left-hand column is
   11               string; WAGMDL00049750 - 00049751.)       11   the designation that was assigned?
   12   BY MR. GADDY:                                         12      A. Yes. I see that.
   13      Q. And this is an e-mail, if you look at           13      Q. And then to the right of that there
   14   the top of the first page of this document, you see   14   would be a summary of the designation, a status as
   15   this is an e-mail from a Lisa Penn with a Cardinal    15   of March 4 and any threshold limits that Cardinal
   16   Health e-mail address?                                16   Health was placing on any orders of controlled
   17      A. Yes, I see that.                                17   substances.
   18      Q. And you see that this e-mail is written         18           Do you see that?
   19   February 22, 2013, correct?                           19      A. Yes, I do.
   20      A. Yes.                                            20      Q. And then over to the right it says that
   21      Q. And this -- you recall from the other           21   the -- it lists a column for the follow-up required
   22   documents we have been looking at this is all in      22   and the number of stores.
   23   the same general timeline when you and the other      23           Do you see that?
   24   folks at Walgreens are having these meetings about    24      A. Yes.
                                                 Page 139                                                        Page 141
    1 the Perrysburg plan?                                     1       Q. And the first designation that's listed
    2      A. Yes.                                             2   is red, correct?
    3      Q. And this e-mail from Ms. Penn at                 3       A. Yes.
    4   Cardinal Health was sent to, it looks like,            4       Q. And if you look under "Summary of
    5   Denman -- Denny Murray who we've seen on several       5   Designation," it says, "Stores that do not pass the
    6   other e-mails today from Walgreens.                    6   objective assessment and have monthly average
    7          Do you see that?                                7   purchases of oxycodone above 5,000 or hydrocodone
    8      A. Yes.                                             8   above 10,000."
    9      Q. It was also sent to Tasha Polster at             9           Do you see that?
   10   Walgreens?                                            10       A. Yes.
   11      A. Yes.                                            11       Q. And from looking at this document in
   12      Q. And do you know who -- we've talked             12   combination with some of the other ones that we
   13   about Denny. Do you know who Tasha Polster is?        13   have looked at this morning, do you understand that
   14      A. No, I do not.                                   14   to mean that stores that had objectively high
   15      Q. If we go down a couple lines, do you see        15   purchases of either oxycodone or hydrocodone were
   16   this e-mail was also sent to Mike Bleser at           16   flagged red by Cardinal Health?
   17   Walgreens?                                            17       MR. LEVINE: Objection; lacks foundation.
   18      A. Yes.                                            18   BY THE WITNESS:
   19      Q. Do you know who Mike is?                        19       A. No, I have no knowledge of that.
   20      A. No, I do not.                                   20   BY MR. GADDY:
   21      Q. And it was also sent to Chris Dymon and         21       Q. Okay. Do you see that as of March 4 it
   22   Patty Daugherty at Walgreens. Do you know who they    22   indicated that "No narcotic analgesic shipments and
   23   are?                                                  23   all non-narcotic analgesic products will be shipped
   24      A. No, I do not.                                   24   up to the threshold limit"?

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                                                                           Review
                                                 Page 142                                                   Page 144
    1          Do you see that?                               1       Q. You write in this e-mail, you said, "I
    2       A. Yes.                                           2   had a meeting with Denny and John this morning to
    3       Q. Do you understand that to mean they are        3   discuss not sending certain items to Cardinal for
    4   not going to ship controlled substances to those      4   the 367 plus red-flagged stores."
    5   stores?                                               5           Do you see that?
    6       MR. LEVINE: Objection; lacks foundation.          6       A. Yes.
    7   BY THE WITNESS:                                       7       Q. So you're talking about not sending
    8       A. I'm not sure what that means.                  8   items to Cardinal Health, correct?
    9   BY MR. GADDY:                                         9       A. Yes.
   10       Q. If you look under the threshold limit,        10       Q. And that would make sense based on the
   11   do you see that for these red stores, it sets the    11   documents that we looked at this morning that
   12   opioid threshold limit at one and the threshold      12   Cardinal Health has said that they would not ship
   13   limit setting methodology applied for non-narcotic   13   controlled substances to those stores, right?
   14   analgesic drug families?                             14       A. Yes.
   15          Do you see that?                              15       Q. Wouldn't make any sense to send the
   16       A. Yes.                                          16   orders to them if they are not going to fill the
   17       Q. Do you understand that to mean that           17   orders, right?
   18   Cardinal Health was setting the threshold limit at   18       A. True.
   19   a single dosage unit for these red-flagged stores?   19       Q. It goes on to say, "In regards to the
   20       MR. LEVINE: Objection; foundation.               20   C-II items, John is going to provide us a list of
   21       MS. PETERSEN: Objection.                         21   stores and items that should not be sent to a
   22   BY THE WITNESS:                                      22   Cardinal distribution center. Dave Nelson is in
   23       A. I don't understand it, no.                    23   the process of changing our system to read the
   24   BY MR. GADDY:                                        24   file. If a match is found, the system will not
                                                 Page 143                                                   Page 145
    1       Q. I'm going to show you what I'm going to        1   write a record to the jobber file. Instead an
    2   mark as Peterson 13. This is P-WAG-2060.              2   insufficient will be sent to the store. We are
    3             (WHEREUPON, a certain document was          3   confident this will be done coding and testing the
    4              marked as Walgreens-Peterson               4   changes by Saturday."
    5              Exhibit No. 13: 2/28/13 e-mail             5          Do you see that?
    6              string; WAGMDL00524815 - 00524817.)        6      A. Yes.
    7   BY MR. GADDY:                                         7      Q. And would it be fair to characterize
    8       Q. And, again, you see that -- you                8   that what you're summarizing here in this e-mail is
    9   recognize this to be another e-mail chain?            9   a solution that you and your team is implementing
   10       A. Yes.                                          10   to prevent orders of C-IIs to going to a Cardinal
   11       Q. And if we turn to the very last page of       11   Health distribution center because they have
   12   the document, we see this chain starts with an       12   indicated they would not fill those orders?
   13   e-mail from you, correct?                            13      A. Yes.
   14       A. Yes.                                          14      Q. Is this type of implementation of a
   15       Q. And you sent this e-mail on February 28,      15   solution typical of the type of general task that
   16   2013?                                                16   you and your IT team perform for folks within the
   17       A. Yes.                                          17   business side?
   18       Q. And, again, you recognize that to be in       18      A. Yes. They would ask us to do something,
   19   the same general time frame that we have been        19   and we would write the code and the programs to --
   20   talking about as it relates to these meetings that   20   to accommodate that request.
   21   you were involved in revolving around the plan for   21      Q. Okay. You told us and you've made clear
   22   Perrysburg after the DEA came in and served them     22   that you get your directions from the business
   23   with a warrant and subpoenas, correct?               23   side. Is there anybody particular on the business
   24       A. Yes.                                          24   side that you, you or your team, typically gets

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    1   their direction from?                                  1   e-mail from you to Dave Nelson. Right?
    2      MR. LEVINE: Objection; overbroad as to time.        2       A. Yes.
    3   BY THE WITNESS:                                        3       Q. And at the time was Dave Nelson on your
    4      A. No, there is no one in particular.               4   team?
    5   There is wide variety of business users.               5       A. Yes.
    6   BY MR. GADDY:                                          6       Q. Is he still on your team?
    7      Q. I know you told us earlier that Brian            7       A. No.
    8   Amend I think was your supervisor, correct?            8       Q. Is he still with the company?
    9      A. Yes.                                             9       A. No.
   10      Q. Is he the type of person that gives you         10       Q. Do you know where he is?
   11   solutions or programs to implement or is it not him   11       A. No.
   12   as an IT person but people from the business side     12       Q. And you tell Dave in the e-mail, "Here
   13   that give you those programs to implement?            13   is an Excel document that contains the stores and
   14      A. It would be from the business side.             14   items that should not go to Cardinal."
   15      Q. Okay. That includes people you                  15          Do you see that?
   16   reference here, John and Denny. That would be         16       A. Yes.
   17   Denny Thompson and John Merritello?                   17       Q. So, do you understand that not only were
   18      A. Yes, they are from the business side,           18   you given a list of these 367 red-flagged stores,
   19   yes.                                                  19   but you were also given a list of products or items
   20      Q. And those are examples of types of              20   that could not go to Cardinal Health?
   21   people that would from time to time give you          21       A. Yes.
   22   projects or solutions to implement, correct?          22       Q. It says, "If we have the product in our
   23      A. One of many of the users we would deal          23   DC," in our distribution center, "it is okay to
   24   with, yes.                                            24   pick. We just do not want to send them to
                                                  Page 147                                                   Page 149
    1       Q. Fair to -- if you had to give me a rough        1   Cardinal."
    2   estimate, not a number I'm going to hold you to,       2          Do you see that?
    3   but a rough estimate, of number of people on the       3       A. Yes, I do.
    4   business side that over your time as a manager, so     4       Q. And does that indicate to you that even
    5   just going back to 2013 -- 2003, that would have       5   though these items won't be filled by Cardinal
    6   asked you for or assigned you projects or asked you    6   Health, if you had those items within the
    7   to implement solutions, can you give me an             7   Perrysburg distribution center, that Perrysburg had
    8   approximate number of folks from the business side     8   the green light to continue to fill these orders
    9   that have asked you to do that?                        9   back to the pharmacies?
   10       A. Say 50, 60 different people.                   10       A. Yes.
   11       Q. So, a lot of folks?                            11       Q. You go on to say, "We just do not want
   12       A. Yes.                                           12   to send them to Cardinal." Correct?
   13       Q. Okay. If you turn the page and look at         13       A. We are to prevent them from going to
   14   the next e-mail in the chain, it looks like you       14   Cardinal.
   15   then sent this e-mail to Denny and John and said,     15       Q. Because Cardinal wouldn't fill the
   16   "Whoops, sorry, this should have gone to you as       16   orders?
   17   well as the other folks"?                             17       A. I don't know exactly why Cardinal didn't
   18       A. Yes. If I mention their name, I                18   want them. Just know we weren't supposed to send
   19   normally include them on the e-mails. And it looks    19   them there.
   20   like I forgot.                                        20       Q. Okay. Well, we saw from the earlier
   21       Q. Sure. Just an oversight?                       21   e-mails that Cardinal was refusing to fill orders
   22       A. Yep.                                           22   to those red-flagged stores, right?
   23       Q. Okay. Let's go to the first page of the        23       A. Yes. But at the time this was, I had no
   24   e-mail. And at the bottom of the page we see an       24   knowledge of that.

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                                                   Page 150                                                      Page 152
    1       Q. Well, you were included in these e-mails          1   be prevented from going to Cardinal Health because
    2   and you were included in routing these orders away       2   they weren't allowed to distribute them to their
    3   from Cardinal into the Perrysburg's distribution         3   stores?
    4   center, right?                                           4        A. I had no knowledge of that. So...
    5       A. Yes.                                              5        Q. Do you know how many controlled
    6       Q. If you see Dave's response to you just            6   substance items or product lines were included or
    7   above, he says, "So each store should be combined        7   were available to be shipped to Walgreens stores?
    8   with each item? Meaning 300 times 500 equals             8        A. I don't remember, no.
    9   150,000 records. Is that correct?"                       9        Q. From Dave's e-mail, we can discern that
   10       A. Yes.                                             10   it's either approximately 300 or approximately 500.
   11       Q. Okay. Do you understand what he is               11   Is that fair?
   12   saying there?                                           12        A. That would be fair.
   13       A. We are going to have a file that will            13        Q. And the number that we've seen as far as
   14   have 15 -- 150,000 records on there of stores and       14   red-flagged stores I think is 376, correct?
   15   items that we will compare every order against.         15        A. Yes.
   16       Q. Okay. So, one of these multipliers of 3          16        Q. And according to your e-mail at the top
   17   or 500, one of those numbers relates to -- again,       17   of the page, you were at least a little bit
   18   these are approximates I'm sure. But one of these       18   surprised that there were so many items that
   19   relates to the number of red-flagged stores and one     19   couldn't be shipped to these certain Walgreens
   20   of these would relate to the number of items that       20   stores, is that correct?
   21   are restricted from going to Cardinal Health. Is        21        A. I was surprised at the number of them,
   22   that correct? Do I understand that right?               22   yes.
   23       A. Yes.                                             23        Q. I'm going to show you what we are going
   24       Q. You then respond at the top of the               24   to mark as Peterson 14. It's P-WAG-2040.

                                                     Page 151                                                       Page 153
    1   page and say, "Yes, I did not realize that there         1             (WHEREUPON, a certain document was
    2   were so many items that we could not ship to these       2              marked as Walgreens-Peterson
    3   stores, from a jobber."                                  3              Exhibit No. 14: 2/28/13 e-mail
    4           Correct?                                         4              string; WAGMDL00407724 - 00407726.)
    5       A. Yes.                                              5   BY MR. GADDY:
    6       Q. And the jobber you're talking about               6      Q. And if we go back to the middle page,
    7   there is Cardinal Health?                                7   which is actually the last e-mail or the first
    8       A. Yes.                                              8   e-mail in the chain, it looks like we see the same
    9       Q. And you ask, "Is that going to be a               9   e-mail that we just started out with, correct?
   10   problem?"                                               10      A. Yes.
   11       A. Yes, I did ask that.                             11      Q. This is the e-mail where you were
   12       Q. What were you worried about?                     12   meeting with Denny and John and finding out a way
   13       A. Just file sizes.                                 13   and developing or implementing a solution to make
   14       Q. Okay.                                            14   sure that these controlled substances were not sent
   15       A. Do we have enough space, enough...               15   to Cardinal for the 367 red-flagged stores,
   16       Q. When you looked down at this rough               16   correct?
   17   equation in the e-mail below from Dave, the 300         17      A. Yes.
   18   times 500, do you have an understanding as to which     18      Q. And if you go up, you see again the
   19   of those two numbers represents the number of items     19   e-mail where you reforwarded it to Denny and John
   20   and which of those represents the number of stores?     20   because they weren't copied originally, right?
   21       A. No, I do not.                                    21      A. Yes.
   22       Q. Would it surprise you to know that there         22      Q. Okay. And then if you go up to the
   23   were only -- that there were about approximately        23   e-mail above that, it looks like Denny forwarded
   24   500 separate controlled substance items that had to     24   this e-mail to Tasha Polster, Rex Swords and Mike

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    1   Bleser.                                                  1   stores did not have any of their orders go to
    2           Do you see that?                                 2   Cardinal Health, right?
    3       A. Yes.                                              3       A. Yes.
    4       Q. And I believe you already told me you             4       Q. And Denny's response here in the first
    5   didn't -- you don't know who Tasha Polster is,           5   line is "Huge news." Correct?
    6   right?                                                   6       A. Yes.
    7       A. That is correct.                                  7       Q. It says, "Brainstorming with Doug has
    8       MR. GADDY: And I'm actually on the next              8   allowed us to find a way to send C-IIs to Cardinal
    9   e-mail down, Roderrick.                                  9   while blocking those items that would flag our red
   10   BY MR. GADDY:                                           10   stores to the DEA."
   11       Q. Remind me. I think you also told me you          11           Do you see that?
   12   don't know Mike Bleser?                                 12       A. Yes.
   13       A. No, I do not recall him.                         13       Q. During the time that you were asked to
   14       Q. What about Rex Swords?                           14   implement this -- this program or this solution, do
   15       A. No, I do not recall him either.                  15   you recall anybody at Walgreens, whether it was
   16       Q. Do you remember hearing Rex's name at            16   Denny or John or anybody else, telling you that the
   17   all or knowing who he was even if you didn't have a     17   purpose of this implementation was to prevent items
   18   personal relationship with him?                         18   from going to stores that would flag those stores
   19       A. I don't remember, no.                            19   to the DEA?
   20       Q. Okay. The only person you know on this           20       A. No, I have no knowledge of that.
   21   e-mail here is Denny Murray?                            21       Q. It goes on to say, "This means that red
   22       A. Yes.                                             22   stores will be able to order Cardinal only C-IIs
   23       Q. Do you have any understanding that -- if         23   and ISNs for all non-narcotic analgesics."
   24   I was to represent to you that Tasha Polster is the     24           Do you see that?

                                                     Page 155                                                   Page 157
    1   head of the Pharmaceutical Integrity unit and the        1      A. Yes.
    2   head of the Pharmacovigilance Department within          2      Q. What does "ISNs" means?
    3   Walgreens, does that mean anything to you?               3      A. Insufficient notices.
    4       A. No.                                               4      Q. What does that mean?
    5       Q. Are you aware of that department?                 5      A. Means we will not be able to fulfill
    6       A. No.                                               6   your store order. It goes back to the store so
    7       Q. Have you ever heard of the Rx Integrity           7   that they know they are not getting it.
    8   team or the Rx Integrity unit?                           8      Q. Okay. So, let me tell you what I
    9       A. No.                                               9   understand that to mean and you tell me if I'm
   10       Q. Have you ever heard of the                       10   right or wrong.
   11   pharmacovigilance team or the pharmacovigilance         11          Does that mean that you are going to set
   12   unit within Walgreens?                                  12   up a system to where if one of those stores tries
   13       A. No.                                              13   to order these controlled substances from Cardinal,
   14       Q. Do you know what the term                        14   they would get an error type message?
   15   "pharmacovigilance" means?                              15      A. No. We are not setting up -- our
   16       A. No.                                              16   current system has it where if we don't fulfill the
   17       Q. If I represented to you that Rex Swords          17   order, we respond back to the store that you're not
   18   is an executive over pharmacy operations, does that     18   getting this order from the DC.
   19   ring any bells with you?                                19      Q. Then he goes on to say, "The problem
   20       A. No.                                              20   with C35s." You understand that to mean
   21       Q. So, if we recall, the original e-mail in         21   Schedule III through Vs?
   22   this chain, you were indicating that you'd met with     22      A. Yes.
   23   John and Denny and that you were coming up with a       23      Q. "The problem with C35s still remains.
   24   solution to make sure that these 367 red-flagged        24   The DC cannot separate narcotic analgesic orders

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    1   going to Cardinal. That process resides in the             1   correct?
    2   store's system as an all-or-none feature."                 2      A. From what I read in the e-mails, yes. I
    3           Do you see that?                                   3   don't recall them from back then.
    4       A. Yes.                                                4      Q. Okay. Do you recall as you sit here
    5       Q. What does that mean to you?                         5   today also dealing with stores that Cardinal Health
    6       A. I'm not really sure what that means.                6   had red-flagged, meaning refused to distribute
    7       Q. The only workaround that you were able              7   controlled substances to, that were typically
    8   to set up as it relates to these 367 red-flagged           8   serviced by the Woodland distribution center?
    9   stores related to the Schedule II controlled               9      A. I do not recall any of that, no.
   10   substances, correct?                                      10      Q. Okay. I'm going to show you what I'm
   11       A. Yes.                                               11   going to mark as Peterson 15. P-WAG-2033.
   12       Q. You weren't able to develop any type of            12              (WHEREUPON, a certain document was
   13   workaround to allow the red-flagged stores to             13               marked as Walgreens-Peterson
   14   continue ordering Schedules III through V, correct?       14               Exhibit No. 15: 4/9/13 e-mail
   15       A. Correct.                                           15               sting; WAGMDL00358578 - 00358580.)
   16       Q. Now, at this point in time when -- that            16   BY MR. GADDY:
   17   was February 2013, correct?                               17      Q. And do you recognize this document again
   18       A. Yes. Yes.                                          18   as a -- as another e-mail chain?
   19       Q. And you recall we've looked at the                 19      A. Yes.
   20   documents from earlier, particularly the thick            20      Q. And it looks like in the first e-mail,
   21   document with the Order to Show Cause in it, that         21   that would be the last one in the chain that we'll
   22   it indicated that the controlled substances at            22   get to in a minute, it looks like it was ultimately
   23   Jupiter had been locked up back in September of the       23   from you, correct, the first page?
   24   previous year, of 2012.                                   24      A. Oh, the first page? Yes, that is my
                                                       Page 159                                                 Page 161
    1           Do you recall that?                                1   name.
    2      MR. LEVINE: Objection; lacks foundation.                2       Q. So, this is another e-mail chain,
    3   BY THE WITNESS:                                            3   whether or not you're in the first one we are going
    4      A. I don't recall that, no.                             4   to look at, ultimately you were involved in this
    5   BY MR. GADDY:                                              5   e-mail correspondence, correct?
    6      Q. Okay. Well, regardless, we saw in these              6       A. Yes.
    7   e-mails that we just looked at in early 2013 that          7       Q. So, if you flip the page, do you see a,
    8   Walgreens was in the process of stopping to ship           8   starting in about halfway down the page, an e-mail
    9   Schedule II controlled substances from the                 9   from Lisa Penn at Cardinal Health?
   10   Perrysburg distribution center, correct?                  10       A. Yes.
   11      A. We were asked to write code to stop                 11       Q. And the date of this e-mail is April 9,
   12   some.                                                     12   2013, correct?
   13      Q. And you saw in the meeting notes where              13       A. Yes, it is.
   14   the plan was to ship Schedule II controlled               14       Q. And, so, this is a month or two after
   15   substances from Perrysburg until the DEA came in          15   these last e-mails we were looking at where you
   16   and shut them down. Do you recall that?                   16   were developing a workaround for the red-flagged
   17      A. I recall the e-mail, but I don't recall             17   stores out of Perrysburg, right?
   18   back from then.                                           18       A. Yes.
   19      Q. I understand. And what we just looked               19       Q. And this e-mail goes to Denny Murray and
   20   at was some correspondence from Cardinal Health and       20   also Tasha Polster?
   21   then some projects that you were involved with            21       A. Yes.
   22   where Cardinal Health had red-flagged several             22       Q. And the subject is "Walgreens Woodland
   23   stores, Walgreens stores, that were typically             23   Data - Red Stores."
   24   serviced by the Perrysburg distribution center,           24          Do you see that?

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    1      A. Yes, I do.                                       1          Do you see that?
    2      Q. It goes on to say, "Denny and Tasha, we          2      A. Yes.
    3   completed our analysis of the Woodland store data      3      Q. Do you understand that to mean that
    4   and I have attached the results. We applied the        4   Cardinal Health is now refusing to ship controlled
    5   same analytical framework to these stores as we did    5   substances to those 190 stores?
    6   for the Perrysburg stores. Below are the totals in     6      A. I'm not really sure if that's what that
    7   terms of how the classifications were made."           7   means or not.
    8          Do you see that?                                8      Q. Well, when we looked at the stores that
    9      A. Yes.                                             9   were red-flagged in Perrysburg, you understood that
   10      Q. And then below that do you that there is        10   Cardinal Health was not going to distribute them
   11   a chart that Lisa from Cardinal Health has included   11   controlled substances and therefore you had to come
   12   which identifies which classifications were           12   up with a workaround, right?
   13   assigned to how many different Walgreens stores?      13      A. For Perrysburg, correct.
   14      A. Yes, I see the chart.                           14      Q. He goes on to say, "I will need you
   15      Q. And how many stores does Lisa indicate          15   gentlemen to put in place the same restrictions we
   16   were classified as red?                               16   had for the 225 Perrysburg stores that blocked C-II
   17      A. 190.                                            17   orders and PFL/OOS for the C-II through V narcotic
   18      Q. Okay. And what percentages -- what              18   analgesics."
   19   percentage of the stores serviced by the Woodland     19          Do you see that?
   20   distribution center did that encapsulate?             20      A. Yes, I see that.
   21      A. 12.29.                                          21      Q. First, when we see narcotic analgesics,
   22      Q. And from the earlier documents that             22   C-II through V narcotic analgesics, do you
   23   we've looked at, do you understand that to mean       23   understand that to mean Schedule II through V
   24   that Cardinal Health is indicating that they have,    24   controlled substances?

                                                 Page 163                                                        Page 165
    1   on objective measures only, flagged 190 Walgreens      1      A. I'd say C-II through V, yes.
    2   stores as red and therefore will not ship              2      Q. So, do you understand that Denny -- let
    3   controlled substances to them?                         3   me ask you this. This e-mail is from five and a
    4       MS. PETERSEN: Objection; foundation.               4   half years ago, right?
    5   BY THE WITNESS:                                        5      A. Yes, it is.
    6       A. I'm -- no, I have no recollection of            6      Q. As you sit here today, do you recall
    7   that. No.                                              7   getting this e-mail from Denny asking you to
    8   BY MR. GADDY:                                          8   develop a workaround for Woodland like you had for
    9       Q. Well, let's keep reading.                       9   Perrysburg?
   10           The next e-mail looks like it comes from      10      A. No, I do not remember that.
   11   Denny Murray. The next e-mail in the chain. If        11      Q. But do you understand from looking at
   12   you flip to the first page.                           12   this document that that's what he was asking you to
   13       A. Yes, I see that.                               13   do?
   14       Q. And that e-mail goes to you, John              14      A. Yes.
   15   Merritello and Steve Bamberg, correct?                15      Q. Okay. And so then you respond in the
   16       A. Yes.                                           16   top e-mail and you say, "I just want to verify:
   17       Q. And it looks like he's forwarded that          17   We're using same list of products" -- excuse me --
   18   first e-mail to you that had the number of red,       18   "same list of items from Perrysburg." Correct?
   19   orange, yellow and green stores on it, correct?       19      A. Yes.
   20       A. Yes.                                           20      Q. And that would be either that 300 or 500
   21       Q. And he writes here, "Cardinal is now           21   number that we saw in Dave's formula where he was
   22   restricting the distribution of C-II through V        22   doing number of stores multiplied by number of
   23   narcotic analgesics for 190 stores out of Woodland    23   items?
   24   starting Friday, April 12."                           24      A. One of those, yes.

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    1      Q. Okay. And "The Woodland distribution                1      A. Yes.
    2   center will still pick the product if it has              2      Q. And if you look up at the "To" line for
    3   quantity."                                                3   this meeting, it looks like Vinayak is the first
    4           Do you see that?                                  4   one in the list, and we've seen several, he has
    5      A. Yes.                                                5   been involved in a lot of these communications,
    6      Q. And do you understand that to mean that,            6   correct?
    7   just like in Perrysburg, even though Cardinal             7      A. Yes.
    8   Health is refusing to distribute controlled               8      Q. And then over on the right-hand side of
    9   substances to these Walgreens stores, you're asking       9   that top line, we see Denny Murray who we've seen
   10   whether or not the Woodland distribution center          10   over and over, correct?
   11   will continue to still distribute to those stores        11      A. Yes.
   12   just like it did in Perrysburg?                          12      Q. And then at the end of the third line
   13      A. Yes, I'm asking if Woodland DC would               13   down we see you, Doug Peterson, correct?
   14   distribute that, this product.                           14      A. Yes.
   15      Q. And that is how it worked in Perrysburg,           15      Q. So, you also received the invitation to
   16   right?                                                   16   this conference call meeting?
   17      A. Yes.                                               17      A. Yes.
   18      Q. And you go on to say, "This should not             18      Q. And if you go down at the bottom of the
   19   be a problem from the distribution center side,"         19   page where we start to see some of the updates, we
   20   correct?                                                 20   see the updates for March 1, correct?
   21      A. Yes.                                               21      A. Yes.
   22      Q. So, you agree that in addition to                  22      Q. And do you recall that the original plan
   23   Cardinal Health identifying red-flagged stores at        23   had been that Perrysburg would stop distributing by
   24   the Perrysburg -- that came out of the Perrysburg        24   March 1?
                                                      Page 167                                                 Page 169
    1   distribution center, they also identified                 1       A. I don't recall at -- when this was, but
    2   red-flagged stores that came out of the Woodland          2   from the e-mails I do, yes.
    3   distribution center, correct?                             3       Q. Okay. And, so, but this is the
    4       A. I don't remember that, but based on the            4   March 1st update and what it says is, "Perrysburg
    5   e-mails, yes.                                             5   will continue to serve the 367 red-flagged stores
    6       Q. I want to show you what we are going to            6   until April 1," right?
    7   mark as Peterson 16. This is going to be                  7       A. Yes.
    8   P-WAG-2016.                                               8       Q. And the next bullet point says, "Jobber
    9             (WHEREUPON, a certain document was              9   list for redirects."
   10              marked as Walgreens-Peterson                  10           Do you see that?
   11              Exhibit No. 16: 2/27/13                       11       A. Yes.
   12              appointment e-mail; WAGMDL00335835            12       Q. It says, "ABC warehouse in New Jersey is
   13              - 00335837.)                                  13   closing - Logistics needs an updated address for
   14   BY MR. GADDY:                                            14   the correct facility to print on the 222 forms."
   15       Q. And if we look at -- we can start just            15           Do you see that?
   16   on the first page here. And it looks like this is,       16       A. Yes.
   17   if you go down to the subject line, this seems to        17       Q. And you understand the 222 forms to be
   18   be the same kind of continuing meeting or e-mail         18   the forms that the stores or the pharmacies have to
   19   chain that we've looked at a couple times. The           19   fill out to order controlled substances?
   20   subject is Perrysburg C-III through V follow-up.         20       A. Yes, I know that.
   21          Do you see that?                                  21       Q. If you go to the next page and look at
   22       A. Yes.                                              22   the top of the page, you see it says, "New stores:
   23       Q. And it looks like it's got a conference           23   What would be the plan to assign C-II DCs to the
   24   call number there?                                       24   new stores after 3/1 when Perrysburg will be down

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    1   to servicing only the 367 stores?"                         1      A. Okay.
    2           Do you see that?                                   2      Q. And it says, "Denny/Doug to determine
    3       A. Yes.                                                3   what we need to do to process orders for these
    4       Q. So, is it clear to you from looking at              4   stores to account for the order redirects
    5   this document that memorializes some of the events         5   properly."
    6   leading up to this call that was being scheduled is        6           Do you see that?
    7   that as of March 1st it looks like Perrysburg was          7      A. Yes.
    8   going to be distributing controlled substances only        8      Q. You understand that to be talking about
    9   to those 367 red-flagged stores that Cardinal              9   you?
   10   Health would not distribute to, correct?                  10      A. Yes. That's me.
   11       A. Based on the e-mail, yes.                          11      Q. And what they are talking about here,
   12       Q. And if you look down -- the next heading           12   would this be the solution that you ultimately were
   13   that you see in bold, it says, "Previous Updates."        13   able to implement to prevent those 367 stores from
   14   Right?                                                    14   submitting controlled substance orders to Cardinal
   15       A. Yes.                                               15   Health?
   16       Q. And then if you -- you look at the first           16      A. Yes.
   17   one, it's the one that we've seen several times           17      Q. Then it says, "Redirects to Cardinal
   18   under "C2," "Perrysburg will continue to pick what        18   need to be stopped as Cardinal is not filling
   19   they can until the DEA comes and shuts them down."        19   orders as they are considered suspicious."
   20           Do you see that?                                  20           Do you see that?
   21       A. Yes.                                               21      A. I see that.
   22       Q. And it looks like Vinayak essentially              22      Q. And this is consistent with your
   23   just kept a running list so that folks could kind         23   understanding and what we've seen in some of these
   24   of continue to see what had happened and what had         24   documents earlier today that Cardinal Health was

                                                     Page 171                                                      Page 173
    1   changed over time.                                         1   refusing to provide controlled substances to those
    2           Do you see that?                                   2   367 stores, correct?
    3      A. Yes, I see.                                          3      MR. LEVINE: Objection; lacks foundation.
    4      Q. And if we go down that page, do you see              4   BY THE WITNESS:
    5   there is a section that says, "Updates 2/27"?              5      A. I'm not 100% sure, no.
    6      A. Yes.                                                 6   BY MR. GADDY:
    7      Q. And does that indicate to you that these             7      Q. Well, let's read what it says. It says,
    8   were the updates that were made to this plan as of         8   "Redirects to Cardinal need to be stopped."
    9   February 27?                                               9           Right?
   10      A. Yes.                                                10      A. That's what the document says, yes.
   11      Q. And in the first bullet point there it              11      Q. And it says, "As Cardinal is not
   12   says, "Continue to service potentially red-flagged        12   fulfilling orders as they are considered
   13   stores."                                                  13   suspicious."
   14           Do you see that?                                  14           Correct?
   15      A. Yes, I do.                                          15      A. That is correct.
   16      Q. And it says, "The Rx purchasing team is             16      Q. Despite that determination or decision
   17   working on the stores. The plan is to send the            17   by Cardinal Health, Walgreens continued to supply
   18   store list to the 367 stores to the distribution          18   those stores with controlled substances out of
   19   center by EOD," which I assume means end of day,          19   their Perrysburg distribution center, correct?
   20   correct?                                                  20      MR. LEVINE: Objection to form, foundation.
   21      A. That's what it says, yes.                           21   BY THE WITNESS:
   22      Q. If you skip down a couple of bullet                 22      A. I would have no knowledge of that.
   23   points, there is then an asterisk that starts             23   BY MR. GADDY:
   24   "367 potentially red flag stores."                        24      Q. Okay. Well, go back up to the -- go to

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    1   the first page and look at the bottom of the             1   Perrysburg."
    2   page under "Updates 3/1."                                2          Do you see that?
    3       A. Okay.                                             3       A. Yes.
    4       Q. What does it say there? What's the                4       Q. And it looks like what Vinayak is asking
    5   first bullet point say?                                  5   for here is two separate lists. The first would be
    6       A. "Perrysburg will continue to serve 367            6   "C-II jobbers that we need to update on Perrysburg
    7   red-flagged stores until 4/1."                           7   so the orders would redirect correctly to them."
    8       Q. From looking at this document and --              8          Do you see that?
    9   that you were copied on and invited to the meeting       9       A. Yes.
   10   and were asked to implement some solutions related      10       Q. Does that indicate to you that Vinayak
   11   to working around orders going to Cardinal, do you      11   is asking for a list of potential vendors for
   12   understand that despite Cardinal Health indicating      12   Perrysburg?
   13   that they would not full these orders as they are       13       A. Yes.
   14   considered suspicious, Walgreens and specifically       14       Q. And they're also -- Vinayak is also
   15   the Perrysburg distribution center would continue       15   asking a list for the red-flagged stores for
   16   to serve those 367 red-flagged stores?                  16   Perrysburg so that we can pull the volume numbers
   17       MR. LEVINE: Objection to form, foundation.          17   for the distribution center so they can plan their
   18   BY THE WITNESS:                                         18   labor and we'd also need to update our programs to
   19       A. I would not know that. All I know is             19   figure out how to handle these store orders.
   20   the programs that I was asked to write into code.       20          Correct?
   21   BY MR. GADDY:                                           21       A. Yes, that's what it says.
   22       Q. When you look at this on the document,           22       Q. And these red-flagged stores are the
   23   is that your understanding?                             23   ones that Cardinal has considered suspicious but
   24       MR. LEVINE: Objection to form, foundation.          24   the ones that Perrysburg is going to continue to
                                                    Page 175                                                  Page 177
    1   BY THE WITNESS:                                          1   supply controlled substances to, correct?
    2        A. I only know we were asked to stop the            2       MR. LEVINE: Objection; lacks foundation,
    3   programs -- write programs to stop these stores. I       3   form.
    4   can't --                                                 4   BY THE WITNESS:
    5   BY MR. GADDY:                                            5       A. I'm -- I'm not sure from this e-mail.
    6        Q. Mr. Peterson, I'm just asking you                6   BY MR. GADDY:
    7   whether or not the document indicates the                7       Q. Okay. At any of your time at Walgreens
    8   Perrysburg distribution center is going to continue      8   in the supply and logistics IT department, do you
    9   to serve those stores. Is that what it indicates?        9   recall having any involvement with thresholds as it
   10        A. Yes, it does indicate that.                     10   relates to controlled substances?
   11        Q. I'm going to show you what I will mark          11       A. No.
   12   as Peterson 17.                                         12       Q. Do you recall ever being asked by
   13             (WHEREUPON, a certain document was            13   anybody on the business side to set or develop
   14              marked as Walgreens-Peterson                 14   thresholds that relate to controlled substances?
   15              Exhibit No. 17: 2/28/13 e-mail;              15       A. No.
   16              WAGMDL00541412.)                             16       Q. When I say "thresholds on controlled
   17   BY MR. GADDY:                                           17   substances," does that mean anything to you?
   18        Q. This is a one-page e-mail, looks like           18       A. Some kind of limit.
   19   it's coming from Vinayak, and it's to Bill Groth        19       Q. But you would have no idea what that
   20   and Megan Butterfield and I see you on the cc line.     20   meant internally at Walgreens at it related --
   21           Do you see that?                                21       A. No, I would not know what that meant
   22        A. Yes.                                            22   from -- at Walgreens.
   23        Q. And the subject of this e-mail is "C-II         23       Q. I'll show you what I'll mark as Peterson
   24   jobber list and red flag store list for                 24   Exhibit No. 8.

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    1       MR. LEVINE: You mean 18.                              1      Q. Do you see if we look at the -- see if
    2       MR. GADDY: Yes, 18. Thank you.                        2   we look at the spreadsheet that it has what looks
    3             (WHEREUPON, a certain document was              3   like on the far left-hand column a DEA number and
    4              marked as Walgreens-Peterson                   4   then a store number and then a state?
    5              Exhibit No. 18: 3/13/13 e-mail                 5      MR. LEVINE: Objection; lacks foundation.
    6              string; WAGMDL00102642 - 00102644.)            6   BY THE WITNESS:
    7   BY MR. GADDY:                                             7      A. I see that, yes.
    8       Q. This is P-WAG-2089. And I'm just going             8      MR. GADDY: And Mr. Peterson and Mark, I'll
    9   to show you this real quick and see if this jogs          9   represent to you that this spreadsheet was a couple
   10   your memory about anything as it relates to              10   hundred pages. All that I have on here are the
   11   thresholds.                                              11   Ohio stores.
   12          If you look at the bottom of the page,            12      MR. LEVINE: Okay.
   13   we are going to see the start of the first e-mail.       13   BY MR. GADDY:
   14   Bottom of the first page you see it's an e-mail          14      Q. I'm sorry, Mr. Peterson. You saw where
   15   from Nicholas Rausch?                                    15   I was?
   16       A. Yes.                                              16      A. Yes.
   17       Q. Do you know who he is?                            17      Q. Okay. And then do you see as you go
   18       A. No, I do not.                                     18   across the top of the page there are the names of
   19       Q. And it looks like this e-mail goes to             19   different drug categories?
   20   Lisa Penn who we've seen a couple times now works        20      A. I see that, but I'm not familiar with
   21   for Cardinal Health, and the subject of the e-mail       21   this report.
   22   is "Walgreens Threshold Limits."                         22      Q. I understand. I just want to make sure
   23       A. Yes.                                              23   you see it and recognize it, and then I'm going to
   24       Q. If you turn to the next page, it says,            24   ask you a question or two. But I understand you
                                                    Page 179                                                    Page 181
    1   "Lisa, during one of the conference calls with            1   haven't seen this report before.
    2   Denny and Tasha last week, they had asked us to           2       A. I have no idea.
    3   send us a list of threshold limits for each store.        3       Q. If you look at the title "SOM," do you
    4   Attached is the threshold limits that we                  4   see right underneath the SOM there is the column
    5   implemented this past weekend for all Walgreens           5   for oxycodone?
    6   stores serviced from their Perrysburg distribution        6       A. Yes.
    7   center."                                                  7       Q. And we talked about oxycodone a little
    8          Do you see that?                                   8   bit earlier today and you have indicated today that
    9      A. Yes.                                                9   you're aware of what that is, correct?
   10      Q. It says, "I have included all C-II drug            10       A. I'm aware of the drug, yes.
   11   families and the threshold limit that is in our          11       Q. Okay. And do you see listed below
   12   system as of this morning. These values are              12   there, there are numbers, some of which are the
   13   dynamic and can change as we continue to evaluate        13   same but some of which are different that would
   14   the stores."                                             14   correspond to the different stores?
   15          Do you see that?                                  15       A. There's numbers, yes. I'm not sure what
   16      A. Yes.                                               16   they are but...
   17      Q. And if you flip the page, you'll see a             17       Q. During the course of your time in supply
   18   spreadsheet that is titled "Walgreens Perrysburg         18   and logistics at Walgreens, did anybody ever -- let
   19   SOM Limits."                                             19   me ask you this first.
   20          Do you see that?                                  20           Did you ever see any information or any
   21      A. Yes.                                               21   charts similar to this relating to line limits or
   22      Q. Does the acronym SOM mean anything to              22   thresholds or ceilings for Walgreens stores as it
   23   you?                                                     23   relates to amounts of or quantities of controlled
   24      A. No, it does not.                                   24   substances?

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    1      A. No, I have not.                                  1      Q. Okay. And I just want to get the date
    2      Q. And I think you've already told me that          2   before I moved on to the second document.
    3   you've never done anything with line limits or         3          Do you see it's September 13, 2012,
    4   controlled substance thresholds or ceilings.           4   right?
    5           But are you aware of anybody in the            5      A. Yes.
    6   IT department, whether it's the supply and             6      Q. I'm going to show you what I'm going to
    7   logistics chain or some other department within IT,    7   mark as Peterson 19. This is P-WAG-2013.
    8   are you aware of any person, manager, division,        8            (WHEREUPON, a certain document was
    9   team, that has been asked to do anything as it         9             marked as Walgreens-Peterson
   10   relates to thresholds or ceilings or line limits      10             Exhibit No. 19: 9/25/12 e-mail;
   11   for quantities of controlled substances being         11             WAGMDL00278104.)
   12   ordered by Walgreens stores?                          12   BY MR. GADDY:
   13      MR. LEVINE: Objection; lacks foundation.           13      Q. And do you see that this is an e-mail
   14   BY THE WITNESS:                                       14   from Denny Murray to several folks on which you
   15      A. No, I do not know of anybody I can -- I         15   were copied and that this was sent on September 25,
   16   mean, I just write the programs that are asked of     16   2012?
   17   me to write. So...                                    17      A. Yes.
   18   BY MR. GADDY:                                         18      Q. So, this would be approximately two
   19      Q. And nobody has ever asked you to write a        19   weeks after that Order to Show Cause that we just
   20   program such as this giving ceiling limits or         20   went back and looked at again, right?
   21   thresholds for controlled substance orders from       21      A. Yes.
   22   Walgreens stores?                                     22      Q. And the subject is "PDQ letter"?
   23      A. Nope.                                           23      A. Yes.
   24      Q. Do you have that -- this thick document         24      Q. Do you know what PDQ means?

                                                 Page 183                                                    Page 185
    1   still in front of you?                                 1      A. Pretty darn quick.
    2       A. Yes, it's here.                                 2      Q. Is that an acronym that's used within
    3       Q. I'm sorry. Do you have the exhibit              3   Walgreens relating to the format of an order from a
    4   number of that one? I have forgotten what it was.      4   pharmacy to the distribution center?
    5   I think it's 1 but...                                  5      A. It relates to a type of order that will
    6       A. It says Peterson 1, yes.                        6   be placed by the stores.
    7       Q. Thank you. If you could look at                 7      Q. Maybe this is presumptuous of me. Is it
    8   Peterson 1 for me, please, and flip -- if you          8   some type of emergency type order or an expedited
    9   recall the -- it's going to be page 23 of 343 at       9   order?
   10   the bottom right-hand corner.                         10      A. It's a -- it's considered an emergency
   11       A. 23 of 343, yes.                                11   order where to try and pick it and ship it within a
   12       Q. Are you with me?                               12   day to the store.
   13            What's the -- the date on this document      13      Q. Gotcha. It says here, "All, Mike Bleser
   14   is what?                                              14   asked me to craft a communication that will be sent
   15       A. September 13, 2012.                            15   to Suzanne, Dave and the other members of the
   16       Q. And you see this is the -- in the title        16   Control Substance Integrity Task Force (if that is
   17   on the page, this is the Order to Show Cause?         17   what it is called)."
   18       A. Yes. That's what it says, yes.                 18          Let me ask you that first. Have you
   19       MR. LEVINE: Objection; asked and answered.        19   ever heard of the Control Substance Integrity Task
   20   BY MR. GADDY:                                         20   Force?
   21       Q. And you recall that this is the document       21      A. No, I have not.
   22   that we looked at that related to the investigation   22      Q. Does that mean anything to you?
   23   of the Jupiter distribution center, right?            23      A. No, it means nothing.
   24       A. Yes.                                           24      Q. It says, "to tell them about Sue and

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    1   Doug's new process. I wanted to run it past you          1   it was more -- if any of those particular items
    2   first to check for accuracy and input."                  2   were more than 100?
    3           Do you see that?                                 3       A. Yes.
    4       A. Yes.                                              4       Q. Did you have any involvement in
    5       Q. It says, "To all. Back in June, Rx                5   establishing the line limits on Schedule II and III
    6   Purchasing and Supply Chain" -- is that where you        6   controlled substances?
    7   work?                                                    7       A. No, I have not.
    8       A. I'm in supply chain.                              8       Q. Do you know who did?
    9       Q. Okay.                                             9       A. I don't remember.
   10       A. IT, yes.                                         10       Q. Do you remember it happening?
   11       Q. It says, "Back in June, Rx Purchasing            11       A. No, I don't remember that either.
   12   and Supply Chain placed line limits on several          12       Q. How do you understand the line limits to
   13   2/3" -- excuse me -- "C-II/C-III narcotic               13   work? I think you told me that you understand that
   14   analgesics."                                            14   to be something that the distribution centers use?
   15           Do you see that?                                15       A. It actually -- and I need to replace
   16       A. Yes.                                             16   something. As line limits are mainly for the
   17       Q. Do you understand that to mean that line         17   stores. They are not for -- the distribution
   18   limits were placed on Schedule II and III               18   center doesn't have a line limit per se. They
   19   controlled substances?                                  19   just -- the line limits are at the store level.
   20       A. I'm not really sure what it means.               20       Q. Okay. Was it Steve Bamberg that you
   21       Q. Okay. Let me ask you for a minute.               21   told me earlier was kind of a manager over the
   22   When it says "in June, Purchasing and Supply Chain      22   store side?
   23   placed line limits on several C-II and C-III            23       A. Yes.
   24   narcotic analgesics," do you know what is being         24       Q. Do you know if Steve was involved in
                                                   Page 187                                                    Page 189
    1   said there?                                              1   setting up the line limits?
    2       A. Not really, no.                                   2       A. I don't know that.
    3       Q. Do you know what line limits are?                 3       Q. So, explain for me, please, your
    4       A. I know how we use them in our                     4   understanding of a line limit.
    5   distribution centers. It puts a limit to the order       5       A. It would put a limit on the order
    6   quantity that can be done by -- that we will, from       6   quantity for an item.
    7   a store.                                                 7       Q. Can you give me an example of how that
    8       Q. Okay. Is that the same as or different            8   would work in realtime?
    9   than the excessive order query?                          9       A. If the line limit was 12, you couldn't
   10       A. That would be different.                         10   order more than 12 of that product.
   11       Q. Okay. So, one issue -- one thing, and I          11       Q. Okay. Was that on a weekly basis,
   12   guess the best way to describe it is the program        12   monthly basis, annual basis?
   13   that you helped code and helped implement was the       13       MR. LEVINE: Objection to form, foundation.
   14   excessive order query, correct?                         14   BY THE WITNESS:
   15       A. Yes.                                             15       A. I'm not really sure about that.
   16       Q. And that was where there would be a              16   BY MR. GADDY:
   17   single input -- a number inputted by the                17       Q. This sentence here indicates that line
   18   distribution center and that if any product order       18   limits were set on Schedule II and III controlled
   19   exceeded that number, it would flag or populate on      19   substances. Are you aware of line limits being set
   20   a report, correct?                                      20   on all products or is it just set on controlled
   21       A. That is correct.                                 21   substances?
   22       Q. So, if the number was 100, if there was          22       MR. LEVINE: Objection; lacks foundation.
   23   more than 100 orders of paper towels or toilet          23   BY THE WITNESS:
   24   paper or OxyContin, it would flag on that report if     24       A. I'm not sure at all.

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                                                    Page 190                                                         Page 192
    1   BY MR. GADDY:                                             1   that --
    2       Q. Is it your understanding that there is             2      A. Yes.
    3   still line limits in place on -- within the               3      MR. LEVINE: Objection; asked and answered.
    4   Walgreens ordering system today?                          4   BY MR. GADDY:
    5       MR. LEVINE: Objection; foundation.                    5      Q. It indicates here in this second
    6   BY THE WITNESS:                                           6   sentence that stores were able to order drugs cut
    7       A. I'm not sure about that. It's outside              7   by the line limit through the PDQ process.
    8   of my area right now.                                     8           Do you see that?
    9   BY MR. GADDY:                                             9      A. I see that, yes.
   10       Q. You don't know if there is still line             10      Q. Okay. So, even though stores, if their
   11   limits on -- you don't know if that's still a            11   order was 12, they got their 12 through the order
   12   concept that operates within Walgreens today?            12   that was capped by the line limit, but this is
   13       A. I'm not familiar with it, no.                     13   indicating they could then do a PDQ order, a pretty
   14       Q. In the -- in the area that you are                14   darn quick order, that is what I think you termed
   15   familiar with it, what types of products did you         15   an emergency order, and continue to get more of the
   16   see it applied to?                                       16   product, correct?
   17       A. I don't remember.                                 17      MR. LEVINE: Objection; lacks foundation.
   18       Q. Okay. Let's start over.                           18   BY THE WITNESS:
   19            It says, "Back in June, Rx Purchasing           19      A. I'm not sure about that.
   20   and Supply Chain placed line limits on several C-II      20   BY MR. GADDY:
   21   and C-III narcotic analgesics."                          21      Q. Is that what the document indicates?
   22            Do you see that?                                22      MR. LEVINE: Same objection.
   23       A. Yes.                                              23   BY THE WITNESS:
   24       Q. It says, "At that time, it was                    24      A. I'm not really sure what they mean by

                                                      Page 191                                                        Page 193
    1   identified that stores would be able to order drugs       1   that.
    2   cut by the line limit through PDQ."                       2   BY MR. GADDY:
    3           Do you see that?                                  3      Q. Okay. It says, "Identified that stores
    4      A. Yes.                                                4   would be able to order drugs cut by the line limit
    5      Q. What does that mean to you?                         5   through PDQ. Supply Chain and Logistics has
    6      MR. LEVINE: Objection; lacks foundation.               6   identified a process in which they can turn off
    7   BY THE WITNESS:                                           7   specific items ordered through PDQ at the DC level,
    8      A. I'm not sure what that means.                       8   essentially capping stores at the line limit."
    9   BY MR. GADDY:                                             9           Do you see that?
   10      Q. It says, "Supply Chain and Logistics has           10      A. Yes, I see that.
   11   identified a process in which they can turn off          11      Q. If you go back up to the first
   12   specific items ordered through PDQ at the DC level,      12   paragraph, the second line, it says -- let's just
   13   essentially capping stores at the line limit             13   read it.
   14   quantity."                                               14           It says, "Mike Bleser asked me to craft
   15           Do you see that?                                 15   a communication that will sent to Suzanne, Dave and
   16      A. Yes.                                               16   other members of the Control Substance Integrity
   17      Q. So, I'm going to tell you what I've                17   Task Force to tell them about Sue and Doug's new
   18   understood you to say and you tell me if I got it        18   process."
   19   right or not.                                            19           Do you see that?
   20           I understood you to tell me that line            20      A. Yes.
   21   limits are essentially caps on how much of a             21      Q. You're Doug, right?
   22   product you could order. I think the example you         22      A. Yes.
   23   did -- you told me was that if the line limit was        23      Q. But you don't remember any of this stuff
   24   12, you could only order 12 of a product. Is             24   that I'm talking to you about in this lower

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    1   paragraph?                                                 1   that.
    2      A. No, I do not remember it.                            2   BY MR. GADDY:
    3      Q. But this was a process that you were                 3      Q. Well, you see that what you were asked
    4   involved in and you helped implement and you helped        4   to do here was to turn off the PDQ process, which
    5   design?                                                    5   would cap the stores at their line limit.
    6      MR. LEVINE: Objection to form.                          6          Do you see that?
    7   BY THE WITNESS:                                            7      MR. LEVINE: Objection to form, lacks
    8      A. I'm not sure about that.                             8   foundation.
    9   BY MR. GADDY:                                              9   BY THE WITNESS:
   10      Q. Okay. Going back down below, it says,               10      A. I see that, yes.
   11   "This enhancement will impact all stores in the           11   BY MR. GADDY:
   12   chain. As part of the new process, the pharmacies         12      Q. Okay. Well, and this e-mail is from the
   13   would order the product on SIMS/PDQ and not receive       13   end of September, correct?
   14   an ISN notice until the next day. We understand           14      A. Yes.
   15   that this may create a disruption in patient care."       15      Q. About two weeks after the DEA issued the
   16           Do you see that?                                  16   Order to Show Cause to the Jupiter distribution
   17      A. Yes, I do.                                          17   center down in Florida, correct?
   18      Q. If you go down to the next sentence, it             18      A. Yes.
   19   says, "Pharmacies will still be able to obtain            19      Q. Several months after these line limits
   20   quantities above the corporate line limits by             20   were put in place and yet stores were able to get
   21   asking their RXS to fill out a Control Substance          21   around them with the PDQ process, correct?
   22   Override Order form."                                     22      MR. LEVINE: Objection; lacks foundation.
   23           Do you see that?                                  23   BY THE WITNESS:
   24      A. Yes, I see it.                                      24      A. I can't answer that question.
                                                    Page 195                                                    Page 197
    1      Q. Okay. Do you know what that means?                   1   BY MR. GADDY:
    2      A. No, I do not.                                        2       Q. It goes on to say in the second-to-last
    3      Q. Do you have an appreciation that this is             3   sentence of that paragraph, it says, "Unless there
    4   a project that you worked on back in 2012?                 4   is specific objections, all oxycodone products will
    5      A. I don't remember working on it.                      5   be turned off of PDQ by Friday, September 28."
    6      Q. Do you see that Denny from the business              6          Do you see that?
    7   side says this is "Sue and Doug's new process,"            7       A. Yes.
    8   right?                                                     8       Q. Assuming that actually happened, you
    9      A. Yes, I do see that.                                  9   understand that until Friday, September 28, 2012,
   10      Q. And you understand that a line limit was            10   Walgreens stores were able to order oxycodone
   11   intended to cap the amount of product that a store        11   through the PDQ or the emergency order process?
   12   could receive, correct?                                   12       MR. LEVINE: Objection to form, foundation.
   13      MR. LEVINE: Objection; asked and answered.             13   BY THE WITNESS:
   14   BY THE WITNESS:                                           14       A. I'm not sure if they could or not.
   15      A. Yes.                                                15   BY MR. GADDY:
   16   BY MR. GADDY:                                             16       Q. Does the document indicate that they
   17      Q. And you understand from this e-mail that            17   could?
   18   there was a hole discovered in the system, that           18       MR. LEVINE: Objection to form, foundation.
   19   stores could order drugs that had been capped by          19   BY THE WITNESS:
   20   the line limit through the PDQ process, correct?          20       A. Again, I'm not really sure if they can
   21      MR. LEVINE: Objection to form, lacks                   21   or not or could or not.
   22   foundation.                                               22   BY MR. GADDY:
   23   BY THE WITNESS:                                           23       Q. Okay. The second sentence says, second
   24      A. I'm not sure -- no, I'm not sure about              24   sentence of that second paragraph says, "At that

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    1   time, it was identified that stores would be able         1 September 28 of 2012 you were communicating to Deb
    2   to order drugs cut by the line limit through PDQ."        2 Bish, among others -- I think you indicated Deb was
    3           Correct?                                          3 the manager of the controlled substance section or
    4      A. Yes, it does say that.                              4 department, the distribution center in Perrysburg?
    5      Q. Do you have any reason to disagree with             5       A. Yes.
    6   that?                                                     6       Q. You are communicating to Deb and other
    7      MR. LEVINE: Objection; form, foundation.               7   folks that you have now turned off the PDQ process
    8   BY THE WITNESS:                                           8   for oxycodone for the first time, December 28 --
    9      A. I'm not sure.                                       9   excuse me -- September 28, 2012, correct?
   10   BY MR. GADDY:                                            10       A. Yes.
   11      Q. Mr. Peterson, I'm going to show you what           11       Q. Prior to that date, oxycodone could be
   12   we are going to mark as Exhibit No. 20.                  12   ordered via emergency order, PDQ, right?
   13             (WHEREUPON, a certain document was             13       A. Yes.
   14              marked as Walgreens-Peterson                  14       Q. The e-mail goes on to say, "If the store
   15              Exhibit No. 20: 101/12 e-mail                 15   insists on getting this product, you will need to
   16              string; WAGMDL00252575 - 00252576.)           16   use the current control drug override process."
   17   BY MR. GADDY:                                            17           Do you see that?
   18      Q. If you look at the bottom half of this             18       A. Yes.
   19   page, do you see this is an e-mail written by you?       19       Q. How did you know to write about the drug
   20      A. Yes.                                               20   override process?
   21      Q. This was written Friday, September 28,             21       A. I don't remember.
   22   correct?                                                 22       Q. As you sit here today, I understand you
   23      A. Yes.                                               23   to tell me that you don't know what that is?
   24      Q. Of 2012?                                           24       A. I don't know what that control drug

                                                      Page 199                                                       Page 201
    1      A. Yes.                                                1   process is. Override process.
    2      Q. And you send this to several folks, it              2      Q. But here in this e-mail back in
    3   looks like Jen Diebert, Deb Bish, Kristine Atwell.        3   September 28 of 2012, you're telling Deb Bish and
    4          Do you see that?                                   4   other folks like her in distribution centers that
    5      A. Yes.                                                5   the stores, A, can no longer get oxycodone on
    6      Q. Who is Kristine Atwell?                             6   emergency orders, right?
    7      A. I don't remember.                                   7      A. Yes.
    8      Q. Okay. And the subject of your e-mail                8      Q. And, B, you're saying that if they do
    9   here is "Oxycodone no longer being ordered via            9   want to get oxycodone above their line limit, they
   10   PDQ."                                                    10   need to use the control drug override process,
   11      A. Yes.                                               11   correct?
   12      Q. Do you recall doing this project back in           12      A. It's stated in the e-mail, yes.
   13   September of 2012?                                       13      Q. So, even -- even though you're -- strike
   14      A. No, I don't recall it.                             14   that.
   15      Q. It says, "This is to inform you that               15          Up until September 28, 2012, stores
   16   effective today the attached oxycodone items can no      16   could order oxycodone through their normal channels
   17   longer be ordered via the PDQ process. We have           17   from the distribution center, correct?
   18   turned the PDQ order indicator for these items to        18      A. Yes.
   19   no. If the store orders the items, they will             19      Q. Up until September 28, 2012, stores
   20   receive an insufficient code of 01, 'item not            20   could order over and above any capped amount
   21   allowed PDQ.'"                                           21   through the PDQ process, correct?
   22          Do you see that?                                  22      A. They could order through the PDQ
   23      A. Yes, I do.                                         23   process, yes.
   24      Q. Do you understand that here on                     24      Q. And even after September 28, 2012,

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    1   stores could continue to order excess oxycodone if          1      A. Correct.
    2   they went through the control drug override                 2      Q. You understand I'm not accusing you of
    3   process, correct?                                           3   anything or trying to throw you under the bus for
    4      A. I'm not sure about that.                              4   anything that you may or may not done back in --
    5      Q. Well, is that what you wrote?                         5   related to your work at Walgreens?
    6      A. I don't remember that.                                6      A. I understand that, yes.
    7      Q. Is that what you wrote?                               7      Q. I'm going to show you what I've marked
    8      A. Yes, it's written in this e-mail, yes.                8   as Peterson 21. It's going to be P-WAG-2112.
    9      Q. Written by you?                                       9             (WHEREUPON, a certain document was
   10      A. Yes.                                                 10              marked as Walgreens-Peterson
   11      Q. And if you look at the attachment on the             11              Exhibit No. 21: 10/1/12 e-mail
   12   next page, do you see the list of the oxycodone            12              string; WAGMDL00705318 - 00705320.)
   13   products that it looks like you sent to Deb Bish           13   BY MR. GADDY:
   14   and the other folks in the distribution centers to         14      Q. And if you go to the -- if you turn the
   15   inform them of what products could no longer be            15   page, go to the bottom of the second page of this
   16   ordered on an emergency basis?                             16   document, you'll see an e-mail from you, correct?
   17      A. I see the list, yes.                                 17      A. Yes.
   18      Q. And it's all oxycodone products,                     18      Q. And we're going to flip to it in a
   19   correct?                                                   19   moment, but I think it's going to be the same
   20      A. Yes.                                                 20   e-mail that we saw just a minute ago, but we're
   21      MR. LEVINE: Are you getting to a good place             21   going to see after it some traffic from some other
   22   for a lunch break?                                         22   folks within Walgreens.
   23      MR. GADDY: Whenever is fine with me.                    23          Does that make sense?
   24      MR. LEVINE: Okay. Let's do it.                          24      A. Yes.
                                                        Page 203                                                      Page 205
    1       MR. GADDY: All right.                                   1      Q. Okay. And if we look at this e-mail,
    2       THE VIDEOGRAPHER: We're going off the record            2   this is the Friday, September 28 e-mail from you to
    3   at 12:52.                                                   3   Deb Bish, Jen Diebert, Kristine Atwell and some
    4             (WHEREUPON, a recess was had                      4   other folks within several of the distribution
    5              from 12:52 to 1:31 p.m.)                         5   centers that deal with controlled substances at
    6       THE VIDEOGRAPHER: We're back on the record at           6   Walgreens?
    7   1:31.                                                       7      A. Yes.
    8   BY MR. GADDY:                                               8      Q. And, again, this is that same e-mail
    9       Q. Good afternoon, Mr. Peterson.                        9   where the subject line is "Oxycodone no longer
   10       A. Good afternoon.                                     10   being ordered via PDQ," correct?
   11       Q. I think we're past the halfway point, if            11      A. Yes.
   12   that gives you any comfort.                                12      Q. And the PDQ is what you had told us was
   13       A. Okay.                                               13   kind of an emergency order, an order that was
   14       Q. I'm going to keep asking you some                   14   supposed to be filled within a day?
   15   questions right now about the -- some of the work          15      A. Yes.
   16   you did on the PDQ process as it relates to                16      Q. And if we go to the next page and see
   17   oxycodone. Okay? Do you remember that's what we            17   the e-mail, it says, "This is to inform you that
   18   were talking about before lunch?                           18   effective today the attached oxycodone items can no
   19       A. Yes.                                                19   longer be ordered via the PDQ process."
   20       Q. And you understand, don't you, that my              20           Correct?
   21   goal here is just to try to kind of find out               21      MR. LEVINE: Objection; asked and answered.
   22   historically some of the projects and some of the          22   BY THE WITNESS:
   23   different implementations that you've been involved        23      A. Yes. That's what it says.
   24   in? Correct?                                               24   BY MR. GADDY:

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    1       Q. And you recognize this to be the same              1   e-mail above, and you got to turn to the first
    2   original e-mail that we looked at right before            2   page and look at the bottom to see -- to see who
    3   lunch?                                                    3   actually sent it. Do you see that?
    4       A. Yes, it is.                                        4       A. Yes, I do.
    5       Q. Okay. Let's flip backwards, if you                 5       Q. And it looks like the follow-up e-mail
    6   don't mind, and do you see where Deb Bish in the          6   is from David Lovejoy who was one of the people
    7   next e-mail up forwards this to it looks like a           7   that Mr. Crawford sent his e-mail to, right?
    8   list serve for all the pharmacy supervisors?              8       A. Yes.
    9       A. That's what it looks like, yes.                    9       Q. And it looks like he responds to
   10       Q. Okay. And then if you go up one more              10   Mr. Crawford, also Ms. Hansen and he copies Rex
   11   e-mail, it looks like an individual named Kermit         11   Swords on his response, correct?
   12   Crawford jumps into the chain and sends this e-mail      12       A. Yes.
   13   to some other folks.                                     13       Q. And Mr. Lovejoy writes, "Kermit, the
   14           Do you see that?                                 14   group did discuss system limitations versus store
   15       A. Yes.                                              15   needs for patients. If I recall correctly, the
   16       Q. Do you know who Kermit Crawford is?               16   line limits apply to each order individually, not
   17       A. I heard the name a while back, but I              17   as a whole or in cumulative."
   18   don't know who he is, no.                                18           Do you see that?
   19       Q. Okay. Do you see the signature block              19       A. Yes, I see that.
   20   for his e-mail there?                                    20       Q. And is that your understanding of the
   21       A. Yes.                                              21   line limits, that they apply to each order
   22       Q. What does it indicate that his position           22   individually?
   23   is within Walgreens?                                     23       MR. LEVINE: Objection; lacks foundation.
   24       A. President, pharmacy, health and                   24   BY THE WITNESS:
                                                      Page 207                                                  Page 209
    1   wellness.                                                 1       A. I'm not sure what they mean by that.
    2       Q. And what he writes to two individuals,             2   BY MR. GADDY:
    3   it looks like it's Suzanne Hansen and David               3       Q. It says, "Therefore, a store could hit
    4   Lovejoy. Do you know who either of those                  4   the line limit on their weekly C-II WHS order and
    5   individuals are?                                          5   then" -- do you know what WHS means?
    6       A. No, I do not.                                      6       A. Warehouse order.
    7       Q. Well, he writes to them and he says, "We           7       Q. Okay. It says, "Therefore, a store
    8   discussed this and I was not under the impression         8   could hit the line limit on their weekly C-II
    9   this was a done deal. Concerned we are 'all or            9   warehouse order and then they could create a PDQ
   10   none.' We have to do what's right for patients           10   order on a daily basis and far exceed the monthly
   11   also."                                                   11   line limit total that we were trying to enforce."
   12          Do you see that?                                  12           Do you see that?
   13       A. Yes, I see it.                                    13       A. I see that.
   14       Q. From this e-mail chain do you understand          14       Q. What does that sentence mean to you?
   15   Mr. Crawford to be questioning the process that you      15       MR. LEVINE: Objection; lacks foundation.
   16   were asked to implement and that you did in fact         16   BY THE WITNESS:
   17   implement of eliminating the PDQ option for              17       A. I'm not sure what they're talking about
   18   oxycodone?                                               18   right now.
   19       MR. LEVINE: Objection; lacks foundation.             19   BY MR. GADDY:
   20   BY THE WITNESS:                                          20       Q. Okay. Well, we've talked about a little
   21       A. I can't tell that from this particular            21   bit about the concept of line limit, right?
   22   e-mail, no.                                              22       A. Yes.
   23   BY MR. GADDY:                                            23       Q. And I think the example that you gave to
   24       Q. Okay. Well, let's look to the next                24   me was that if a line limit was 12, that all that a

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    1   store could order for whatever that time period              1   BY THE WITNESS:
    2   was, whether it was a week or a month, all that              2      A. I'm not sure what he really means by
    3   that store could order was 12, correct?                      3   that, no.
    4       MR. LEVINE: Objection to form.                           4   BY MR. GADDY:
    5   BY THE WITNESS:                                              5      Q. Well, regardless of what you can
    6       A. Yeah.                                                 6   determine Mr. Lovejoy means, you understand that
    7   BY MR. GADDY:                                                7   the project that you were asked to help with and
    8       Q. Okay. And, so, what Mr. Lovejoy is                    8   the solution that you were asked to implement was
    9   saying here is that a store could hit the line               9   to prevent oxycodone from being able to be ordered
   10   limit on their weekly C-II warehouse order and then         10   on a PDQ basis, right?
   11   they could create a PDQ, that's the emergency               11      A. Yes.
   12   orders, the one-day fill orders, right?                     12      Q. And it would be typical or standard for
   13       MR. LEVINE: Object. Just asking what that               13   you to be asked to create or implement solutions to
   14   is, what a PDQ is?                                          14   address a problem that Walgreens business is
   15       MR. GADDY: Yes.                                         15   looking to correct. Is that fair?
   16   BY THE WITNESS:                                             16      MR. LEVINE: Objection; asked and answered.
   17       A. He is asking what a PDQ is?                          17   BY THE WITNESS:
   18   BY MR. GADDY:                                               18      A. We would take information from a
   19       Q. Let me start over.                                   19   business partner and write code and programs to
   20       A. Okay. I'm sorry.                                     20   solve that, that request.
   21       Q. Yeah, no problem. What Mr. Lovejoy says              21   BY MR. GADDY:
   22   here, he says, "A store could hit the line limit on         22      Q. Sure. So, they have a problem. They
   23   their weekly C-II warehouse order."                         23   have something that they want addressed. They ask
   24           Do you see that?                                    24   you to write the code that makes the solution,
                                                         Page 211                                                         Page 213
    1      A. Yes, I see that.                                       1   correct?
    2      Q. In the example that you gave earlier,                  2       A. Yes.
    3   that would mean that if a line limit for OxyContin           3       Q. And in this case the solution that they
    4   was 12, that a store has hit their line limit, they          4   needed was to prevent the stores from being able to
    5   have ordered their 12 bottles of OxyContin, right?           5   order oxycodone on a PDQ or emergency basis, right?
    6      MR. LEVINE: Objection to form, misstates                  6       A. That is what they asked for, yes.
    7   testimony.                                                   7       Q. If you go to the next e-mail up in the
    8   BY THE WITNESS:                                              8   chain, it looks like Rex Swords chimes in, correct?
    9      A. Yes.                                                   9       A. Yes.
   10   BY MR. GADDY:                                               10       Q. And this is on the first page of the
   11      Q. And it says, "They could then create a                11   document?
   12   PDQ order on a daily basis and far exceed the               12       A. Yes.
   13   monthly line limit that we were trying to enforce."         13       Q. And Rex says, "Correct. PDQ orders did
   14           Do you see that?                                    14   not aggregate to the monthly cumulative limits,
   15      A. I see that.                                           15   although line limits are still imposed on the
   16      Q. Okay. So, what Mr. Lovejoy is                         16   individual order. Therefore, without this edit,
   17   indicating is that a store could hit their line             17   stores could order PDQ every day for Oxy and as
   18   limit, the 12 bottles of OxyContin in your example,         18   long as they didn't trip the line order limit edit,
   19   and then after hitting that limit, they could then          19   they would receive the product and end up exceeding
   20   go in and create these PDQ or emergency orders and,         20   our monthly cumulative order limits."
   21   according to Mr. Lovejoy, far exceed the monthly            21           Do you see that?
   22   line total that Walgreens was trying to enforce.            22       A. Yes, I see it.
   23           Do you see that?                                    23       Q. And as a result of that issue or hole or
   24      MR. LEVINE: Objection; lacks foundation.                 24   glitch in the system, you were asked to implement

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    1   the solution of preventing stores from being              1   so the format is different than the others.
    2   ordering oxycodone on a PDQ or emergency basis,           2           But if you see at about two-thirds of
    3   correct?                                                  3   the way down the page, what we see is the first
    4       MR. LEVINE: Objection to form, foundation.            4   e-mail, which is ultimately going to be the
    5   BY THE WITNESS:                                           5   substance of it, is going to be on the second page;
    6       A. That was our request, yes.                         6   but this is an e-mail from Kristine Atwell, and
    7   BY MR. GADDY:                                             7   over on the right-hand side you see that the e-mail
    8       Q. It goes on in the next sentence to say,            8   is going to Barb Martin.
    9   "As Dave mentions, store still have access to             9           Do you see that?
   10   product if needed outside their normal ordering          10       A. Yes.
   11   process using the Controlled Substance Override          11       Q. Okay. And the date of this e-mail is
   12   form on Storenet."                                       12   April 14, 2011.
   13          Do you see that?                                  13           Do you see that?
   14       A. Yes, I see that.                                  14       A. Yes.
   15       Q. Do you recognize the term "Storenet"?             15       Q. And if you flip the page, the subject is
   16       A. I know what Storenet is, yes.                     16   a particular store number that's 6997?
   17       Q. Okay. What's Storenet?                            17       A. Yes.
   18       A. It's the store Internet.                          18       Q. And in the body of the e-mail it says,
   19       Q. Is that like a -- is that like the                19   "Store 6997 is manipulating the AS400 ordering
   20   intranet?                                                20   system to gain more bottles of WIC 682971 and
   21       A. Intranet I guess is the correct.                  21   682972."
   22       Q. With an A?                                        22           Do you see that?
   23       A. Yes.                                              23       A. Yes.
   24       Q. Intra. Okay. And so that's a, you                 24       Q. And do you recognize those numbers to
                                                      Page 215                                                      Page 217
    1   know, essentially a private Internet system or a          1   be -- relate to oxycodone products?
    2   private intranet network that only Walgreens stores       2       A. No, I do not.
    3   are able to connect to?                                   3       Q. Okay. What is the AS400 ordering
    4       A. Yes.                                               4   system?
    5       Q. And, so, this indicates that what                  5       A. That's a store ordering system.
    6   Mr. Swords has indicated here is even though you've       6       Q. Okay. Is that what the pharmacies
    7   deployed your solution of preventing stores from          7   utilize to order product?
    8   ordering oxycodone on a PDQ basis, that stores            8       A. They utilize that, yes.
    9   still have access to product if they need it using        9       Q. It says, "The store is manipulating the
   10   the Controlled Substance Override form, correct?         10   system to gain more bottles. They have told us
   11       A. That's what's indicated in the e-mail.            11   they create a 'PDQ' but before it processes they go
   12       Q. I'm going to show you what I'm going to           12   back in and adjust the quantity from 9 to a greater
   13   mark as Peterson 22, which is another e-mail --          13   amount. If you look at the history you will see
   14   e-mail chain that describes some issues that some        14   the system manipulation. How does the system allow
   15   folks were having with the PDQ system and ask you        15   this to happen when a PDQ should only be for 9 or
   16   if you're familiar with these issues. Okay?              16   less?"
   17       A. Yes.                                              17           Do you see that?
   18              (WHEREUPON, a certain document was            18       A. I see that, yes.
   19               marked as Walgreens-Peterson                 19       Q. During your time in the supply and
   20               Exhibit No. 22: 4/14/11 e-mail               20   logistics IT department, did anybody ever bring to
   21               string; WAGFLDEA00001032 -                   21   you this particular issue -- excuse me -- bring to
   22               00001033.)                                   22   your attention this particular issue?
   23   BY MR. GADDY:                                            23       A. No, I do not remember that.
   24       Q. And this one prints a little bit weird,           24       Q. Do you have any memory of ever being

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    1   made aware of the fact that there were stores that       1       Q. Is this a typical e-mail that you would
    2   were manipulating the PDQ process to order more          2   get from different stores?
    3   than they were supposed to be able to get with that      3       A. No, it is not.
    4   process?                                                 4       Q. Okay. It's signed "Mark." Do you know
    5      A. No.                                                5   who that is?
    6      Q. Are you aware of you or anybody else               6       A. No, I do not.
    7   within your department or any IT department within       7       Q. Do you know why this individual would
    8   Walgreens who was asked to address an issue such as      8   have been contacting you?
    9   this where individual stores, individual Walgreens       9       A. No, I'm not sure why they would.
   10   stores, were able to manipulate the PDQ order           10       Q. Okay. Do you remember if you ever got
   11   screen to order more bottles on an emergency basis      11   any other e-mails similar to this asking about
   12   than they were supposed to?                             12   either the override process or the PDQ process or
   13      MR. LEVINE: Objection to form and lacks              13   the line limit process from individual stores?
   14   foundation beyond him.                                  14       A. I don't remember, no.
   15   BY THE WITNESS:                                         15       Q. It looks like in the next e-mail up you
   16      A. I do not remember, no.                            16   say you're not -- you forward -- I guess what you
   17   BY MR. GADDY:                                           17   do is you forward the e-mail to John Merritello,
   18      Q. I will show you what we will mark as              18   right?
   19   Peterson 23.                                            19       A. Yes.
   20             (WHEREUPON, a certain document was            20       Q. And you tell John, you say, "I'm not
   21              marked Walgreens-Peterson Exhibit            21   sure of the override process and was wondering if
   22              No. 23: 10/5/12 e-mail string;               22   you could help this store or know who can."
   23              WAGMDL00127695.)                             23           And John writes back to you saying that
   24   BY MR. GADDY:                                           24   the store should contact a particular e-mail
                                                   Page 219                                                   Page 221
    1      Q. We've seen a couple documents that talk            1   address, RxInventory@Walgreens.com, correct?
    2   about the override request system. Do you recall         2       A. That's what it says, yes.
    3   that phrase or that term generally?                      3       Q. Do you know what that e-mail address,
    4      MR. LEVINE: Objection to form.                        4   who that goes to?
    5   BY THE WITNESS:                                          5       A. No, I do not.
    6      A. Not really, no.                                    6       Q. Ever in your time at Walgreens were you
    7   BY MR. GADDY:                                            7   ever asked to do any work whatsoever on the
    8      Q. Okay. Showing you what's marked as                 8   override request forms as it related to controlled
    9   Peterson 23. It's going to be P-WAG-2010.                9   substances?
   10          And if you look at the bottom of the             10       A. No.
   11   page, it looks like this was an e-mail received by      11       Q. I'm going to show you a example of one
   12   you and it looks like the e-mail address that it        12   that we have and just make sure it doesn't refresh
   13   was received from is DR-Rx 14340?                       13   your memory or ring any bells.
   14      A. Yes.                                              14           I'm going to mark this as Peterson 24.
   15      Q. Does that mean anything to you?                   15   It's going to be P-WAG-2120.
   16      A. It would be a store number.                       16              (WHEREUPON, a certain document was
   17      Q. Okay.                                             17               marked Walgreens-Peterson Exhibit
   18      A. Rx department.                                    18               No. 24: 8/15/12 e-mail string;
   19      Q. And you get an e-mail that says, "Hi              19               WAGMDL0000107473 - 00107474.)
   20   Doug, please how does the current control drug          20   BY MR. GADDY:
   21   override process work? How do we order for              21       Q. And if you look at this, start about
   22   oxycodone?"                                             22   halfway down the first page, and you will see the
   23          Do you see that?                                 23   first e-mail in the chain. Looks like it's from an
   24      A. Yes.                                              24   individual Satinder Sandhu. Do you see that?

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    1       A. Yes.                                                1       A. No.
    2       Q. It looks like it goes to that                       2       Q. Are you aware of anybody else within the
    3   Rx inventory e-mail address that we just saw John          3   IT department being asked to do a task like this?
    4   Merritello give you?                                       4       A. It would be a store team, so probably
    5       A. Yes.                                                5   Steve Bamberg.
    6       Q. The subject is "Controlled Substance                6       Q. Do you specifically remember Steve
    7   Order Quantity Override Form."                             7   talking about this project or are you just saying
    8           Do you see that?                                   8   because it's a store function it would have fallen
    9       A. Yes.                                                9   under his purview?
   10       Q. Prior to looking at this right now, did            10       A. Because it's a store function, it would
   11   you know that such a form existed?                        11   fall under his.
   12       A. No, I did not.                                     12       Q. Okay. And what's indicated here in that
   13       Q. Okay. And it looks like some of the                13   last -- to that last question by the pharmacy
   14   information that's given there is the store number,       14   supervisor is, "The store's current on hand count
   15   the district number. What would the DM and the            15   is 1907. Last 13 week average receipt is about 12
   16   DLP -- do you know what those acronyms stand for?         16   to 13 bottles per week and the sale is about 17 to
   17       A. No, I'm not sure.                                  17   18 bottles per week. There is only net positive
   18       Q. And as you go a little bit farther down,           18   adjustment of 536 tablets. The store serves high
   19   you see it lists the pharmacy manager and it also         19   workers' comp patients and serves several pain
   20   lists the pharmacy supervisor.                            20   management clinics. All prescriptions are being
   21           Do you see that?                                  21   dispensed by following GFD policy."
   22       A. Yes, I do.                                         22            Do you see that?
   23       Q. And then as you go down and turn the               23       A. Yes.
   24   page, it looks like they list the drug that they          24       Q. Do you know what GFD means?
                                                     Page 223                                                        Page 225
    1   are asking for, the size of the package and the            1        A. No, I do not.
    2   number of bottles that they're asking for.                 2        Q. Okay. Do you know whether or not there
    3           Do you see that?                                   3   was any information considered in deciding whether
    4       A. Yes, I see that.                                    4   to approve or deny this override request other than
    5       Q. And this particular one, they're asking             5   what's written right here or do you not know at
    6   for ten bottles of hydrocodone?                            6   all?
    7       A. That's what it says on the document,                7        A. I don't know anything about this --
    8   yes.                                                       8        Q. Okay.
    9       Q. Okay. And then it looks like it asked               9        A. -- override request.
   10   for a reason for the -- for the override request.         10        Q. Okay. If we go back to the first page,
   11           Do you see that?                                  11   regardless, we see the e-mail from Steven Mills at
   12       A. Yes.                                               12   the top of the page that the order is approved,
   13       Q. And it looks like here the pharmacy                13   correct?
   14   supervisor indicated "Other." And then it looks           14        A. Yes.
   15   like the next query is "Provide a detailed                15        Q. And I had a couple more of those,
   16   explanation of this request including the Rx sales        16   Mr. Peterson, but since you don't know about them,
   17   history, 13 week item movement, current on hand           17   I'll just skip those.
   18   count, inventory adjustments, et cetera."                 18            I think you told me this morning that
   19           Do you see that?                                  19   you have an understanding that currently the jobber
   20       A. Yes.                                               20   that handles at least the bulk of Walgreens
   21       Q. Do you recall being asked at all to                21   controlled substance distribution is
   22   generate a program that would allow pharmacy              22   AmerisourceBergen, correct?
   23   supervisors to fill out such a form either on the         23        A. Yes.
   24   intranet or in hard copy format?                          24        Q. And what we know about kind of the

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                                                       Page 226                                                      Page 228
    1   timeline of Walgreens distributing or -- strike            1   Peterson 25. This is P-WAG-2063.
    2   that.                                                      2            (WHEREUPON, a certain document was
    3           What we know from what we've looked at             3             marked Walgreens-Peterson Exhibit
    4   this morning up until now about the timeline of            4             No. 25: 4/3/13 e-mail string with
    5   Walgreens stores being supplied controlled                 5             attachment; WAGMDL0000525116 -
    6   substances is beginning in approximately the early         6             00525119.)
    7   2000s, Walgreens began distributing to their own           7   BY MR. GADDY:
    8   stores, correct?                                           8       Q. And if you look at the top of this page,
    9      A. That is correct.                                     9   you see this is an e-mail from Vinayak on April 3,
   10      Q. And that was a process that you helped              10   2013 that he sends to both Brian Amend and you?
   11   bring online?                                             11       A. Yes.
   12      A. Yes.                                                12       Q. And the subject is the "C-II transition
   13      Q. We know that in, at least in the 2012               13   plan document."
   14   range and probably earlier than that, that                14          Do you see that?
   15   Walgreens would sometimes utilize jobbers or              15       A. Yes.
   16   outside vendors, including Cardinal Health, to help       16       Q. And there's also an attachment to that
   17   them fill some of their controlled substance              17   document. Let's turn the page and look at that
   18   orders, correct?                                          18   attachment.
   19      A. Yes, they would.                                    19          Do you recall getting this e-mail and
   20      Q. Okay. And we've looked at some                      20   attachment?
   21   documents today that indicated that Walgreens'            21       A. I don't recall it, no.
   22   Jupiter, Florida distribution facility was shut           22       Q. Okay. The title of the attachment is
   23   down by the DEA in late 2012 and that the Walgreens       23   "C-II Walgreens AmerisourceBergen Transition Plan."
   24   Perrysburg distribution center was beginning to be        24          Do you see that?

                                                     Page 227                                                      Page 229
    1   investigated in early 2013, correct?                       1       A. Yes, I do.
    2      A. Yes, we reviewed that this morning.                  2       Q. Do you recall how you first found out
    3      Q. Okay. And at the time we looked at some              3   that Walgreens was going to transition from
    4   documents where the bulk of the distribution               4   primarily utilizing Cardinal Health to primarily
    5   responsibilities were being shifted from those             5   utilizing AmerisourceBergen?
    6   Walgreens facilities, Jupiter and Perrysburg, over         6       A. No, I don't remember when I heard that.
    7   to Cardinal Health and they were taking on a lot of        7       Q. Regardless, you see that this -- you
    8   that distribution, correct?                                8   were sent this e-mail back in April of 2013
    9      MR. LEVINE: Objection; lacks foundation.                9   announcing or at least giving you the timeline for
   10   BY THE WITNESS:                                           10   the -- for the transition plan?
   11      A. I don't remember that but...                        11       A. Yes.
   12   BY MR. GADDY:                                             12       Q. And what this indicates is that in
   13      Q. Well, you remember that Cardinal Health             13   April of 2013 the Jupiter C-II was going to move to
   14   was going to distribute to a lot of the stores but        14   AmeriSource from its current suppliers, correct?
   15   there were several stores, I think from Perrysburg        15       A. Yes, that's what it says, yes.
   16   there were about 367, that they red-flagged and           16       Q. In May of '13 Perrysburg is going to
   17   said they wouldn't distribute to them?                    17   move to AmeriSource from its current suppliers,
   18      A. I remember that from this morning, yes.             18   correct?
   19      Q. Okay. And you have an understanding                 19       A. Yes, that's what it says.
   20   that currently Walgreens is supplied their                20       Q. And then in September, Woodland, which
   21   controlled substances by AmerisourceBergen                21   is the third and final Walgreens distribution
   22   primarily?                                                22   center, is going to move from -- from its current
   23      A. Yes.                                                23   folks to AmerisourceBergen, correct?
   24      Q. I'm going to show you what I'll mark as             24       A. Yes.

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    1        Q. Is this consistent with your memory                1   4 hospice locations. The fourth hospice location
    2   about approximately when Walgreens not only moved          2   is still serviced out of Woodland and we haven't
    3   to AmerisourceBergen as their primary supplier but         3   loaded those stores yet. Denny is aware and plans
    4   kind of continues and starts the process of phasing        4   to send me the store information."
    5   out Walgreens' actions as a distributor of these           5            Do you see that?
    6   controlled substances?                                     6       A. Yes, I do.
    7        A. Yes, it's about the same time frame.               7       Q. It looks like in the next e-mail up, Sue
    8        Q. And as we sit here in 2018, it's your              8   then forwards that e-mail to Deb Bish who was the
    9   understanding that AmerisourceBergen continues to          9   C-II manager at the Perrysburg distribution center,
   10   be the primary distributor of controlled substances       10   correct?
   11   for Walgreens?                                            11            Just above it. In the middle.
   12        A. Yes.                                              12       A. Oh, sorry. Yes.
   13        Q. Let me show you what I'm going to mark            13       Q. Yeah, sorry.
   14   as Peterson 26. This is P-WAG-2032.                       14       A. Yes, I see it now.
   15              (WHEREUPON, a certain document was             15       Q. So, Sue forwards that to Deb Bish,
   16               marked as Walgreens-Peterson                  16   right?
   17               Exhibit No. 26: 4/4/13 e-mail                 17       A. Yes.
   18               string; WAGMDL00358567 -00358570.)            18       Q. And she was in charge of the C-II
   19   BY MR. GADDY:                                             19   distribution function at Perrysburg, right?
   20        Q. And if you flip to the, it looks like             20       A. That's my memory, yes.
   21   it's the second page and about halfway down the           21       Q. It also goes to Steve Kneller?
   22   page or, excuse me, about three-fourths of the way        22       A. Yes.
   23   down the page, there is an e-mail from it looks           23       Q. Do you know who Steve Kneller is? I
   24   like a John Trippe or John Trippe.                        24   don't think we've talked about him yet.
                                                     Page 231                                                   Page 233
    1            Do you see that?                                  1      A. He was the distribution manager at the
    2       A. Yes. Sorry. Yes.                                    2   time for Perrysburg.
    3       Q. And it looks like he has an                         3      Q. Okay. It also goes to you, correct?
    4   AmerisourceBergen e-mail address, correct?                 4      A. Yes.
    5       A. Yes, it does.                                       5      Q. And it goes to Vinayak?
    6       Q. And it looks like he's sending this to              6      A. Yes.
    7   Sue Thoss. Do you see that?                                7      Q. I don't know that you have told me what
    8       A. Yes.                                                8   Vinayak does yet. What was his role?
    9       Q. And you know who Sue is?                            9      A. At this time he was my director.
   10       A. Yes, I do.                                         10      Q. Okay. So, he had Brian Amend's
   11       Q. And I think Sue is the one that we saw             11   position?
   12   earlier this morning that forwarded you an e-mail         12      A. That Brian has now today, yes.
   13   telling you that the DEA had come into the                13      Q. Gotcha. Okay. So, at this time was he
   14   Perrysburg distribution center with subpoenas,            14   above Brian?
   15   right?                                                    15      A. Yes.
   16       A. Yes, I remember that from this morning.            16      Q. So, it would have been Vinayak, Brian
   17       Q. And the subject line of this e-mail is             17   and then you, is that right?
   18   "C-II customer list WAG Perrysburg start 4.9.13."         18      A. At this time Brian and I were at the
   19            Do you see that?                                 19   same level.
   20       A. Yes.                                               20      Q. Gotcha. Thank you.
   21       Q. And John says, "Sue, the attached                  21           So, anyway, back to what we were talking
   22   list" -- I think what he is trying to say is "The         22   about in this e-mail here.
   23   attached list of stores assigned to the April 9th         23           Sue forwards this e-mail to you that has
   24   Go-live date. It's the original 225 plus 3 of the         24   the list of customers that AmerisourceBergen is

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    1   planning on, it looks like, going live with on        1       Q. Okay.
    2   April 9, correct?                                     2       A. It was another jobber.
    3       A. Yes.                                           3       Q. Okay. So Denny says, yes, "Once the
    4       Q. And a little bit higher up on the              4   stores are transitioned to either ABA or ANDA, then
    5   page you respond, correct?                            5   yes," meaning that he would want you to remove the
    6       A. Yes, I did.                                    6   restriction, correct?
    7       Q. And you say, "We still have the item           7       A. Yes.
    8   restrictions, based on John Merritello's list, in     8       Q. It says, "The," III to Vs, "C35s will
    9   place at the C-II distribution center for these       9   still need to be blocked from going to Cardinal,
   10   stores. Do we need to remove that restriction?"      10   either on a warehouse order or from a PFL/OOS, but
   11           Do you see that?                             11   that file is different from yours."
   12       A. Yes.                                          12           Do you see that?
   13       Q. Do you know what we're talking about          13       A. Yes, I do.
   14   there or what you're talking about there I should    14       Q. So, all that you were in charge of was
   15   say?                                                 15   the C-IIs?
   16       A. Yes, I do know.                               16       A. Yes.
   17       Q. Okay. Explain it to me, please.               17       Q. If you go back up to your response in
   18       A. We -- we had restrictions on certain          18   the next e-mail up in the chain, you say, "Thanks,
   19   stores. Those stores were still in our system and    19   since the restricted stores are all moved to
   20   if we didn't do anything with it, we would not be    20   AmerisourceBergen starting Tuesday, April 9, 2013,
   21   sending orders to them. So...                        21   we will remove the stores from the C-II restricted
   22       Q. Okay. So --                                   22   item file."
   23       A. So, the question was do we want to            23           Correct?
   24   remove it or not.                                    24       A. Yes.

                                                 Page 235                                                        Page 237
    1       Q. Okay. So, you had put restrictions on          1       Q. So, so that we have the chronology
    2   these stores. And does that go back to the -- to      2   correct with these stores, these were stores that
    3   the stores that Cardinal Health had red-flagged       3   Cardinal Health had red-flagged and was not
    4   that you had put the restrictions on so that those    4   shipping controlled substances to, correct?
    5   orders wouldn't go to Cardinal Health?                5       MR. LEVINE: Objection; asked and answered.
    6       A. Those are the only ones I'm aware of,          6   BY THE WITNESS:
    7   yes.                                                  7       A. I'm assuming based on what we have
    8       Q. So, that would be what you're talking          8   talked about previous, yes.
    9   about here?                                           9   BY MR. GADDY:
   10       A. Yes.                                          10       Q. Okay. And to make that happen, to make
   11       Q. And if we flip the page, at the bottom        11   the orders not go to Cardinal Health, you had had
   12   of the page we see that Denny chimes into the        12   to put restrictions on them?
   13   conversation and says, "Once the stores are          13       A. Yes, we did put restrictions on.
   14   transitioned to either ABC or ANDA, then yes."       14       Q. And what you're contemplating here is
   15           Do you see that?                             15   removing those restrictions so that those stores
   16       A. Yes, I do.                                    16   can now be serviced by AmerisourceBergen?
   17       Q. And is ANDA another jobber that you all       17       A. We were asked to remove those stores
   18   have utilized from time to time?                     18   from a file and, yes, we did do that.
   19       A. At the time, yes, it was.                     19       Q. Okay. And, so, your understanding was
   20       Q. Okay.                                         20   that those orders would now be cleared to go to
   21       A. I didn't remember that, though.               21   AmerisourceBergen so that AmerisourceBergen could
   22       Q. Okay.                                         22   fill those orders?
   23       A. I just saw it now. But, yes, we did           23       A. Yes.
   24   have that.                                           24       Q. During -- during the course of the

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    1   morning I've been asking you about several folks         1       Q. Do you know any of the factors that are
    2   that I see on e-mails, just ask if you know them or      2   considered in setting a line limit?
    3   know who they are. And I've asked you about              3       A. No, I do not.
    4   several members of the Rx integrity team, but I          4       Q. We looked at an e-mail earlier, and I
    5   think one person I neglected to ask you about was        5   can go back through and find it if we need to, but
    6   Ed Bratton. Do you know who that is?                     6   it -- the e-mail started out and said, "We
    7      A. Yes, I do.                                         7   instituted line limits for controlled substances in
    8      Q. Okay. How do you know Ed Bratton?                  8   June of 2012." Do you remember that?
    9      A. I met him in a meeting the other --                9       A. Yes, I remember something like that,
   10   about a week ago.                                       10   yes.
   11      Q. Okay. You have an understanding that              11       Q. Okay. Do you -- does that mean anything
   12   Ed Bratton had to provide some testimony on behalf      12   to you when you read that? Do you think yes,
   13   of Walgreens as a whole and that he was kind of         13   that's when I remember line limits going into
   14   doing some independent research to kind of learn        14   effect or do you just take the words as they're
   15   about Walgreens' historical policies and procedures     15   written?
   16   relating to controlled substances?                      16       A. I'm taking the words as they're written.
   17      A. Yes.                                              17       Q. If you didn't have that in front of you
   18      Q. Okay. And to help Mr. Bratton get ready           18   and I asked you when line limits went into effect,
   19   to provide that testimony, is that what you had a       19   would you have been able to give me any answer at
   20   conversation with him about?                            20   all?
   21      A. Yes.                                              21       A. No, I would not.
   22      Q. What topic in particular as it relates            22       Q. As it relates to controlled substances,
   23   to controlled substances policies and procedures        23   I think we have seen that you have gotten
   24   did you talk with Mr. Bratton about?                    24   directions or requests for solutions from Denny and
                                                    Page 239                                                     Page 241
    1       A. We talked about the excessive order               1   John Merritello, right?
    2   query.                                                   2       A. Yes.
    3       Q. Okay. Was there any other topic related           3       Q. Who else on the business side, and I'm
    4   to controlled substances that you talked with            4   just going back to, say, 2010, but who else on the
    5   Mr. Bratton about?                                       5   business side have you gotten direction or a
    6       A. No.                                               6   request from related to controlled substances?
    7       Q. Did you have any conversation with                7       A. Those are the only two that I can really
    8   Mr. Bratton about line limit reports?                    8   think of right now that would -- I would have
    9       A. No.                                               9   talked to.
   10       Q. Would you have known anything about the          10       Q. Okay. So, I think you told me earlier,
   11   line limit reports?                                     11   I wrote it down somewhere, but that you've received
   12       A. No, I wouldn't have.                             12   orders from anywhere from 50 to 60 folks on the
   13       Q. Would the line limit reports have been           13   business side over the course of your career,
   14   something done by a team such as yours on the           14   right?
   15   distribution center side or a team such Steve           15       A. Yes.
   16   Bamberg's on the store side?                            16       Q. But as far as going back to 2010, as far
   17       A. Steve Bamberg's on the store side.               17   as folks on the business side who gave you orders
   18       Q. Do you know as far as the line limit             18   or asked you to implement solutions or protocols
   19   reports who is charged with setting the line            19   related to controlled substances, you would limit
   20   limits?                                                 20   that to Denny and John?
   21       A. No, I do not.                                    21       A. Yes, I would.
   22       Q. Do you know what criteria is involved in         22       Q. I will show you what I will mark as
   23   setting a line limit?                                   23   Peterson 27. It's P-WAG-2014.
   24       A. No, I do not.                                    24              (WHEREUPON, a certain document was

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    1               marked Walgreens-Peterson Exhibit             1   for five examples that we pulled. Please give me a
    2               No. 27: 10/5/12 e-mail string with            2   call when you're available to walk through the
    3               attachment; WAGMDL00278108 -                  3   example."
    4               00278111.)                                    4           Do you see that?
    5   BY MR. GADDY:                                             5       A. Yes, I see that.
    6       Q. Let's flip to the second page, please,             6       Q. Okay. And if you flip back to the last
    7   and go down to the bottom of the page so we can see       7   page and go up to the next e-mail in the chain, it
    8   the first e-mail in this chain.                           8   looks like Jenny forwards this -- excuse me. It
    9       A. Yes.                                               9   looks like Denny forwards this to John Merritello.
   10       Q. And, again, we got, to get our bearing,           10           Do you see that?
   11   this is -- this is an e-mail from October of 2012,       11       A. Yes.
   12   right?                                                   12       Q. And if you flip the page one more time,
   13       A. Yes.                                              13   it looks like John sends it along to you.
   14       Q. So, this is going to be, to kind of put           14           Do you see that?
   15   it in context with some other things we have been        15       A. Yes, I do.
   16   talking about today, this is after the                   16       Q. Okay. Do you recall this e-mail or this
   17   September 2012 Order to Show Cause to the Jupiter        17   issue that you were asked to work on by John
   18   distribution center but before the Perrysburg stuff      18   Merritello?
   19   starts. Does that sound right to you in context?         19       A. No, I do not recall it.
   20       A. Yes, sounds about right.                          20       Q. John writes, "Doug - looks like the
   21       Q. So, at this point in time, Walgreens is           21   entire quantity is going through to Cardinal for
   22   still working with and utilizing Cardinal Health as      22   C-II. I do see an ISN reason code 31 but Cardinal
   23   a distributor -- as a jobber I should say?               23   is showing we are transmitting the entire quantity.
   24       A. It's very possible, yes. I don't                  24   The store is showing 7 for an order. Can you
                                                    Page 243                                                         Page 245
    1   remember exactly, though.                                 1   check?"
    2      Q. I understand. And it looks like this                2           Did I read that right?
    3   e-mail is from Angie Thomas and she has a Cardinal        3       A. Yes.
    4   Health e-mail address?                                    4       Q. Can you -- there are a couple of
    5      A. Yes.                                                5   acronyms or codes in there that don't mean anything
    6      Q. And she writes to Denny and it looks                6   to me.
    7   like Barb Martin is copied, correct?                      7           Can you explain to me what John is
    8      A. Yes.                                                8   saying in that couple of sentences?
    9      Q. And the subject line is "Walgreens Line             9       A. It appears that we wrote an insufficient
   10   Limit Data for Blanks."                                  10   notice for reason code of 31, which I'm not 100%
   11          Do you see that?                                  11   sure what it was, but we still were transmitting
   12      A. Yes, I do.                                         12   the quantity to Cardinal.
   13      Q. Does that subject line in and of itself            13       Q. Okay. Flip to the last page for me, if
   14   mean anything to you?                                    14   you don't mind, which is going to be the report or
   15      A. No, it does not.                                   15   the attachment. Do you see that?
   16      Q. Do you know what is meant by "for                  16       A. Yes, I see it.
   17   blanks"?                                                 17       Q. And if you look at the top entry level,
   18      A. No.                                                18   I think this is the one that John referred to,
   19      Q. If you turn the page, we see the body of           19   Walgreens drug, it looks like, store is 5338.
   20   the e-mail and Angie writes, "Denny, I just got off      20           Do you see that?
   21   the phone with Dave Reiter and he suggested              21       A. Yes.
   22   reaching out to you directly with the examples of        22       Q. And it has a customer number, correct?
   23   orders exceeding line limits and the original usage      23       A. Yes.
   24   provided. You will also receive the actual blank         24       Q. And DC, is that a distribution center

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    1   number?                                               1       Q. And the quantity that was shipped is
    2       A. Yes.                                           2   also 24, correct?
    3       Q. And then it has a CIN and then a               3       A. Yes.
    4   description and it looks like for the first line      4       Q. And what was the line limit?
    5   they are talking about Methadone, correct?            5       A. 17.
    6       A. That's what the document says, yes.            6       Q. So, this document here is indicating
    7       Q. And as you continue over to the right,         7   that this store was allowed to order oxycodone in
    8   you see the GCN, the invoice date, the blank ID,      8   excess of its line limit?
    9   the invoice number, the order number, and then you    9       A. That's what the form would indicate, but
   10   see the original order quantity.                     10   I'm not quite sure of this document and where
   11           Do you see that?                             11   they're getting line limits. So, I can't conclude
   12       A. Yes, I do.                                    12   that.
   13       Q. And, so, for this particular store for        13       Q. I understand that. But you see that
   14   this particular product they ordered 7.              14   that's what the document indicates?
   15           Do you see that?                             15       A. That's what the document indicates, yes.
   16       A. Yes.                                          16       Q. Okay. And if we go back to the first
   17       Q. And it says, the next column is the           17   page of the e-mail, tell me if I'm wrong, but it
   18   shipped quantity, correct?                           18   looks like John Merritello is bringing this issue
   19       A. Yes.                                          19   or this problem to your attention and asking you to
   20       Q. And how many was shipped?                     20   look into it?
   21       A. It says 7.                                    21       A. Yes, it does appear that way.
   22       Q. Okay. And if we go to the next column,        22       Q. Okay. It looks like a couple days go
   23   it indicates Walgreens line limit.                   23   by. He follows back up with you two days later. I
   24           Do you see that?                             24   think he sends the first e-mail on October 1. He
                                                 Page 247                                                        Page 249
    1      A. Yes, I do.                                      1   follows back up on October 4 asking if you had a
    2      Q. And the line limit is only two for that         2   chance to look into it.
    3   product, correct?                                     3           Do you see that?
    4      A. Yes.                                            4       A. Yes.
    5      Q. So, does this document indicate that            5       Q. And in the top e-mail you respond on
    6   this particular store was shipped seven units of      6   October 5 and give him some information on what you
    7   this particular drug, Methadone, which is over and    7   were able to find out.
    8   above the two, which is the line limit?               8           Do you see that?
    9      A. The form would indicate that, yes.              9       A. Yes.
   10      Q. Okay. And just to give you one more            10       Q. As we've gone through this e-mail and
   11   example, if you go down to the last entry on the     11   looked at the chart and looked at kind of the
   12   page do you see there is an entry for Walgreen       12   timeline here, do you recall this issue now?
   13   store 10204?                                         13       A. I don't -- I don't recall this
   14      A. Yes.                                           14   particular issue, but it would be something that
   15      Q. And that that particular entry is              15   would fall into our support if there was an issue.
   16   related to oxycodone?                                16       Q. And this would be the type of thing that
   17      A. Yes.                                           17   from time to time you were asked to look into and
   18      Q. And next to there it's indicated that          18   craft or implement some type of solution to prevent
   19   that's a Schedule II controlled substance?           19   there being holes like this in the system?
   20      A. Yes, it does.                                  20       MR. LEVINE: Objection to form.
   21      Q. And if we follow over to the columns on        21   BY THE WITNESS:
   22   the right-hand side of the chart, you see that the   22       A. It's possible, yes.
   23   order quantity that was requested is 24, correct?    23   BY MR. GADDY:
   24      A. Yes.                                           24       Q. This is the type of thing that you and

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    1   your team does from time to time?                      1   Jupiter that were allowing the stores to order
    2       A. We investigate issues, yes.                     2   product in excess of the line limit?
    3       Q. You say that "I was asked by John               3       A. It's saying there is possibly an issue,
    4   Merritello if our current system would adjust C-II     4   but does not identify if there is or not. That's
    5   jobber orders if there was a line limit on an item.    5   why I was asking help from someone else.
    6   Because Jupiter is sending everything to the           6       Q. Okay. Well, you were sent a spreadsheet
    7   jobbers, I took a quick look at Jupiter and noticed    7   that had several examples of several stores that
    8   that were line limit insufficient codes on working     8   had been permitted to order C-IIs over their line
    9   order scan. Therefore, I assume we were sending        9   limit, correct?
   10   line limit insufficients to the stores. But the       10       A. That spreadsheet that's attached to here
   11   e-mail below suggested that I assume incorrectly."    11   showed that, yes.
   12           Do you see that?                              12       Q. And, so, it looks like that was an issue
   13       A. Yes, I do.                                     13   as it related to orders coming through the Jupiter
   14       Q. Does that make sense to you?                   14   distribution center and you were asking somebody to
   15       A. Yes.                                           15   try to look into that and try to help you out?
   16       Q. Okay. Can you explain it to me? I              16       A. Yes.
   17   don't completely follow.                              17       Q. Do you remember whether or not you were
   18       A. It looks like our programs were working        18   able to solve that issue?
   19   as they were supposed to and we were -- were          19       A. No, I do not remember.
   20   creating insufficients, but it also looks like we     20       Q. Do you know whether or not the order
   21   were still sending the order quantity on.             21   processing system was ever remedied to prevent
   22       Q. Okay. Even if it was being ordered in          22   stores from ordering controlled substances above
   23   excess of the line limit?                             23   their line limit?
   24       A. Yes.                                           24       A. I don't remember a change like that, no.

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    1       Q. Do you know how long that was happening         1       Q. Is it possible that you weren't able to
    2   for?                                                   2   fix that problem?
    3       A. No, I do not remember.                          3       A. Anything is possible, but I believe we
    4       Q. Okay. You say, "I then looked at the            4   would have fixed it.
    5   jobber history file and saw that the insufficient      5       Q. Do you know how long it would have taken
    6   code for the item below was 10 (no regular             6   you?
    7   quantity). This suggests to me that once OP" --        7       A. I don't remember.
    8   what's OP?                                             8       Q. Do you know how long stores were able to
    9       A. Order processing. That's a system that          9   order controlled substances above their line limits
   10   we run our orders through.                            10   before this problem was brought to your attention?
   11       Q. "This suggests to me that once order           11       A. No, I do not remember.
   12   processing determines that an item is insufficient    12       Q. I will show you what I will mark as
   13   for no regular quantity that it does not check any    13   Peterson No. 28. It's two pages, but I'm pretty
   14   other insufficients (which is what I would expect).   14   sure it's the same document twice in a row.
   15   Is it possible that you or somebody else on your      15              (WHEREUPON, a certain document was
   16   team could verify this? Any help would be             16               marked as Walgreens-Peterson
   17   appreciated."                                         17               Exhibit No. 28: Document,
   18           Do you see that?                              18               "Handling Suspicious Drug Orders";
   19       A. Yes, I do.                                     19               WAGFLDEA00001584 - 00001855.)
   20       Q. So, for some period of time we                 20   BY MR. GADDY:
   21   understand from this issue that you had to -- that    21       Q. Do you recognize this document?
   22   you were asked to look into and investigate by John   22       A. No, I do not recognize this.
   23   Merritello that there was an issue within the order   23       Q. Do you know if you've ever seen this
   24   processing system for C-IIs being ordered out of      24   before?

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    1       A. To the best of my knowledge, I've never              1       MR. LEVINE: In other words, they are both two
    2   seen this before.                                           2   pages but the order is switched.
    3       Q. Okay. I'm just going to ask you a                    3       MR. GADDY: Okay. Mark, let me give this to
    4   couple questions about it.                                  4   you first. Does that look like what you have?
    5           Do you see below the text there it says             5       MR. LEVINE: That's the first page of what I
    6   that -- the last thing written is that this policy          6   got.
    7   originated 9/8/98, and then right above it it says          7       MR. GADDY: Okay.
    8   it was revised 2/15/05?                                     8   BY MR. GADDY:
    9       A. Yes, I see that.                                     9       Q. I'm only going to -- I'm only going to
   10       Q. If we go down to the bottom of the page,            10   show you the first page. Okay? I think you got
   11   do you see an address that looks like this document        11   the right one now.
   12   came from the Walgreens intranet?                          12       A. Yes.
   13       A. Yes, I would call that the Walgreen                 13       Q. Okay. All right. Thanks for pointing
   14   Internet.                                                  14   that out, Mr. Peterson. All right. Let's start
   15       Q. Okay.                                               15   over.
   16       A. Intranet I mean.                                    16           You have Peterson 28 in front of you?
   17       Q. Sure. And are you familiar with the                 17       A. Yes, I do.
   18   concept that Walgreens at least at some places in          18       Q. Okay. And, again, if you look at the
   19   some times maintained some types of policies or            19   bottom of the page, do you see the indication of
   20   procedures on that intranet that its employees             20   the Walgreens intranet?
   21   could access?                                              21       A. Yes, I do.
   22       A. I understand that the distribution                  22       Q. Okay. And if you go back up to the top,
   23   centers write their own SOPs. I don't normally --          23   is the name of the document "Handling Suspicious
   24   I never look at them. But yes.                             24   Drug Orders"?

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    1       Q. The reason I wanted to ask you about                 1       A. Yes.
    2   this one is because it references Logistics and             2       Q. And same, the dates look to be the same
    3   Planning Department. So let me just read this to            3   as I read earlier, "Originated 9/8/98. Revised
    4   you and then ask if this is anything that you were          4   2/15/05." Is that correct?
    5   involved with.                                              5       A. Yes, it is.
    6            It says, "The Logistics and Planning               6       Q. Okay. And let's try again with the body
    7   Department sends the Suspicious Control Drug Orders         7   of the document. It says, "The Logistics and
    8   report to all distribution centers."                        8   Planning Department sends the Suspicious Control
    9            Do you see that?                                   9   Drug Orders report to all distribution centers."
   10       A. Yes, I do.                                          10           Do you see that?
   11       Q. Okay. It says -- let me pause there and             11       A. Yes, I do.
   12   ask you a couple questions about that.                     12       Q. Are you aware of what the Logistics and
   13            The Logistics and Planning Department.            13   Planning Department is?
   14   Do you know what that is?                                  14       A. No, I don't. I mean -- let me. Sorry.
   15       A. I'm sorry. Go back up one second. Mine              15   I know what Logistics and Planning Department is,
   16   is a little different than your document.                  16   yes.
   17       Q. Okay. That's not good.                              17       Q. Okay.
   18       A. I mean, I don't -- I read it here, but I            18       A. Within Walgreens.
   19   don't see it on my document unless I'm misplacing          19       Q. Is that -- you're supply and logistics.
   20   it.                                                        20   Is that the same as or different than this?
   21       MR. LEVINE: It looks like the pages of what            21       A. It would be different than that.
   22   you handed to me are different than the pages that         22       Q. Okay. What is the Logistics and
   23   the witness has.                                           23   Planning Department?
   24       THE WITNESS: Yes.                                      24       A. Well, it's another division within

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    1   logistics that does more probably the planning --        1           Do you see that?
    2      Q. Are they --                                        2       A. Yes.
    3      A. -- area.                                           3       Q. It says, "Distribution centers must file
    4      Q. -- IT folks or?                                    4   all Suspicious Control Drug Order reports for five
    5      A. I'm -- from this e-mail, we don't have             5   years."
    6   an IT department that I know of that's called that.      6           You've already told us you don't know
    7   So, it looks like it's a business area.                  7   what that means, right?
    8      Q. Are you able to give me like a                     8       A. True.
    9   30,000-foot view of what the Logistics and Planning      9       Q. It goes on to say, "Effective calendar
   10   Department does?                                        10   year 2012, the Controlled Substance Order
   11      A. No, I couldn't.                                   11   Monitoring and Prevention System."
   12      Q. Okay.                                             12           Let me stop right there.
   13      A. Off the top of my head, no.                       13           Do you know what that is?
   14      Q. Okay. It says that that particular                14       A. No, I do not.
   15   department sends the control -- the Suspicious          15       Q. It says that particular system,
   16   Control Drug Orders report to all distribution          16   "prevents suspicious control drugs from being
   17   centers.                                                17   shipped to the store. In calendar year 2012,
   18           Do you see that?                                18   because of the program mentioned, suspicious
   19      A. Yes, I see that.                                  19   control drug reports are no longer generated as
   20      Q. Do you know what a Suspicious Control             20   their shipment is prevented by the system."
   21   Drug Order report is?                                   21           Do you see that?
   22      A. No, I do not.                                     22       A. Yes.
   23      Q. Have you ever heard of that phrase                23       Q. Now, Mr. Peterson, when I read that, it
   24   before?                                                 24   occurred to me that it sounded like that was
                                                     Page 259                                                       Page 261
    1      A. No.                                                1   something that was probably designed or implemented
    2      Q. Okay. I'm going to show you what I'm               2   by an IT department.
    3   going to mark as Peterson 29.                            3           So, my question for you is, based on
    4             (WHEREUPON, a certain document was             4   what we just read, does that sound familiar to you
    5              marked as Walgreens-Peterson                  5   as any type of program or protocol or solution that
    6              Exhibit No. 29: Document,                     6   you or your team was ever asked to implement during
    7              "Handling Suspicious Orders and               7   your time at Walgreens?
    8              Loss of Controlled Drugs";                    8       A. No, it is nothing I'm familiar with.
    9              WAGFLDEA00000028.)                            9       Q. Okay. Is that anything that you've ever
   10   BY MR. GADDY:                                           10   heard of, even if it's not you or your team, any of
   11      Q. And this should be a one-page document,           11   the other IT teams at Walgreens being involved in
   12   right?                                                  12   as far as designing a system that would prevent
   13      A. Yes, it is.                                       13   suspicious control drugs reports from being
   14      Q. And we should see the Walgreens intranet          14   generated?
   15   down at the bottom of the page again?                   15       A. No, I'm -- no, I'm not. I do not know.
   16      A. Yes.                                              16       Q. When you had the opportunity to talk
   17      Q. And, again, looking at the chronology of          17   with Mr. Bratton, did any of your conversations
   18   this particular policy, do you see that it              18   revolve around suspicious order -- or excuse me --
   19   originated in '98, revised in 2005 and revised          19   Suspicious Control Drug Order reports?
   20   again in April of 2012?                                 20       A. No.
   21      A. Yes.                                              21       Q. In any of your conversations with
   22      Q. And the policy here is or the title is            22   Mr. Bratton, did you tell him that the excessive
   23   "Handling Suspicious Orders and Loss of Controlled      23   order queries were designed to detect suspicious
   24   Drugs."                                                 24   orders of controlled substances?

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    1      A. No, I did not.                                  1      A. Yes, I do.
    2      Q. And you agree that the suspicious order         2      Q. "I know you are out of hydrocodone" --
    3   query -- excuse me -- the excessive order queries     3   excuse me. Did I say hydrocodone? I meant
    4   was not designed by you to be a tool required by      4   oxycodone.
    5   the Controlled Substance Act to monitor or detect     5      A. Okay.
    6   for suspicious orders of controlled substances?       6      Q. It says, "I know you are out of
    7      A. No, it was not.                                 7   oxycodone again. The vendor was able to secure
    8      Q. I will show you what I'll mark as               8   some more supply and will be overnighting 5,136
    9   Peterson 30.                                          9   tomorrow and shipping 31,680 ground. I know it
   10             (WHEREUPON, a certain document was         10   won't last you that long but it's the most I could
   11              marked as Walgreens-Peterson              11   obtain at this time."
   12              Exhibit No. 30: 2/11/11 e-mail            12          Do you see that?
   13              string; WAGFLDEA00000891 -                13      A. Yes, I do.
   14              00000901.)                                14      Q. And if you flip the page, do you see the
   15   BY MR. GADDY:                                        15   signature block for Victoria Lau and it indicates
   16      Q. Again, the format is a little funky            16   that she's a replenishment buyer?
   17   here. This is going to be P-WAG-1016.                17      A. Yes, it does.
   18          The format is a little funky here, but        18      Q. Are you familiar with that position at
   19   you recognize this to be another e-mail chain?       19   Walgreens?
   20      A. Yes, it looks that way, yes.                   20      A. I'm familiar with buyers, yes.
   21      Q. Okay. And if you flip to the Bates             21      Q. Generally speaking, what would her role
   22   number ending in 900.                                22   be?
   23      A. Yes.                                           23      A. To replenish. They buy product for
   24      Q. And you see that this is an e-mail             24   our...
                                                 Page 263                                                  Page 265
    1   starting on the top left-hand corner of the           1      Q. So, as it relates to this particular
    2   page from Victoria Lau and it looks like it's to      2   e-mail, it's talking about a particular store or
    3   Kristine Atwell.                                      3   stores needing oxycodone, Victoria would be in
    4           Do you see that?                              4   charge of buying the oxycodone from, I guess, the
    5       A. Yes, I do.                                     5   manufacturers that would sell it. Is that your
    6       Q. And do you know who either of those            6   understanding?
    7   individuals are?                                      7      A. I'm not 100% sure about her herself, but
    8       A. No. I do not.                                  8   based on the e-mails, it looks like she's helping
    9       Q. And the subject of this e-mail is              9   to procure some medicine.
   10   "Oxycodone 30 milligram tab"?                        10      Q. And that's your general understanding of
   11       A. Yes.                                          11   what the buyers do?
   12       Q. At this point in time, in February of         12      A. Basically, yes.
   13   2011, the excessive order query that you designed    13      Q. Okay. If you turn up a page or two,
   14   back in the early '90s was -- was operational and    14   we'll start at 898.
   15   in effect, correct?                                  15      A. Okay.
   16       A. As far as I know, yes.                        16      Q. And it looks like Kristine responds to
   17       Q. The e-mail from Victoria says,                17   Victoria. Do you see that? It's starting in the
   18   "Kristine, I know you're out of WIC 682971 again."   18   middle of the page.
   19           Do you see that?                             19      A. Yes, I do.
   20       A. Yes.                                          20      Q. Okay. And then if you flip to the next
   21       Q. And just so we can make sure we know          21   page, we're still in the same subject line, the
   22   what that is, if you look up in the subject of the   22   "Oxycodone 30 milligram tablets."
   23   e-mail, do you see that same number indicating the   23           Do you see that?
   24   hydrocodone?                                         24      A. Yes.

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                                                    Page 266                                                  Page 268
    1       Q. And it looks like Kristine says,                  1           Do you see that?
    2   "I received a small pallet today but they were           2       A. Yes.
    3   oxycodone 15s and not 30s."                              3       Q. "It has been confirmed" -- excuse me.
    4           Do you see that?                                 4           "It hasn't been confirmed but I am
    5       A. Yes, I do.                                        5   hearing that this is mainly an issue in Florida and
    6       Q. Do you have a general understanding that          6   it pertains to the issues surrounding the pain
    7   many drugs, including oxycodone, can be different        7   clinics and dispensing."
    8   strengths?                                               8           Do you see that?
    9       A. Yes, I know they can have different               9       A. Yes, I see it.
   10   strengths.                                              10       Q. In the February 2011 time frame when
   11       Q. For example, oxycodone can come in 15            11   this particular e-mail traffic is happening within
   12   milligram pills or 30 milligram pills?                  12   Walgreens, that excessive order query that you
   13       A. Not familiar with that particular one            13   designed in the early '90s continued to be
   14   but...                                                  14   operational, correct?
   15       Q. You see in the subject line she is               15       MR. LEVINE: Objection; asked and answered,
   16   talking specifically about hydrocodone 30 milligram     16   form.
   17   pills?                                                  17   BY THE WITNESS:
   18       A. Yes.                                             18       A. To the best of my knowledge, yes.
   19       Q. And you have a general understanding             19   BY MR. GADDY:
   20   that a 30 milligram pill would be a stronger pill       20       Q. Flip two pages for me, please, to 896.
   21   than the 15 milligram pill?                             21   Are you with me?
   22       A. Would be a higher dosage?                        22       A. Yes, I am with you now.
   23       Q. Correct.                                         23       Q. And it looks like Kristine responds at
   24       A. Yes.                                             24   the bottom of the page. She says, "You are exactly
                                                     Page 267                                                 Page 269
    1      Q. Kristine says, "I received a small                 1   correct regarding the Florida pain clinics. I have
    2   pallet today but they were oxycodone 15s, not 30s.       2   stores that try to order 1,000 bottles per week. I
    3   Can you confirm that the 30s were set to delivery        3   have alerted their pharmacy supervisors, but they
    4   today? Also, how long will we continue to struggle       4   have all said that they require that much to fill
    5   getting this product if the manufacturer is              5   scripts."
    6   producing?"                                              6           Do you see that?
    7           Do you see that?                                 7       A. Yes.
    8      A. Yes, I see it.                                     8       Q. And we see there Kristine Atwell's
    9      Q. If you flip the page, it looks like we             9   signature block that she is the C-II function
   10   see the response and she says, "Hi Kristine, I will     10   manager at Jupiter?
   11   follow up again with the vendor to see if I can         11       A. Yes.
   12   obtain tracking. I did alert them that you were         12       Q. Do you have an understanding of the role
   13   out of 30 and that is what they were supposed to        13   of the C-II function manager?
   14   overnight. I'll keep you posted on their                14       A. They manage the distribution center
   15   response."                                              15   there. That's my understanding.
   16           Do you see that?                                16       Q. And specifically they would manage the
   17      A. Yes, I do.                                        17   controlled substances for the distribution center?
   18      Q. She goes on to say, "The issue with this          18       A. With hers, yes. Hers is C-II.
   19   item is the usage keeps increasing."                    19       Q. Would your understanding be that -- we
   20           Do you see that?                                20   have talked about Deb Bish a little bit -- that she
   21      A. Yes.                                              21   would have an equivalent position at the Perrysburg
   22      Q. "It's nearly doubled in usage in one              22   distribution center?
   23   year and the C-II manufacturers have quotas on what     23       A. Yes, I think so.
   24   they can ship per the DEA."                             24       Q. Okay. If you flip for me, please, to

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    1   894. And it looks like we get Victoria's response     1   9/23/09?
    2   to Kristine, and we see it at the bottom of the       2      A. Yes.
    3   page.                                                 3      Q. And below that it says "Suspicious
    4           And she says, "1000/ week per store?          4   Order"?
    5   That is unbelievable. Well, I did hear back from      5      A. Yes. I see that.
    6   the vendor and below was her response. I hope this    6      Q. Below "Suspicious Order" it has it looks
    7   helps you out."                                       7   like a month start and end date of 9/1 through
    8           And if we turn the page, we see a report      8   9/30.
    9   from the vendor. It says, "Victoria, as promised,     9           Do you see that?
   10   a total of 5,136 units of the Oxy 30 milligrams      10      A. Yes, I do.
   11   were shipped to Jupiter Florida yesterday for        11      Q. And then down below that, do we see
   12   delivery today. UPS tracking shows this order on     12   several -- I guess let's start in the chart, start
   13   the truck for delivery. In addition to these 5,136   13   on the left-hand side, it looks like it has a
   14   units we also shipped a total of 31,680 units out    14   district number and then a store number.
   15   yesterday via regular delivery. I am working on      15           Do you see that?
   16   getting that tracking as we speak."                  16      A. Yes.
   17           Do you see that?                             17      Q. And it looks like on this particular
   18       A. Yes.                                          18   page it's the same store?
   19       Q. So, it looks like Victoria was able to        19      A. Yes.
   20   secure these approximately 36,000 additional         20      Q. And then to the -- to the right of that
   21   oxycodone 30s for the Walgreens Jupiter              21   we have a WIC number and then an item description.
   22   distribution center, correct?                        22           Do you see that?
   23       MR. LEVINE: Objection; lacks foundation.         23      A. Yes, I do.
   24   BY THE WITNESS:                                      24      Q. And the column to the right of that

                                                 Page 271                                                         Page 273
    1        A. I wouldn't know that myself.                  1   would be the order date and then there is a reason
    2   BY MR. GADDY:                                         2   code.
    3        Q. Okay. Is that what Victoria has               3           Do you see that?
    4   indicated in her e-mail there?                        4       A. Yes, I see them.
    5        MR. LEVINE: Objection; lacks foundation.         5       Q. So, it looks like at the bottom of the
    6   BY THE WITNESS:                                       6   list there is three separate orders for OxyContin.
    7        A. I don't really know.                          7           Do you see that?
    8   BY MR. GADDY:                                         8       A. Yes.
    9        Q. Okay. I'm going to show you what I'm          9       Q. And if we go chronologically, it looks
   10   going to mark as Peterson 31.                        10   like the bottom entry is the earliest order date,
   11              (WHEREUPON, a certain document was        11   right, 9/2/09?
   12               marked as Walgreens-Peterson             12       A. Yes.
   13               Exhibit No. 31: Document,                13       Q. And it looks like it was an order for 40
   14               "Threshold Violations-Monthly";          14   milligram tablets. What does -- does the 100 mean
   15               WAGMDL00674619.)                         15   anything to you? Is that 100 pills, 100 bottles,
   16   BY MR. GADDY:                                        16   do you know?
   17        Q. Can you tell me what this report is?         17       MR. LEVINE: Objection; lacks foundation.
   18        A. No, I am not familiar with this report.      18   BY THE WITNESS:
   19        Q. Do you see up at the top center of the       19       A. I'm not sure.
   20   page that's underlined it says "Threshold            20   BY MR. GADDY:
   21   Violations-Monthly"?                                 21       Q. And the reason -- and this is -- the
   22        A. I see that, yes.                             22   reason code, and do you know what the reason code
   23        Q. You see to the right of that up top,         23   of T means?
   24   it's got an order or -- excuse me -- a date of       24       A. No, I do not.

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    1       Q. Do you know why this order for OxyContin        1   format as the last one that we looked at?
    2   ended up on this particular suspicious order           2       A. Yes, it looks like the same.
    3   report?                                                3       Q. Again, it says "Threshold
    4       A. No, I do not.                                   4   Violations-Monthly" at the top?
    5       Q. Above that, there is another order from         5       A. Yes.
    6   the store for OxyContin 20 milligram tablets, again    6       Q. And it looks like right above that it
    7   100, ordered on September 10 of 2009, and it's also    7   says, "MartinB." I'm guessing that might be for
    8   listed here as a suspicious order.                     8   Barb Martin. Do you know whether or not that's
    9           Do you see that?                               9   true?
   10       A. Yes, I do.                                     10       A. I'm not sure.
   11       Q. And, again, the same reason code of T is       11       Q. And, again, the date to the top right
   12   given.                                                12   corner is 9/23/09, and you see there that it
   13           Do you see that?                              13   lists -- has the term "Suspicious Order"?
   14       A. Yes.                                           14       A. Yes, I see that.
   15       Q. And do you know whether that means             15       Q. Okay. And if we look at this report, we
   16   threshold or do you know what that means at all?      16   see two entries at the bottom of the page for
   17       A. I do not know what that reason code is.        17   OxyContin which are both listed here as suspicious
   18   I'm not familiar with this particular screen or       18   orders. Do you see that?
   19   piece of paper you're showing me.                     19       A. Yes, I do.
   20       Q. Okay. Above that we see a third order          20       Q. And do you see about three or four up
   21   for OxyContin. This time, 20 milligram tablets,       21   from that there is an order for hydrocodone that's
   22   again 100 units, for 9/13/09; and we also see that    22   listed here as a suspicious order.
   23   listed as a suspicious order here on this report,     23            Do you see that?
   24   correct?                                              24       A. Yes, I do.
                                                 Page 275                                                   Page 277
    1      A. Yes.                                             1       Q. And it looks like these are orders that
    2      Q. And do you know why that particular              2   were identified as suspicious back in September of
    3   order was listed as suspicious?                        3   2009.
    4      A. No, I do not.                                    4           Are you able to tell from this report
    5      Q. From looking at this report, do you have         5   whether or not any action was taken in response to
    6   any understanding of whether or not these orders       6   these orders being populated on this report?
    7   were shipped to the store?                             7       A. No, I do not.
    8      A. No, I can't tell that at all.                    8       Q. I'm showing you what I am going to mark
    9      Q. From looking at this report, do you know         9   as Peterson Exhibit 33. This report is a little
   10   whether or not these orders were reported to the      10   bit different. I'm going to show you this one.
   11   DEA?                                                  11              (WHEREUPON, a certain document was
   12      MR. LEVINE: Objection; lacks foundation.           12               marked as Walgreens-Peterson
   13   BY THE WITNESS:                                       13               Exhibit No. 33: Document, "Order
   14      A. No, I do not.                                   14               Item Detail"; WAGMDL00674553.)
   15   BY MR. GADDY:                                         15   BY MR. GADDY:
   16      Q. I'm going to show you what I'm going to         16       Q. This is going to be P-WAG-2093.
   17   mark as Peterson No. 32, which is a similar form.     17           I think the other ones that we said said
   18            (WHEREUPON, a certain document was           18   something along the lines of "Threshold Report" at
   19             marked as Walgreens-Peterson                19   the top. I think it said "Threshold Violations" on
   20             Exhibit No. 32: Document,                   20   the others. This one at the top says "Order Item
   21             "Threshold Violations-Monthly";             21   Detail."
   22             WAGMDL00674620.)                            22           Do you see that?
   23   BY MR. GADDY:                                         23       A. Yes, I do.
   24      Q. Does this look to you to be in the same         24       Q. Okay. Do you recognize this report?

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    1       A. No, I do not.                                  1             (WHEREUPON, a certain document was
    2       Q. Do you see in the -- again, above it, it       2              marked as Walgreens-Peterson
    3   says, "MartinB."                                      3              Exhibit No. 34: Documents,
    4           Do you see that?                              4              "Threshold Violations-Weekly";
    5       A. Yes.                                           5              WAGMDL00574576 - 00674594.)
    6       Q. And, again, in the top right-hand corner       6   BY MR. GADDY:
    7   we have the 8/25/09 date?                             7       Q. And, again, if we look at the top of
    8       A. Yes.                                           8   this page do we see the indication "Threshold
    9       Q. And below that it indicates, again, that       9   Violation-Weekly"?
   10   this is a suspicious order.                          10       A. Yes.
   11           Do you see that?                             11       Q. Okay. So, I think we looked at some of
   12       A. Yes, I do.                                    12   these that were monthly and some of these are
   13       Q. And under the "Item Description," which       13   weekly; and as far as you're concerned, you don't
   14   is right above the line that goes across the page,   14   know the difference between the two?
   15   do you indicate that the item being described here   15       A. No, I do not.
   16   is morphine sulfate?                                 16       Q. Okay. The top right-hand corner of the
   17       A. Yes.                                          17   page, we see that this is a document from
   18       Q. 30 milligram tabs?                            18   February 17, 2010?
   19       A. Yes.                                          19       A. Yes.
   20       Q. And if we go down to the bottom of the        20       Q. And, again, this indicates that what's
   21   page, I think maybe we get an answer to one of the   21   listed here are suspicious orders.
   22   questions I was asking you earlier. It says,         22           Do you see that?
   23   "Suspicious Reason Code."                            23       A. Yes.
   24           Do you see that at the very bottom?          24       Q. And the week range that they are talking
                                                 Page 279                                                 Page 281
    1       A. Yes, I do.                                     1   about here looks to be February 10 through
    2       Q. It says, "T - exceeds tolerance limit."        2   February 17.
    3           Do you see that?                              3           Do you see that?
    4       A. Yes, I do.                                     4       A. Yes.
    5       Q. During your time at Walgreens in the           5       Q. And if we start on the items that are
    6   supply and logistics IT department, have you done     6   listed there for one particular store, there's a
    7   any work that you can recall on controlled            7   listing for a hydrocodone product, correct?
    8   substance tolerance limits?                           8       A. Yes.
    9       A. No.                                            9       Q. And that's listed there as a suspicious
   10       Q. Are you aware of anybody in the supply        10   order? Do you see that?
   11   or logistics department within Walgreens who has     11       A. Yes, it's on the report, yes.
   12   done any work on any tolerance limits related to     12       Q. Okay. And if we skip down a little bit,
   13   controlled substances?                               13   there is a different store, 2003, that's also
   14       MR. LEVINE: Objection; lacks foundation.         14   listed here as having a suspicious order of
   15   BY THE WITNESS:                                      15   hydrocodone.
   16       A. No, I do not.                                 16           Do you see that?
   17   BY MR. GADDY:                                        17       A. Yes, I do.
   18       Q. Do you have an opinion on whether that        18       Q. And as we continue to go down, we see
   19   would be somebody on the distribution side or        19   similar suspicious order entries for codeine
   20   somebody on the store side like Steve Bamberg?       20   products, Tramadol, more hydrocodone and more
   21       A. It would not be distribution. Might be        21   Tramadol.
   22   stores.                                              22           Do you see that?
   23       Q. I'm just going to go through maybe one        23       A. Yes, I do.
   24   more of these. This is Peterson 34, P-WAG-2103.      24       Q. And if we look to the reason code to the

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                                                 Page 282                                                   Page 284
    1   right, several of these are indicated to be           1       A. Yes.
    2   suspicious orders because they're threshold           2       Q. And do you see here that I stands for
    3   violations. Do you see that, the T?                   3   substantial inventory adjustment?
    4      MR. LEVINE: Objection; lacks foundation.           4       A. Yes.
    5   BY THE WITNESS:                                       5       Q. I will show you one more of these from a
    6      A. I see the T, yes.                               6   different date range. This is going to be Peterson
    7   BY MR. GADDY:                                         7   35. It's going to be P-WAG-2102.
    8      Q. Do you recall we saw in the last                8             (WHEREUPON, a certain document was
    9   document that the T stood for the threshold           9              marked as Walgreens-Peterson
   10   violations?                                          10              Exhibit No. 35: Documents, "Order
   11      MR. LEVINE: Objection to form.                    11              Item Detail"; WAGMDL00674562 -
   12   BY THE WITNESS:                                      12              00674575.)
   13      A. Yes, I see that.                               13   BY MR. GADDY:
   14   BY MR. GADDY:                                        14       Q. And do you see, Mr. Peterson, at the top
   15      Q. I said threshold. I think maybe it's           15   of this report it again -- this is one of the order
   16   tolerance.                                           16   item detail reports. Do you see that?
   17      A. It's tolerance limit.                          17       A. Yes.
   18      Q. Do you mind just reading it out what the       18       Q. And it's from August 18, 2010, and it's
   19   T stands for there?                                  19   listed there that this is designating a suspicious
   20      A. "Exceeds tolerance limit."                     20   order.
   21      Q. And you see the T here on this form?           21           Do you see that?
   22      A. Yes.                                           22       A. Yes, I do.
   23      Q. There is also some Is on this form. Do         23       Q. And the item description here above the
   24   you know what those mean?                            24   line indicates hydromorphone.
                                                 Page 283                                                   Page 285
    1      A. No, I do not.                                   1           Do you see that?
    2      Q. If you don't mind, flip to page 579, the        2      A. Yes, I do.
    3   bottom right-hand corner. Let's see if we can         3      Q. And if we could go down to the bottom of
    4   figure out what the I stands for.                     4   the page, it's indicated that the reason that this
    5           Do you see this particular report says        5   item was flagged as suspicious is because it
    6   "Order Item Detail," from 2/17/10, "Suspicious        6   exceeds the tolerance limit?
    7   Order."                                               7      A. Yes.
    8           Do you see that?                              8      Q. From looking at this, do you have any
    9      A. Yes.                                            9   understanding as to what was done with this order
   10      Q. And if we look above "Order Item               10   after it was flagged on this suspicious order
   11   Detail," we have seen several that had -- it said,   11   report?
   12   "MartinB." This one says, "Ranick."                  12      MR. LEVINE: Objection to foundation.
   13           Do you see that?                             13   BY THE WITNESS:
   14      A. Yes, I do.                                     14      A. No, I do not.
   15      Q. Are you familiar with a Marcy Ranick?          15   BY MR. GADDY:
   16      A. No, I am not.                                  16      Q. If you turn to page 571. Do you see
   17      Q. If we look at the item description, we         17   here another one that indicates it's a threshold
   18   see that this particular suspicious order report     18   violation monthly report.
   19   relates to hydrocodone.                              19           Do you see that?
   20           Do you see that?                             20      A. Yes.
   21      A. Yes, I do.                                     21      Q. In the top right-hand corner, this is
   22      Q. And then at the bottom of the page,            22   from 8/3/2010 and, again, it's listed as being a
   23   again, we see the suspicious reason code and I is    23   suspicious order.
   24   given?                                               24           Do you see that?

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                                                                           Review
                                                     Page 286                                                   Page 288
    1       A. Yes.                                                1      Q. I will show you what I will mark as
    2       Q. And the date range that they're looking             2   Peterson 36.
    3   at here looks like it's June 2010 and the product          3              (WHEREUPON, a certain document was
    4   listed here on this suspicious order report is             4               marked as Walgreens-Peterson
    5   oxycodone.                                                 5               Exhibit No. 36: Document, "DEA
    6           Do you see that?                                   6               Compliance Documentation Update May
    7       A. Yes, I do.                                          7               14, 2008"; WAGMDL00491150 -
    8       Q. And the order or the reason that it's               8               00491152.)
    9   given is T, correct?                                       9   BY MR. GADDY:
   10       A. Yes.                                               10      Q. And do you see at the top of the
   11       Q. And we understand that that's a                    11   page this says, "DEA Compliance Documentation
   12   tolerance issue?                                          12   Update May 14, 2008."
   13       A. From previous conversations, yes.                  13           Do you see that?
   14       Q. Okay. Mr. Peterson, from time to time              14      A. Yes.
   15   have you participated in DEA compliance meetings          15      Q. And as far as who was invited, you see
   16   within Walgreens?                                         16   you are listed there at the end of the top row?
   17       A. I don't remember. Sounds like something            17      A. Yes, I do.
   18   I would, but I don't remember.                            18      Q. And other folks who were indicated
   19       Q. In what form or fashion would you expect           19   there, looks like Sean Barnes is there who we
   20   to have participated in DEA compliance meetings?          20   talked a little bit about this morning and Brian
   21       A. Just from a system perspective.                    21   Amend who is your direct superior, correct?
   22       Q. What aspect of --                                  22      A. He is today, yes.
   23       A. Computer.                                          23      Q. Do you recognize the other people in
   24       Q. I'm sorry.                                         24   this list here?
                                                       Page 287                                                 Page 289
    1      A. Computer side of our systems.                        1       A. Yes, I do.
    2      Q. What aspect of DEA compliance would you              2       Q. Are all of them within the IT
    3   have been involved in?                                     3   department?
    4      A. I'm really not sure. It would have been              4       A. Yes, all of them are. Sharon was --
    5   possibly -- I don't know. Just our distribution            5   was -- was a secretary in the IT department.
    6   center computer, our computer systems at our               6       Q. Okay. Anybody that was involved in this
    7   distribution center would be my representation for         7   meeting from the business side or from the legal
    8   any of those DEA meetings.                                 8   side?
    9      Q. If I say that you were involved or if                9       A. Dan Coughlin.
   10   you say that you were potentially involved with DEA       10       Q. What was Dan Coughlin's role?
   11   compliance meetings, compliance with what? What           11       A. He was a regional distribution manager
   12   would the focus have been?                                12   or -- he was over a series of distribution centers.
   13      A. I don't remember.                                   13       Q. Okay.
   14      Q. Okay.                                               14       A. So, he was like a regional manager.
   15      A. I don't remember.                                   15       Q. Was he -- since DEA's involved, I'm
   16      Q. Do you recall being given any laws or               16   going to make an assumption that he was over some
   17   regulations or industry standards or DEA handouts         17   of the controlled substance distribution centers,
   18   or policies or procedures that you would have had         18   is that right, or do you know?
   19   to make sure that Walgreens' systems were up to           19       A. I don't remember.
   20   speed on?                                                 20       Q. For the "Agenda" it says, "Gather a list
   21      A. That is not something I would normally              21   of any procedural or other DEA compliance-related
   22   get, and I don't remember if I did or did not.            22   changes since the last DEA audit - estimated as
   23   Would not have been in my -- what I would normally        23   late as 2006 for Sharon in order for her to update
   24   see in my job.                                            24   the compliance document."

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                                                   Page 290                                                          Page 292
    1          Do you see that?                                  1   ends in 151, again, from the invite list, I see Dan
    2      A. Yes, I do.                                         2   Coughlin on there. Is he the only person on that
    3      Q. Specifically as it relates to the DEA              3   list not in the IT department?
    4   compliance or -- excuse me -- to the DEA audit,          4       A. And Sharon.
    5   what does that mean to you?                              5       Q. Okay. And Sharon was the secretary that
    6      A. I'm not sure.                                      6   worked in the IT department?
    7      Q. Would DEA do audit of any of the IT                7       A. Yes.
    8   systems or computer systems?                             8       Q. Anybody from the legal department?
    9      A. I do not remember them doing that, no.             9       A. No.
   10      Q. Would DEA do audits of the distribution           10       Q. In doing -- performing your job with --
   11   centers?                                                11   within supply chain and logistics, do you ever have
   12      MR. LEVINE: Objection; lacks foundation.             12   to liaison with the legal department about any
   13   BY THE WITNESS:                                         13   issues?
   14      A. I'm not really sure.                              14       A. No. I do not.
   15   BY MR. GADDY:                                           15       Q. If you look on this page under "Summary
   16      Q. Can you help me understand what the               16   of discussion, General," Item B, it says, "DEA is
   17   purpose of -- purpose was of a DEA compliance           17   interested in procedures, reports and practices
   18   meeting such as this?                                   18   which document what controls are in place."
   19          And take your time and look through the          19           Do you see that?
   20   agenda if you want to and the different items that      20       A. Yes, I see that.
   21   are on here. And I think if you look at -- look         21       Q. What did that mean to you?
   22   through this, you'll see that there is a couple of      22       A. I'm not really sure.
   23   different meeting dates that are -- that are            23       Q. Do you recall being asked to gather any
   24   indicated in here.                                      24   types of policy or procedure or practice type
                                                     Page 291                                                        Page 293
    1       A. There looks like there was some requests          1 information and get that to the DEA?
    2   in here for IT to look at.                               2     A.   No, I do not. That wouldn't fall under
    3       Q. What types of issues?                             3 my work description.
    4       A. One would be looks like the pink label            4       MR. LEVINE: Good time for a break?
    5   for PSE on the first page. There were some inbound       5       MR. GADDY: Yeah, yeah. Sure.
    6   changes to an audit report that was listed down          6       THE VIDEOGRAPHER: We are going off the record
    7   there. That would have been an IT change. And I          7   at 3:06.
    8   think they repeat some of these in here. Pink            8             (WHEREUPON, a recess was had
    9   label again.                                             9              from 3:06 to 3:21 p.m.)
   10           So, yes, those would have been requests         10       THE VIDEOGRAPHER: We're back on the record at
   11   that we would have received from our business to --     11   3:21.
   12   to change our programs for.                             12   BY MR. GADDY:
   13       Q. Okay. So, would it be fair to say this           13       Q. Mr. Peterson, I'm going to show you what
   14   kind of follows the model that you have been            14   I've marked as Peterson 37, P-WAG-2042.
   15   telling us throughout the day, that you get a           15             (WHEREUPON, a certain document was
   16   request from business to implement a solution to a      16              marked as Walgreens-Peterson
   17   problem that they've identified?                        17              Exhibit No. 37: 2/5/13 e-mail with
   18       A. Yes.                                             18              attachments; WAGMDL00451632 -
   19       Q. Okay. Were you ever asked to -- to look          19              00451636.)
   20   at rules, regulations, statutes, DEA guidance           20   BY MR. GADDY:
   21   materials and try to come up with or implement your     21       Q. And you will see this is an e-mail, but
   22   own solutions?                                          22   then what I'm really going to ask you about are
   23       A. No.                                              23   some attachments, which are some more of these DEA
   24       Q. If you'd turn to the second page, which          24   quarterly meeting minutes.

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                                                         Page 294                                                Page 296
    1          Do you see that if you flip the page?                 1       A. Yes.
    2       A. Yes.                                                  2       Q. I don't know if he was on the last one.
    3       Q. Okay. Let's just start on the second                  3   Who is Shaun Anbil?
    4   page. And if you look at the top, it says,                   4       A. She's the secretary I believe.
    5   "Meeting Agenda & Minutes, "Quarterly DEA Meeting            5           No. Okay. Shaun is -- Shaun is the
    6   Minutes - November 15," and the date of the meeting          6   secretary.
    7   says 11/15/2012.                                             7       Q. Okay.
    8          Do you see that?                                      8       A. But she took over for Sharon.
    9       A. Yes, I do.                                            9       Q. Gotcha. Okay.
   10       Q. So, I think the first one we looked at               10       A. At some point and it looks like around
   11   before the break was back in 2008 and this one              11   the 12th.
   12   looks like it's in 2012. Do you see that?                   12       Q. Okay. That makes sense.
   13       A. Yes.                                                 13       A. I know both of the ladies. Sorry.
   14       Q. Okay. And if we look at the invitees,                14       Q. No problem. So, Sharon was the
   15   it looks like you are included on this list about           15   secretary for within the IT department in 2008?
   16   two-thirds of the way down; and there's a plus sign         16       A. Yes.
   17   next to your name, which I'm going to assume means          17       Q. But it looks like here in 2012
   18   that you were able to attend this particular                18   Shaun Anbil is filling her role?
   19   meeting.                                                    19       A. Yes.
   20          Do you see that?                                     20       Q. Okay. I also see Dan Coughlin on this
   21       A. Yes, I do see that.                                  21   list, and I think he was the person that you told
   22       Q. Okay. First let's look at the purpose                22   us before was from the business side, correct?
   23   of the meeting. It says, "Review" -- this is above          23       A. Yes.
   24   where the list is. It says, "Review and discuss             24       Q. Anybody else on this list that's not
                                                      Page 295                                                   Page 297
    1   any changes in our programs/procedures for handling          1   from IT?
    2   C-II through C-V controlled items and related                2       A. I'm not sure who Megan Eicker is.
    3   documents."                                                  3       Q. Okay. Anybody else that you don't know
    4           Do you see that?                                     4   of, know about?
    5       A. Yes, I do.                                            5       A. No. I know all the other names.
    6       Q. Do you remember this particular meeting?              6       Q. Okay. If you look down at the bottom of
    7       A. No, not this particular meeting, no.                  7   the page in the "Meeting Notes," it says, "Kathy
    8       Q. Do you remember being involved in                     8   Emery updated the document with Maspeth's
    9   quarterly DEA meetings where you would discuss               9   information," and Shaun sent the names to the
   10   changes in programs or procedures for handling              10   meeting participants.
   11   controlled substances?                                      11           Do you see that?
   12       A. I remember being in quarterly meetings               12       A. Yes.
   13   to discuss system changes for us.                           13       Q. The next section I obviously can't ask
   14       Q. And, again, would it be similar to some              14   you about.
   15   of the stuff we saw on the last document from 2008          15           Then it looks like there's a section
   16   where there are specific nuanced IT-related issues          16   related to Shaun reporting on an ARCOS-related
   17   that you were asked to look into?                           17   incident.
   18       A. Pretty -- yes.                                       18           Do you see that?
   19       Q. As you look at this list of attendees,               19       A. Yes.
   20   do you recognize anybody on the list who was not            20       Q. If you look on the next page, it looks
   21   from IT?                                                    21   like there was a particular action item which I'm
   22       A. Again, Shaun, as I stated in the last                22   not able to see that was assigned to loss
   23   one, Anbil. Anbil. Sorry.                                   23   prevention and management.
   24       Q. Oh. Shaun Anbil?                                     24           Do you see that?

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                                                        Page 298                                                   Page 300
    1       A. Yes.                                                 1          Mr. Peterson, how long have you been in
    2       Q. Is there anybody that we saw on that                 2   the IT department at Walgreens?
    3   attendance list, first of all, that was related or          3      A. 38 years.
    4   from the legal department?                                  4      Q. And how many of those 38 years have you
    5       A. No one I know on there, no.                          5   had involvement in drafting or coding computer
    6       Q. Was there anybody on there from the loss             6   programs?
    7   prevention department?                                      7      A. 35 of those years.
    8       A. Not that I recognize, no.                            8      Q. Is that the last 35 years?
    9       Q. In what capacity would IT interact with              9      A. Yes, the last 35 years.
   10   loss prevention and management?                            10      Q. Have you ever had any responsibility in
   11       A. Unless they had a request for something             11   designing Walgreens policies and procedures with
   12   for us to write a program for, that would be our           12   respect to suspicious order monitoring?
   13   only interaction.                                          13      A. No.
   14       Q. Do you recall ever receiving a request,             14      Q. Have you had any involvement in or is
   15   just going back to, say, 2010, from loss prevention        15   the suspicious order monitoring something that was
   16   to implement any programs or provide any solutions         16   outside your job area?
   17   to any issues that they had?                               17      MR. GADDY: Objection to form.
   18       A. No, I don't remember any.                           18   BY THE WITNESS:
   19       MR. GADDY: Mr. Peterson, thank you. Those              19      A. Yes.
   20   are all the questions I have for you today.                20   BY MR. LEVINE:
   21       THE WITNESS: Thanks.                                   21      Q. Were there others in the IT group at
   22       MR. LEVINE: I have a few questions.                    22   Walgreens who dealt with that issue?
   23                                                              23      A. Yes.
   24                                                              24      Q. And what group would that be in?
                                                      Page 299                                                      Page 301
    1                EXAMINATION                                    1       A. Store operations I believe it was.
    2   BY MR. LEVINE:                                              2       Q. Whose group is that?
    3      Q. Before we begin, just to speed things up              3       A. Steve Bamberg's.
    4   when we are doing it, I want you to take out the            4       Q. You testified that you, several times in
    5   following exhibits: One.                                    5   response to questions from Plaintiff's counsel,
    6          You have to look through your pile here.             6   that you came up with solutions when the business
    7          One. That's the real big one.                        7   presented a problem. Do you recall that?
    8      A. Okay.                                                 8       A. Yes.
    9      Q. That one is easy to find.                             9       Q. Are all the solutions you're talking
   10      A. Yes. I have 1 is right here.                         10   about that you came up with referring to developing
   11      Q. The next one is Exhibit 4. That's the                11   or coding computer programs?
   12   warrant.                                                   12       MR. GADDY: Objection to form.
   13      A. I got out of sequence. So, just give me              13   BY THE WITNESS:
   14   a second.                                                  14       A. Yes.
   15      Q. While you are looking for 4, because it              15   BY MR. LEVINE:
   16   might be in the same neighborhood, 6 as well.              16       Q. Let me ask this. What particular area,
   17      A. Here is 4.                                           17   if any, did you develop solutions in when presented
   18      Q. Also 34 and 35. Those are ones we went               18   with a problem by the business?
   19   over just before the break.                                19       A. Can you repeat the question? I'm sorry.
   20      A. This would be in this pile probably.                 20       Q. When the business presented a problem,
   21          You said 34 and 35, right?                          21   what was your -- what was the area where you came
   22      Q. Yes.                                                 22   up with a solution?
   23      A. Got them.                                            23       A. Oh, it would be -- we would write
   24      Q. All right. That's all.                               24   computer programs to satisfy their needs.

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                                                    Page 302                                                    Page 304
    1      Q. Were you able -- were you asked by the              1   seen that document before, Exhibit 4? The warrant.
    2   business to come up with any solutions to problems        2      MR. GADDY: I think the warrant is No. --
    3   besides writing computer programs?                        3      MR. LEVINE: I'm sorry. You're right.
    4      A. No.                                                 4   Exhibit 5. My mistake.
    5      Q. In your -- you said I think you're                  5   BY MR. LEVINE:
    6   involved in IT in logistics, is that right?               6      Q. My mistake. Why don't you get out
    7      A. Yes.                                                7   Exhibit 5?
    8      Q. In your role as a computer programmer in            8      A. I have to find 5.
    9   logistics, do you expect to be made aware of issues       9      Q. No problem. We can wait.
   10   with respect to the sale of prescription drugs in        10      A. I took out 4.
   11   your job at Walgreens?                                   11      Q. My mistake.
   12      MR. GADDY: Objection to form.                         12      MR. GADDY: Are you done with 1, Mark?
   13   BY THE WITNESS:                                          13   BY THE WITNESS:
   14      A. No.                                                14      A. No, I am not aware of --
   15   BY MR. LEVINE:                                           15   BY MR. LEVINE:
   16      Q. In your role as a computer programmer in           16      Q. Let me -- do you have Exhibit 5 in front
   17   logistics, do you expect to be made aware of the         17   of you now?
   18   reasons for DEA investigations?                          18      A. Yes, I do.
   19      MR. GADDY: Objection to form.                         19      Q. And do you recall being asked questions
   20   BY THE WITNESS:                                          20   about language in this Administrative Inspection
   21      A. No.                                                21   Warrant?
   22   BY MR. LEVINE:                                           22      A. Yes.
   23      Q. In your role as a computer programmer in           23      Q. Have you ever seen this document before?
   24   logistics, do you expect to be made aware of DEA         24      A. No, I have not.
                                                      Page 303                                                    Page 305
    1   findings on a Walgreens distribution center?              1       Q. I will have you look at Exhibit 6.
    2      MR. GADDY: Objection to form.                          2   That's a subpoena by the Justice Department Drug
    3   BY THE WITNESS:                                           3   Enforcement Administration.
    4      A. No.                                                 4       A. Don't tell me I mixed that up.
    5   BY MR. LEVINE:                                            5       Q. Do you have Exhibit 6 in front of you
    6      Q. In your role as a computer programmer in            6   now?
    7   logistics, do you expect to be made aware of              7       A. Yes, I do.
    8   Walgreens policies on diversion of controlled             8       Q. Is that a subpoena by the Justice
    9   substances?                                               9   Department Drug Enforcement Administration?
   10      MR. GADDY: Objection to form.                         10       A. Yes, it is.
   11   BY THE WITNESS:                                          11       Q. And you were asked questions about
   12      A. No.                                                12   language in this subpoena by Plaintiffs' counsel,
   13   BY MR. LEVINE:                                           13   is that right?
   14      Q. Now I ask you to take out these                    14       A. Yes.
   15   exhibits.                                                15       Q. Have you ever seen this document before?
   16           Exhibit 1 is the long document that              16       A. No.
   17   includes a number of documents relating to the DEA       17       Q. Did you have any involvement in
   18   investigation and the proceedings with respect to        18   responding to the subpoenas?
   19   Jupiter, the Jupiter facility. Do you recall that?       19       A. No.
   20      A. Yes.                                               20       Q. And, by the way, on the warrant we just
   21      Q. Have you ever seen this document before?           21   saw before, Exhibit 5, did you have any involvement
   22      A. No.                                                22   responding to the warrant?
   23      Q. If you look at Exhibit 4, that's the               23       MR. GADDY: Objection; form.
   24   warrant with respect to Perrysburg. Have you ever        24   BY THE WITNESS:

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                                                   Page 306                                                     Page 308
    1       A. No.                                             1      Q. What was your particular role with
    2   BY MR. LEVINE:                                         2   respect to the moving of inventory?
    3       Q. And on the Florida proceedings in               3      A. Would have been just been related to the
    4   Jupiter, did you have any involvement in responding    4   computer systems.
    5   to those?                                              5      Q. Did you have any role in the decision on
    6       A. No.                                             6   why to move the inventory?
    7       MR. GADDY: Objection to form.                      7      A. No.
    8   BY MR. LEVINE:                                         8      Q. There was a reference to moving
    9       Q. If you look now at Exhibit 34 of the            9   inventory to Mount Vernon. Did Mount Vernon
   10   ones I had you get out.                               10   distribute Class III to V controlled substances?
   11       A. Yep, right here.                               11      A. Yes.
   12       Q. Exhibit 34 says it's a "Threshold              12      Q. Are you aware of any DEA charges against
   13   Violations-Weekly" report of some sort.               13   Mount Vernon?
   14          Do you see that?                               14      MR. GADDY: Objection to form.
   15       A. Yes, I do.                                     15   BY THE WITNESS:
   16       Q. Have you ever seen this report before          16      A. No.
   17   today?                                                17   BY MR. LEVINE:
   18       A. No.                                            18      Q. And there is -- there is also
   19       Q. Did you work on this type of report            19   discussion, there was discussion during your
   20   during your time at Walgreens?                        20   earlier testimony about Woodland. Was Woodland a
   21       A. No.                                            21   C-II controlled substance distribution facility?
   22       Q. Look at Exhibit 35. It's an "Order Item        22      A. Yes.
   23   Detail" report of some sort.                          23      Q. Were you aware of any DEA charges
   24          Do you see that?                               24   against Woodland?

                                                  Page 307                                                    Page 309
    1      A. Yes.                                             1      MR. GADDY: Objection to form.
    2      Q. Did you -- have you ever seen this               2   BY THE WITNESS:
    3   document before?                                       3      A. No.
    4      A. No.                                              4   BY MR. LEVINE:
    5      Q. Did you work on this kind of report at           5      Q. Finally, you were asked some questions
    6   Walgreens?                                             6   about the excessive order query. Do you recall
    7      A. No, I did not.                                   7   that?
    8      Q. If you'll look at page 571 of                    8      A. Yes.
    9   Exhibit 35, you were asked questions about this        9      Q. And I think you testified the original
   10   page. Do you recall that?                             10   reason for the excessive order query was to try to
   11      A. Yes, I recall that.                             11   catch product that was entered in excess of what
   12      Q. And this refers to "Threshold                   12   should be a normal value. Is that right?
   13   Violations-Monthly," correct?                         13      MR. GADDY: Objection to form,
   14      A. Yes.                                            14   mischaracterizes testimony.
   15      Q. Have you ever seen this before?                 15   BY MR. LEVINE:
   16      A. No.                                             16      Q. What was the original reason for the
   17      Q. Do you work on this kind of report at           17   excessive order query?
   18   Walgreens?                                            18      MR. GADDY: Objection to form.
   19      A. No, I do not.                                   19   BY THE WITNESS:
   20      Q. You can put that aside.                         20      A. It was to review the orders that came in
   21          You were asked some questions about            21   from the store for any quantity that seemed high.
   22   moving inventory from Jupiter and Perrysburg. Do      22   BY MR. LEVINE:
   23   you recall that?                                      23      Q. And --
   24      A. Yes, I do.                                      24      A. And then to identify those items to the

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    1   distribution center.                                      1       Q. Okay. You understand that they -- that
    2      Q. And when is it that the excessive order             2   they shut down the Jupiter distribution center and
    3   query was initially drafted or coded?                     3   that they served a warrant and subpoenas on the
    4      A. It would have been in the early 1900s --            4   Perrysburg distribution center, correct?
    5   1991 to 1995, somewhere in that range.                    5       A. Based on the information provided, yes.
    6      Q. The early 1990s?                                    6       Q. Okay. You were also asked whether or
    7      A. Yes. 1990s. Sorry.                                  7   not you took any action related to the Jupiter
    8      Q. And at some point was the -- did the                8   incident that's documented in Exhibit No. 1. He
    9   excessive order query begin being used with respect       9   just asked you that and you responded no.
   10   to C-II controlled substances?                           10          Do you recall that?
   11      A. Would have been in the early 2000s when            11       A. Yes, I do.
   12   we opened our first DC.                                  12       Q. Do you remember that we actually looked
   13      Q. Do you know all the purposes that people           13   at some documents this morning where you were asked
   14   in operations at Walgreens had for using the             14   by the business side to make sure that six of the
   15   excessive order query?                                   15   Florida pharmacies were unable to order controlled
   16      MR. GADDY: Objection to form.                         16   substances any longer?
   17   BY THE WITNESS:                                          17       A. I remember that document.
   18      A. No, I do not.                                      18       Q. So, you were actually asked to take some
   19   BY MR. LEVINE:                                           19   action in regards to the DEA investigation and the
   20      Q. If we wanted to find out the role of the           20   DEA closure of the Jupiter distribution center,
   21   excessive order query in monitoring suspicious           21   correct?
   22   orders of controlled substances, if any, are you         22       A. If that's in this document -- in
   23   the right person to ask?                                 23   Document 1, then yes.
   24      A. No.                                                24       Q. And I think you've made it very clear

                                                      Page 311                                                      Page 313
    1        Q. Why not?                                          1   today that the actions that you take were pretty
    2        A. That's a distribution operations                  2   much always directed by the business side of
    3   decision.                                                 3   Walgreens. Is that fair?
    4        Q. And what was your involvement?                    4       A. That is correct.
    5        A. I was just to create it and get it to             5       Q. That business side of Walgreens brings
    6   work, and then I turned it over to the DC                 6   something to your attention and you respond and try
    7   distribution center and then they ran it.                 7   to provide a solution to whatever issue it is that
    8        Q. So, in terms of how the excessive order           8   they raise. Is that correct?
    9   quantity query was used after you did the coding of       9       A. Yes.
   10   it, that's something you'd want to ask others?           10       Q. Did anybody from the business side ever
   11        A. Yes.                                             11   tell you about the information that you have in
   12        MR. LEVINE: Nothing further.                        12   front of you in Exhibit No. 1 that's related to the
   13        MR. GADDY: Just a couple of quick follow-ups,       13   DEA serving an Order to Show Cause and putting a
   14   Mr. Peterson.                                            14   lock on the controlled substance vault at the
   15               FURTHER EXAMINATION                          15   Jupiter distribution center?
   16   BY MR. GADDY:                                            16       A. No.
   17        Q. There were three -- Walgreens had three          17       Q. Did anybody from Walgreens ever ask you
   18   distribution facilities that distributed                 18   to look into the fact and potentially develop a fix
   19   Schedule II drugs, correct?                              19   for the solution that was causing oxycodone to be
   20        A. Yes.                                             20   shipped to Florida in such a volume that Walgreens
   21        Q. And as far as you know, the DEA only             21   was the largest distributor of oxycodone to the
   22   investigated and made allegations of two of those        22   entire state?
   23   three, correct?                                          23       MR. LEVINE: Objection to form.
   24        A. From today, yes.                                 24   BY THE WITNESS:

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    1      A. No.                                                1   anything. Just asked if we can stop these stores
    2   BY MR. GADDY:                                            2   from receiving product.
    3      Q. Did anybody from the business side ever            3      Q. And that was after the DEA had yanked
    4   come and tell you that Walgreens was shipping more       4   their registration, right?
    5   oxycodone to Florida than any other distributor in       5      A. I'm not 100% sure, no.
    6   the country?                                             6      Q. That's what the e-mail said, right, is
    7      MR. LEVINE: Objection to form.                        7   "The DEA is taking their registration, so, Doug, we
    8   BY THE WITNESS:                                          8   need to make sure that these stores don't get any
    9      A. No.                                                9   more C-II products"?
   10   BY MR. GADDY:                                           10      MR. LEVINE: Objection to form.
   11      Q. Did anybody ever come -- strike that.             11   BY THE WITNESS:
   12           We know from the e-mail that we saw             12      A. I don't remember the e-mail. I guess --
   13   earlier today that after the DEA shut down Jupiter,     13   I'm not sure.
   14   somebody sent you a list of six stores and said,        14   BY MR. GADDY:
   15   "Doug, we need to make sure no more C-IIs go to         15      Q. That's fair. And, finally, you were
   16   these stores." Do you recall that?                      16   asked some questions just now about the excessive
   17      A. Yes.                                              17   order query and you created that query back in the
   18      Q. Okay. And you recall that this morning            18   early 1990s, correct?
   19   we went through some of those stores and we saw         19      A. Myself and team members did, yes.
   20   that over a period of from 2009 to 2011, some of        20      Q. Okay. And the purpose of that query was
   21   those stores had increases in product of 16- and        21   to make sure that orders that were entered by
   22   even 20-fold. Do you recall that?                       22   mistake weren't actually filled by the distribution
   23      A. I recall the document.                            23   center, right?
   24      Q. Okay. You recall that the product that            24      A. That is true, yes.
                                                     Page 315                                                  Page 317
    1   was increasing in distribution to these stores by        1       Q. The purpose of that was to make sure
    2   16- or 20-fold was oxycodone dosages, correct?           2   that the distribution wouldn't -- distribution
    3       MR. LEVINE: Objection to form.                       3   center wouldn't fill an order that hadn't been
    4   BY THE WITNESS:                                          4   intended to be placed and therefore there would
    5       A. I'm not 100% sure.                                5   have to be the arduous process of getting the order
    6   BY MR. GADDY:                                            6   back from the store, correct?
    7       Q. Do you remember the document we looked            7       A. Yeah, the return process, yes.
    8   at this morning was talking about oxycodone going        8       Q. Okay. And the code that was written for
    9   to Florida?                                              9   that allowed for a single quantity to be entered
   10       MR. LEVINE: Objection to form, foundation.          10   and any product that was ordered in excess of that
   11   BY THE WITNESS:                                         11   quantity would populate on the report, is that
   12       A. Yes, I do remember it, yes, somewhat.            12   correct?
   13   BY MR. GADDY:                                           13       A. Yes.
   14       Q. At any point in time did anybody from            14       Q. And it was not a -- the amount that was
   15   the business side of Walgreens come to you and say,     15   entered wasn't differentiated by product, correct?
   16   "Doug we have pharmacies that are getting orders in     16   So, the number that would be entered would be the
   17   excess of or orders that are increasing 16 or 20        17   same whether we're talking about cold medication,
   18   times over a two-year period and we need to -- need     18   whether we're talking about toilet paper or whether
   19   you to look into writing some code or developing        19   we're talking about OxyContin, is that correct?
   20   some type of program that can look into see whether     20       A. That is correct.
   21   or not that should be happening"?                       21       Q. And in no way, shape or form was that
   22           Did anybody from the business side ever         22   program written to allow Walgreens to comply with
   23   come and ask you to do that?                            23   its obligations under the Controlled Substance Act?
   24       A. No one from the business side told me            24       A. I did not write it for that purpose, no.

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    1       MR. GADDY: That's all I have, Mr. Peterson.          1   excessive order query used in Class II distribution
    2   Thank you.                                               2   facilities?
    3       MR. LEVINE: Some follow-up.                          3      MR. GADDY: Objection to form, foundation.
    4               FURTHER EXAMINATION                          4   BY MR. LEVINE:
    5   BY MR. LEVINE:                                           5      Q. Let me ask this: At the time that you
    6       Q. First of all, you were just asked by              6   and your teammates drafted the excessive order
    7   Plaintiffs' counsel about actions directed by the        7   query in the early to mid-1990s, was Walgreens
    8   business.                                                8   distributing Class II controlled substances?
    9          Did you do anything beyond creating               9      A. No.
   10   computer programs in response to what the business      10      Q. When did Walgreens begin distributing
   11   requested?                                              11   Class II controlled substances, approximately?
   12       MR. GADDY: Objection to form.                       12      A. Early 2000s.
   13   BY THE WITNESS:                                         13      Q. And in the early 2000s, when Walgreens
   14       A. No. No.                                          14   began distributing Class II controlled substances,
   15   BY MR. LEVINE:                                          15   did -- were you involved in making sure that the
   16       Q. Were you the only person at Walgreens in         16   excessive quantity query could be used in those
   17   IT who created computer programs?                       17   distribution centers as well?
   18       A. No.                                              18      MR. GADDY: Objection to form.
   19       Q. Were there other groups within the IT            19   BY THE WITNESS:
   20   department that handled computer programs for           20      A. Yes.
   21   quantities that were sent to stores?                    21   BY MR. LEVINE:
   22       A. Yes.                                             22      Q. Do you know whether the distribution
   23       Q. And did that include the group by -- is          23   center operations people used the excessive order
   24   it Bamberg?                                             24   query for purposes other than just orders sent by
                                                    Page 319                                                  Page 321
    1      A. Yes. Steve Bamberg.                                1   mistake with respect to controlled -- Class II
    2      Q. And what was his group doing?                      2   controlled substances auto?
    3      A. He was the store side of ordering.                 3      MR. GADDY: Objection to form.
    4      Q. And do you know if he did anything with            4   BY THE WITNESS:
    5   respect to suspicious orders or that's just beyond       5      A. I do not know.
    6   your knowledge?                                          6   BY MR. LEVINE:
    7      MR. GADDY: Objection to form.                         7      Q. If you wanted to find that out, how the
    8   BY THE WITNESS:                                          8   people in operations used the excessive order query
    9      A. It's -- I'm not sure, but he would be              9   after the Class II controlled substances began to
   10   the group that would have done it if it was.            10   be distributed, is that something that you would be
   11   BY MR. LEVINE:                                          11   the person to ask about that?
   12      Q. Then you were just asked about the                12      A. No.
   13   excessive order query, and I want to make sure we       13      Q. Who would you want to talk to?
   14   have this straight.                                     14      A. You'd have to talk to the DC operations
   15          Originally, when it was developed by you         15   team.
   16   and your teammates in the 1990s, you said that was      16      Q. Is that distribution center operations?
   17   for orders that were made by mistake, is that           17      A. Yes, the distribution operations team.
   18   right?                                                  18      MR. LEVINE: Nothing further.
   19      A. Yes.                                              19              FURTHER EXAMINATION
   20      MR. GADDY: Object to the form.                       20   BY MR. GADDY:
   21   BY THE WITNESS:                                         21      Q. Counsel just asked you about in the
   22      A. Yes.                                              22   early 2000s -- the question he asked, "In the early
   23   BY MR. LEVINE:                                          23   2000s when Walgreens began distributing Class II
   24      Q. Do you know -- and then later on was the          24   controlled substances, were you involved in making

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    1   sure that the excessive quantity query could be                1
                                                                               I, CORINNE T. MARUT, C.S.R. No. 84-1968,
    2   used in those distribution centers?"                           2   Registered Professional Reporter and Certified
    3           Did you do something with the program in                   Shorthand Reporter, do hereby certify:
                                                                       3           That previous to the commencement of the
    4   the early 2000s?                                                   examination of the witness, the witness was duly
    5       A. We changed one field in the query to
                                                                       4   sworn to testify the whole truth concerning the
                                                                           matters herein;
    6   point to the distribution, so it would look at the             5           That the foregoing deposition transcript
                                                                           was reported stenographically by me, was thereafter
    7   distribution number associated to that distribution            6   reduced to typewriting under my personal direction
    8   center. So...                                                      and constitutes a true record of the testimony
                                                                       7   given and the proceedings had;
    9       Q. So, it had to do with the C-II                                      That the said deposition was taken
                                                                       8   before me at the time and place specified;
   10   distribution centers. It didn't have to do with                            That the reading and signing by the
   11   any of the products?                                           9   witness of the deposition transcript was agreed
                                                                           upon as stated herein;
   12       A. Nothing to do. Just the numbers for the                10           That I am not a relative or employee or
   13   distribution center.                                               attorney or counsel, nor a relative or employee of
                                                                      11   such attorney or counsel for any of the parties
   14       Q. Okay. So, each distribution center has                      hereto, nor interested directly or indirectly in
                                                                      12   the outcome of this action.
   15   its own DEA registration number or whatnot and you            13
   16   had to input those distribution center numbers so                        __________________________________
                                                                      14         CORINNE T. MARUT, Certified Reporter
   17   that the program would work with those distribution           15
                                                                                    (The foregoing certification of this
   18   centers as well?                                              16   transcript does not apply to any
   19       A. No. What we did is each distribution                        reproduction of the same by any means, unless under
                                                                      17   the direct control and/or supervision of the
   20   center has a number, 880 something, 14, 15, 100,                   certifying reporter.)
                                                                      18
   21   whatever it was. That number is entered in the                19
   22   query so then when it looks at the files, it's only           20
                                                                      21
   23   looking at that distribution data; and we changed             22
                                                                      23
   24   that so that it would be pointing at the C-II                 24

                                                           Page 323                                                  Page 325
    1 distribution number, and then that was it.                       1           INSTRUCTIONS TO WITNESS
    2      Q. Okay. You didn't input any suggested                     2
    3 threshold or line limit or quantity or anything of               3            Please read your deposition over
    4 that nature?                                                     4   carefully and make any necessary corrections. You
    5       A. No, I would not have.                                   5   should state the reason in the appropriate space on
    6       Q. Other than allowing it to look at the                   6   the errata sheet for any corrections that are made.
    7   products that the new distribution centers were                7            After doing so, please sign the errata
    8   bringing online, there were no other changes made?             8   sheet and date it.
    9       A. None.                                                   9            You are signing same subject to the
   10       MR. GADDY: Thank you.                                     10   changes you have noted on the errata sheet, which
   11             FURTHER EXAMINATION                                 11   will be attached to your deposition.
   12   BY MR. LEVINE:                                                12            It is imperative that you return the
   13       Q. If you wanted to find out about                        13   original errata sheet to the deposing attorney
   14   thresholds or quantity limits, is that something to           14   within thirty (30) days of receipt of the
   15   ask the people in operations, the distribution                15   deposition transcript by you. If you fail to do
   16   center?                                                       16   so, the deposition transcript may be deemed to be
   17       A. Yes.                                                   17   accurate and may be used in court.
   18       MR. LEVINE: Nothing further.                              18
   19       MR. GADDY: Thank you.                                     19
   20       THE VIDEOGRAPHER: We are going off the record             20
   21   at 3:49 p.m.                                                  21
   22            (Time Noted: 3:49 p.m.)                              22
   23          FURTHER DEPONENT SAITH NAUGHT.                         23
   24                                                                 24


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    1              - - - - - -                                          1            LAWYER'S NOTES
                    ERRATA                                              2   PAGE LINE
    2              - - - - - -                                          3   ____ ____ ____________________________
    3                                                                   4   ____ ____ ____________________________
    4   PAGE LINE CHANGE                                                5   ____ ____ ____________________________
    5   ____ ____ ____________________________                          6   ____ ____ ____________________________
    6         REASON: ____________________________                      7   ____ ____ ____________________________
    7   ____ ____ ____________________________                          8   ____ ____ ____________________________
    8         REASON: ____________________________                      9   ____ ____ ____________________________
    9   ____ ____ ____________________________                         10   ____ ____ ____________________________
   10         REASON: ____________________________                     11   ____ ____ ____________________________
   11   ____ ____ ____________________________                         12   ____ ____ ____________________________
   12         REASON: ____________________________
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   20         REASON: ____________________________
   21   ____ ____ ____________________________                         21   ____ ____ ____________________________
   22         REASON: ____________________________                     22   ____ ____ ____________________________
   23   ____ ____ ____________________________                         23   ____ ____ ____________________________
   24         REASON: ____________________________                     24   ____ ____ ____________________________
                                                            Page 327
    1
    2          ACKNOWLEDGMENT OF DEPONENT
    3
    4          I, DOUGLAS PETERSON, do hereby certify
    5 under oath that I have read the foregoing pages,
    6 and that the same is a correct transcription of the
    7 answers given by me to the questions therein
    8 propounded, except for the corrections or changes
    9 in form or substance, if any, noted in the attached
   10 Errata Sheet.
   11
   12
   13      _______________________________________
   14      DOUGLAS PETERSON           DATE
   15
   16
   17 Subscribed and sworn
      to before me this
   18 _____ day of ______________, 20____.
   19 My commission expires:______________
   20
        ____________________________________ Notary Public
   21
   22
   23
   24


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